            Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 1 of 117



                                                       THE HONORABLE RICHARD A. JONES
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 8                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
9

10   ORGANO GOLD INT'L, INC. a Washington
     corporation,                                        NO. 2:16-CV-00487
11
                           Plaintiff,                    DECLARATION OF JAMES
12
                                                         BULTHUIS IN SUPPORT OF
            v.
13                                                       PLAINTIFF'S MOTION FOR
     LUIS VENTURA,an individual, LUZ ANGELA              TEMPORARY RESTRAINING
14   VENTURA,an individual; and L&A                      ORDER AND MOTION FOR
     VENTURA MANAGEMENT,INC., a Texas                    PRELIMINARY INJUNCTION
15   corporation,
16                         Defendants.
17

18          I, James Bulthuis, declare:

19          1.     I am one of the counsel for Plaintiff Organo Gold in the above-captioned matter.
20
     I am over the age of eighteen years and am otherwise competent to testify and make the
21
     following statements based upon my personal first-hand knowledge.
22
            2.     Attached hereto as Exhibit 1 is a redacted copy of Defendant's Agreement with
23
     Organo.
24

25          3.     Attached hereto as Exhibit 2 is a copy of Mr. Ventura's Facebook post.

26


     DECLARATION OF JAMES BULTHUIS IN SUPPORT OF
     PLAINTIFF'S MOTION FOR TEMPORARY RESTRAINING                    TOUSLEY BRAIN STEPHENS PLLC
     ORDER AND MOTION FOR PRELIMINARY                                 1700 Seventh Avenue, Suite 2200
                                                                         Seattle, Washington 98101
     INJUNCTION- 1 <5881.004/317242>
                                                                   TEL. 206.682.5600•FAX 206.682.2992
            Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 2 of 117



            4.      Attached hereto as Exhibit 3 is a copy of Mr. Ventura's Facebook post.
 1

 2          5.      Attached hereto as Exhibit 4 is a copy of Mr. Ventura's Facebook post.

 3          6.      Attached hereto as Exhibit 5 is a copy of Mr. Ventura's Facebook post.

4           7.      Attached hereto as Exhibit 6 is a copy of Mr. Ventura's Facebook post.
 5
            8.      Attached hereto as Exhibit 7 is a copy of Mr. Ventura's Facebook post.
6
            9.      This case was originally filed in state court in Whatcom County. A similar
7
     motion for a temporary restraining order was filed in that action on March 31, 2016. On March
 8

9    31, 2016, I emailed Defendant Luis Ventura a copy of the motion and notified him that it would

10   be presented ex parte on April 1.

11          10.     On April 1, I presented the motion for temporary restraining order to the ex
12
     parte judge. During the middle of that presentation, counsel for Defendants called the Court to
13
     advise he had just been retained and was objecting to the motion. Consequently, the ex parte
14
     judge took no action on the motion. I then filed a motion to shorten time with the assigned
15
     Judge Snyder, which was granted. Judge Snyder set the hearing for the motion for temporary
16

17   restraining order for April 6. On April 1, my office sent images of the court's order with the

18   motion and supporting evidence to Mr. Ventura's retained counsel. On April 4, my office sent

19   the court's order to Mr. Ventura's counsel again.
20
            11.     On April 5, Defendants removed this case to federal court. This effectively
21
     canceled the hearing in Whatcom County on Plaintiff's motion for temporary restraining order.
22
            12.     For the Court's convenience, I have attached the declarations that were filed
23
     with the original motion for temporary restraining order as follows:
24

25                    a. Attached hereto as Exhibit 8 is the Declaration of Norm Perret.

26                   b. Attached hereto as Exhibit 9 is the Declaration of Joselin Hip Zelaya.


     DECLARATION OF JAMES BULTHUIS IN SUPPORT OF
     PLAINTIFF'S MOTION FOR TEMPORARY RESTRAINING                      TOUSLEY BRAIN STEPHENS PLLC
     ORDER AND MOTION FOR PRELIMINARY                                   1700 Seventh Avenue, Suite 2200
                                                                           Seattle, Washington 98101
     INJUNCTION- 2 <5881.004/317242>
                                                                     TEL. 206.682.5600•FAX 206.682.2992
            Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 3 of 117




                      c. Attached hereto as Exhibit 10 is the Declaration of John Sachtouras.
 1

 2          13.     On April 7, my office notified Defendants' counsel that this Motion for

 3   Temporary Restraining Order and Preliminary Injunction would be filed.

 4          I declare under penalty of perjury under the laws of the State of Washington that the
 5
     foregoing is true and correct.
 6

 7          DATED this 11h day of April, 2016, in Seattle, Washington.

 8                                                    By: s/ James Bulthuis
                                                          James Bulthuis, WSBA #44089
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     DECLARATION OF JAMES BULTHUIS IN SUPPORT OF
     PLAINTIFF'S MOTION FOR TEMPORARY RESTRAINING                      TOUSLEY BRAIN STEPHENS PLLC
     ORDER AND MOTION FOR PRELIMINARY                                   1700 Seventh Avenue, Suite 2200
                                                                           Seattle, Washington 98101
     INJUNCTION- 3 <5881.004/317242>
                                                                     TEL. 206.682.5600•FAX 206.682.2992
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 4 of 117




   EXHIBIT 1
                               Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 5 of 117

                                               Organo Gold International,Inc.
                                                   5505 Hovander Rd. Ferndale, WA 98248
     ORGANO                                          INDEPENDENT DISTRIBUTOR APPLICATION USA                                                                                          AfP-Ukele
          00I.D
 Application Information                                                                                                                                      (*)Mandator)               elds
•Social Security Number                    * First Nome                                            ° MI     •Last Nome

                      Lvis Qe-v14-vIrck                                                                         \len 4- VIA



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•City             •State       7.1-0Code             *Country                               •r:::41,             *State •Zia Code                         •Country

                                                          V                                                                     ?Iv                                SA
                                                          •Fax Number                  •Email Address                                                        • Date of Birth

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     I '0-Anlicstnt I'sir!rinirtion
• Social Security Number               first Norne                         • Ml     •last Name                                                                        • Contact Phone

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     Enrolling Sponsor
•Sponsor's 00 Oa                      'Sr)ory:or's /IrS! Nome                                    'Sponsor's lost Name



 User/Site Name:                                                                                  Secret Question:                                                     Mee Meet (select one)

                                                                .organogold.com

                                                                                                  Secret Answer:
 Password:                                                                                                                                                                     lett         Right


                                                                                                        rielaLIPeVe vaaja_cre YgiLtQfggLY.17C.P.PALUYargi

     RECO 1E AN ORGANO                        DISTR1      "I tit(                                .lastntillip                  teitle Credit ['aril only                               (11111 intuit

        OG Business Kit*                                                          $49.95                 Three Pack (;54.00) SOPV
        (inch;',Ip, product samples. 1 year back office                                                                                               1 NO THANKS
        01W           *Required ro become a OG Diaributor.                                              Six Pack (1,108.001 100PV
                                                     I.IWR PACK OPTIONS
      Initial Order / BUSINESS
                                                                                                           ShOped the   ri f---1 1st             15Th of the fottow(ig month
        OG Bronze Beverage Pack                                              $150.00                                             CRT1)tI' ('AR I) D ET.‘11,S
 t      (Assorted OG Beverage Products with 130CV)
                                                                                                                                                          cReyr CARD NUMBER
        OG Bronze Supplement Pack                                            $150.00
        (Assorted 00Supplement Products with I3OCV)                                                          VISA
                                                                                                                                            XiA40                E XP YY              CCV
        OG Silver Pack                                                       $450.00                         MASTER CARD
        (Assorted 00 Beverage & Supplement Products with 400CV)
                                                                                                                                                           CARD HOLD)R )),Wr
                                                                                                             AMEX
        OG Gold Pack                                                       $1,245.00
        (Assorted OG Beverage & Supplement Products with 875CVI
        '20% Matching Bonus as a Qualified Consultant                                           Note: AO Orden WN Be Charged
                                                                                                  Applicable Taxes, Shipping                            CARD NOIDER SIGNATURE
        Three Pack ($54.00) SOPV                                                                         and Handling.
                                                      NO THANKS
        Six Pack ($108.00) 100PV                                                                       (Prices are In USD)

                                                          Distributor Agi•eemen t(Please Read and.Siyn)
      This is a two-ii.leci application. I/We have carefully read and agree to abide by the terms and conditionson both sides of this Application and
      the Organ()Gold Policies and Procedures and Compensation Plan.I/We understand that I/We hove the right to terminate my/our Organo Gold
      independent business at any time, with or without reason, by sending written notice to the Company at the above listed address.

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App
  r:Sigorture                                                       °ale
                             Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 6 of 117
                 Independent Organo Gold Distributor Application and Agreement Terms and Conditions
 As used throughout these terms and conditions, "Agreement" collectively                           my participation in another multi-level marketing or direct sales opportunity, except that
refers to the Organo Gold Independent Distributor Application and                                    shall not, while participating as an Organo Gold Distributor, or for 12 months after my
Agreement, Policies and Procedures, Marketing and Compensation Plan,                               termination, cancellation, or other separation from the Organo Gold program, participate
and any other document incorporated by reference in the aforesaid. These                           in any other opportunity that directly competes with Organo Gold isr offering ganodertriaa
documents,in their currentform,and as may be amended by Organo Gold at                             based products.
its sole discretion,constitute the entire contract between Organo Gold and the                       16. I understand and agree that if I elect to participate in another non-competing
Organo Gold Distributor. No other representation, promise, or agreement,                           multi-level marketing or direct sales opportunity, I will maintain separate organizations,
shall be binding on the parties unless in writing and signed by an authorized                      independent of one-another,for each such non-competing opportunity.
officer ofOrgano Gold.                                                                               17. Organo Gold, its parent or affiliated companies, directors, officers, shareholders,
                                                                                                   employees, assigns, and agents(collectively referred to as "Agents"), shall not be liable for,
    1. I certify that I am at least 18 years old (or of contractual age in my state of legal       and I release Organo Gold and its Agents from, all claims for consequential and exemplary
 residence) and that all information I provided on this Application is accurate. I understand      damages for any claim or cause of action relating to the Agreement. I further agree to release
 Organo Gold requests my personal tax identification number solely for the purpose of              Organo Gold and its Agents from all liability arising from or relating to the promotion or
 reporting income to the Internal Revenue Service. Under its right of contract, Organo Gold        operation of my Organo Gold business and any activities related to it (e.g., the presentation
 maintains the right to decline my application if I do not provide a valid tax identification      of Organo Gold products or Compensation and Marketing Plan, the operation of a motor
 number.                                                                                           vehicle, the lease of meeting or training facilities, etc.), and agree to indemnify Organo Gold
   2. I understand that I am not required to make any product purchases in exchange for the        for any liability, damages, fines, penalties, or other awards arising from any unauthorized
 right to distribute Organo Gold products pursuant to this Agreement, with the exception of        conduct that I undertake in operating my business.
 a required Business Kit, which is non-commissionable, and provided at cost.                         18.The Agreement, in its current form and as amended by Organo Gold at its discretion,
   3. I understand that Organo Gold does not accept initial applications from business             constitutes the entire contract between Organo Gold and myself. Any promises,
 entities. Once my personal application is accepted, I will have the option to add a business      representations, offers, or other communications not expressly set forth in the Agreement
 entity to my account in accordance with the Policies and Procedures.                              are of no force or effect.
   4. I understand that as an Organo Gold Distributor: a) I am granted the non-exclusive             19. Any waiver by Organo Gold of any breach of the Agreement must be in writing and
 right to offer for sale Organo Gold products and services in accordance with the Agreement,       signed by an authorized officer of Organo Gold. Waiver by Organo Gold ofany breach ofthe
 b) I have the right to enroll persons in Organo Gold, and c) If qualified, I have the right to    Agreement by me shall not operate or be construed as a waiver of any subsequent breach.
 earn commissions pursuant to the Organo Gold Compensation Plan.                                     2o.If any provision ofthe Agreement is held to be invalid or unenforceable,such provision
   5. I agree to abide by the Organo Gold Code of Conduct as detailed in the Organo Gold           shall be reformed only to the extent necessary to make it enforceable and the balance ofthe
 Policies and Procedures.                                                                          Agreement will remain in full force and effect.
   6. I agree to present the Organo Gold Marketing and Compensation Plan and Organo                  21. This Agreement will be governed by and construed in accordance with the laws of
 Gold products and services as set forth in literature that is officially produced by Organo       the State of Washington without regard to principles of conflicts of laws. In the event of
 Gold.                                                                                             a dispute between an Independent Distributor and Organo Gold arising from or relating
   7. I agree that as an Organo Gold Distributor I am an independent contractor, and not           to the Agreement, or the rights and obligations of either party, the parties shall attempt in
 an employee, partner, legal representative, or franchisee of Organo Gold. I understand and        good faith to resolve the dispute through nonbinding mediation as more fully described in
 agree that I will be solely responsible for paying all expenses incurred by myself, including     the Policies and Procedures. Organo Gold shall not be obligated to engage in mediation
 but not limited to travel,food,lodging, secretarial, office,long distance telephone and other     as a prerequisite to disciplinary action against an Independent Distributor. If the parties
 expenses. I UNDERSTAND THAT I SHALL NOT BE TREATED AS AN EMPLOYEE OF                              are unsuccessful in resolving their dispute through mediation, the dispute shall be settled
 ORGANO GOLD FOR ANY PURPOSE. Organo Gold is not responsible for tax withholding,                  totally and finally by arbitration as more fully described in the Policies and Procedures.
 and reserves the right to refuse to withhold or deduct from my bonuses and commissions,             22 The parties consent to jurisdiction and venue before any federal or state court in the
 if any, FICA or taxes of any kind, even if requested or agreed to by me in order to comply        city of Ferndale, County of Whatcom, State of Washington, for purposes of enforcing an
 with any governmental order of backup withholding. I understand I am responsible to               award by an arbitrator or any other matter not subject to arbitration.
 pay all applicable federal and state taxes and/or license fees, including FUTA and state            23.Louisiana Residents: Notwithstanding the foregoing, Louisiana residents may bring
 unemployment and workers compensation taxes that may become due as a result of my                 an action against the Company with jurisdiction and venue as provided by Louisiana law.
 activities as an Independent Distributor.                                                           24.Montana Residents: A Montana resident may cancel his or her Independent Distributor
   8. If eligible, I will be compensated for the products I sell and those products sold through   Agreement within 15 days from the date of enrollment, and may return his or her starter kit
 my sales organization. Organo Gold never compensates for the mere act of sponsoring. The          for a full refund within such time period.
 sale of products to end consumers must be emphasized in all presentations.                          25.Ifan Independent Distributor wishes to bring an action against Organo Gold for any act
   9. I understand that Organo Gold's program is built upon retail sales to the ultimate           or omission relating to or arising from the Agreement,such action must be brought within
 consumer. I am entitled to purchase product for my own personal or family use, and                one year from the date of the alleged conduct giving rise to the cause of action. Failure to
 understand that Organo Gold prohibits the purchase of product or large quantities of              bring such action within such time shall bar all claims against Organo Gold for such act or
inventory solely for the purpose of qualifying for bonuses or advancement in the marketing         omission. Distributor waives all claims that any other statute of limitations applies.
 program. By placing subsequent product orders, I certify that I sold at least 70% or more of        26.1 authorize Organo Gold to use my name, photograph, personal story and/or likeness
 all products that I previously purchased. Products certified as sold under this 70% rule are      in advertising or promotional materials and waive all claims for remuneration for such use.
 not eligible for repurchase.                                                                        27.1 understand that I cannot, under any circumstances, incur any debt, expense, or
   to.I have carefully read and agree to comply with the Organo Gold Agreement. I                  obligation on behalf of, or for, the Company.
 understand that I must be in good standing, and not in violation of the Agreement, to be            28.The Company reserves the right to accept or reject any applicant and is under no
 eligible for bonuses or commissions from Organo Gold. I understand that these Terms               obligation to offer any reason for rejection. The Company is under no obligation to notify an
 and Conditions, the Organo Gold Policies and Procedures, or the Organo Gold Marketing             applicant of an incomplete or faulty application.
and Compensation Plan may be amended at the sole discretion of Organo Gold, and by                   29.A faxed or online copy of this Agreement shall be treated as an original in all respects.
submitting this application I agree to abide by all such amendments. Amendments shall               3o.I understand that I am entitled to cancel participation in the marketing program at any
be binding immediately after notification is released. The continuation of my Organo Gold          time and for any reason upon written notice to Organo Gold. Following the notification of
business or my acceptance ofbonuses or commissions shall constitute my acceptance ofany            cancellation or termination,the Company will buy back from a resigning Distributor unused
and all amendments.                                                                                and currently marketable inventory and sales aids purchased from the Company within (1)
   11. The term of this agreement is one year (subject to prior cancellation for inactivity        one year from the date of receipt of merchandise first ordered (no time limit in MA, GA,
pursuant to the Policies and Procedures). If I fail to annually renew my Organo Gold               LA, and WY)at 9o% of the Distributor's net cost, less shipping or other appropriate setoffs
business, or if it is canceled or terminated for any reason, I understand that I will              and legal claims as set forth in the Buy Back provisions of the Organo Gold Policies and
permanently lose all rights as a Distributor. I shall not be eligible to sell Organo Gold          Procedures.
products and services nor shall I be eligible to receive commissions, bonuses, or other
income resulting from the activities of my former downline sales organization. In the
event of cancellation, termination or non-renewal, I waive all rights I have, including but         AutoShip Program Enrollment and Payment Authorization. If you have elected
not limited to property rights, to my former downline organization and to any bonuses,             to participate in the optional Autoship Program, the following terms apply:
commissions or other remuneration derived through the sales and other activities of my
former downline organization. Organo Gold reserves the right to terminate all Independent            1. By enrolling in the AutoShip Program I understand that I will automatically receive the
Distributor Agreements upon 3o days notice.                                                        items I selected on a monthly basis.
  12. I may not assign any rights or delegate my duties under the Agreement without the              2. I may cancel my AutoShip order at any time and for any reason by submitting a written
prior written consent of Organo Gold. Any attempt to transfer or assign the Agreement              request to Organo Gold at least 2 business days before the next scheduled shipment of my
without the express written consent of Organo Gold renders the Agreement voidable at the           AutoShip order. I understand that cancellations received less than 2 business days before
option of Organo Gold and may result in termination of my business.                                the next scheduled shipment will become effective the following month.
  13. I understand that if I fail to comply with any of the terms of the Agreement, Organo          3. I authorize Organo Gold to automatically withdraw payment for my AutoShip order
Gold may, at its discretion, impose upon me disciplinary action as set forth in the Policies       using the method of payment identified on this Application and Agreement or as I may
and Procedures, up to and including the termination of my Distributorship. If I am in              update in my back office.
breach, default or violation of the Agreement at termination, I shall not be entitled to            4. Organo Gold will only withdraw payment equal to the amount of the products I have
receive any further bonuses or commissions, whether or not the sales for such bonuses or           selected, plus shipping and processing, and any applicable sales tax.
commissions have been completed.                                                                    5. I understand that my products will ship when payment clears. Organo Gold will not be
  14. I represent and warrant that my participation as an Organo Gold Distributor does not         responsible for any qualifications, bonuses, or commissions that are missed as a result of
breach, violate, or otherwise interfere with any current agreements, past agreements, or           declined payments.
surviving clauses of previous agreements, into which I have entered with any other multi-           6. Cancellation of my participation in the AutoShip program does not automatically
level marketing, direct sales, or other business venture.                                          cancel my Organo Gold Independent Distributor Agreement.
  15. I understand that my participation as an Organo Gold Distributor does not restrict
                                                                                                                                                                                        20151126
                      Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 7 of 117



                               OrGano Gold Enterprises,Inc.
                                 5505 Hovander Rd. Ferndale, WA 98248
    ORG            O                                       USA DBA Form
    Applicant In r~rmatson                                                                                                         ndator
  EIN                   Company(DBA)                                      Applicant's Name                       Co-Applicant's Name

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        Enrolling Sponsor
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        Placement (Select one)

           Automatic Placement              Left           Right




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                                                                              =En= •Number and Street
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 Address Line 2(Suite or Apartment no.)                                         Address Line 2(Suite or Apartment no.)


                       State     Zip Code            *                          •CityState                     •Zip Code


            Number       Country ofIssue           •Email Address                               Date ofIwo volution or Constitution(mm/dd/yyyy)




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   Social Insurance Number'Name                                         % Ownership * Owner Since(mmiddiyyyy)              Driver's License Number

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1111121111=1 * Number and Street                                                     Shipping Address         •Number and Street

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 Address Line 2(Suite or Apartment no.)                                         Address Line 2(Suite or Apartment no.)


 •City               "State     *Zip CM'             'Co try                    1k   city             State    •Zin Code


            Number        Country ofIssue          * Email Address                              Date ofIncorporation or Constitution(mm/dd/yyyy)
               Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 8 of 117



                                      OrGano Gold Enterprises,Inc.
                                            SSOS Hovander Rd. Ferndale, WA 98418
 0RGANO
                                                                   USA DBA Form

                                    Representative .kgeeetiient l'icw,e Read aril Sign)


                 Organ Gold Entreprises Inc.(OrGano Gold or the Company) recognizes that an Independent Representative may
         have legitimate reasons to do business as a sole proprietorship, partnership or corporation and OrGano Gold        consider
         converting the Independent Representative who is a person or household entity to a legal entity which is controlled entirely
         by the current and good-standing Independent Representative(the'Legal entity").

         By submitting this DBA Form, the Independent Representative agrees to the following, as an amendment to its Agreement
         with the Company:

         i. The Independent Representative must submit the Company's DBA Form,duly completed with a copy of the Legal Entity's
         constituting documents (for example, articles of incorporation) and such other supporting documents requested by the
         Company and that all such information shall be true and accurate. The acceptance by the Company of the DBA Form will
         have the effect of amending the Independent Representative's Agreement with the Company. The Company however
         reserves the right to withhold acceptance of the DBA Form,in its sole discretion.

         2. The Independent Representative acknowledges that the acceptance of the DBA Form by the Company does not relieve the
         Independent Representative from being personally liable towards the Company for the performance and respect of all of the
         obligations and undertakings contained in the Agreement which include the P&P, of an Independent Representative by the
         Legal Entity and that notwithstanding the conversion to the Legal Entity, the person or household members who applied for
         the conversion of their OrGano Gold business to the Legal Entity,as the case may be, will remain personally liable for all acts
         and omissions of the Legal Entity in its obligations towards the Company for the duration of their ownership of the Legal
         Entity.

         3. The Independent Representative acknowledges that the Legal Entity will not receive any recognition at any OrGano Gold
         meetings or events. If the Legal Entity is entitled to recognition, the persons or household members listed as owners on this
         form will be recognized in place ofthe Legal Entity.

         4. If the Legal Entity is dissolved, the owners must immediately notify the Company. The owners may continue to operate
         the Organo Gold business.

         Under no circumstances can the ownership of the Legal Entity be transferred, in whole or in part, to any other person
         without following the Company's policies for the sale or transfer ofIndependent Representative Status.




Applicant's Signature                                                 CD-Applicant's Signature


                Date                                                                        Date
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 9 of 117




   EXHIBIT 2
                        Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 10 of 117
(1) Luis Ventura - Today has come to me an information that has me...          https://www.facebook.com/luis.ventura.357/posts/10207555990030551...



                                                                      James    Home i      Find Friends



                                                       Luis Ventura                                                  Follow            FRI
                                                       March 11 at 10:09pm

                                            Today has come to me an information that has me very happy and excited!!
                                            I guess if I was not going so well, if so many people would not be following
                                            me, and so many people FINALLY would be fulfilling their dreams with TLC,
                                            they would not even have the time to sell me as a "threat" or "damage" to
                                            their commercial interests.
                                            If they had only listened to me, if only they had worked for the people who
                                            really needed it, perhaps they would not be as they are. It's a shame what
                                            happened, but all that will continue to happen.
                                            To all the people that have been trying to contact me today, here is my
                                            contact information, I will answer as soon as possible and thank you for the               SP(
                                            confidence and interest.
                                            Remember, we are not owned by anything or anyone but God. The
                                            documentation beats conversation. And results speak louder than 1000
                                            words.
                                            50,000 New Distribuitors in 90 days, 1000 Free Latino Families in 2016 and
                                            you can be one of them!
                                            We're going for more! And with MUCH POWER!
                                            Luis Ventura                                                                               Flit
                                            +19727045475
                                            luisventura11@gmail.com                                                                    Gel


                                                Like             Comment           Share

                                                47                                                                                     Enc
                                                                                                                                       Fra
                                            3 shares                                                                 2 comments        DeL

                                                     Thomas J. Taber God bless you my friend.                                         Priv
                                                     Like • Reply March 12 at 12:25pm                                                 Ad C

                                                        A   Write a reply...                                                          FacE


                                            View more comments

                                                       Write a comment...




                                                                                            Chat(5)



1 of 1                                                                                                                          4/8/2016 8:30 AM
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 11 of 117




   EXHIBIT 3
(1)Luis Ventura - AmigosCase   2:16-cv-00487-RAJ
                        Les informo                        Document 11
                                    que los Paquetes de Negocios...       Filed 04/11/16 Page 12 of 117
                                                                     https://www.facebook.com/luis.ventura.357/posts/10207760753869519...



                                                              Fs James        Home I    Find Friends


                                                                                                                                     FRI


                                        it
                                         Amigos
                                                    Luis Ventura
                                                    March 28 at 2:26pm • San Diego, CA, United States •
                                                                                                                   Follow




                                         Les informo que los Paquetes de Negocios para Latinoarnerica de Total Life
                                         Changes son:
                                           Emprendedor : Te da una comisiOn de lnicio Rapido de $100 y 100
                                         puntos comisionables
                                           Empresarial : Te da una comisiOn de lnicio Rapido de $250 y 250
                                         comisionables
                                           Elite : $500 de inicio Rapido y 500 puntos comisionables.

                                            Friends
                                            I inform you that the packages of Latin America, for total life changes are:
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                                                Entrepreneur: it gives you a quick start commission of$ 100 and 100
                                            points commissionable
                                                Business: it gives you a quick start commission of$ 250 and
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                                                Elite: $ 500 quick start commissionable and 500 points.
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                                                                                Filed 04/11/16 Page 13 of 117


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                                                  Luis Ventura shared Maria Eugenia Vera                         Follow           FRI
                                                  Salvatierra's post.
                                                  March 22 at 1:50pm •

                                         Q es ser distribuidor de Total Life Changes?
                                         es comprar los productos que usaras para bajar de peso, para tu familia,
                                         hijos, padres, amigos.
                                         Los vendes y ganas dinero el 50% de comision en yenta
                                         Inevitablemente querras armar tu equipo para ganar en conjunto
                                         un paquete de 200($255) puntos to paga a ti $100 y 100 puntos para
                                         cobrar
                                         un paquete de 500 ($625)puntos to paga a ti $250 y 250 puntos para
                                         cobrar                                                                                   SP(

                                         un paquete de 1000( $1250) puntos to paga a ti $500 y 500 puntos para
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                                         no hay ciclos o puntos obligados para cobrar, la recompra mensual es de
                                         80 puntos para elegir entre tantos productos
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                                         revitalizadores sexuales, fajas, aceites esenciales, Cafe y chocolate y
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                                            children, parents, friends.
                                            You sell them and earn money 50 % of the commission for sale
                                            Inevitably you assemble your team to win together                                     Enc
                                            A Pack of 200($ 255) points you pays you $ 100 and 100 points to                      Fra
                                            collect
                                            A Pack of 500($ 625) points you pays you $ 250 and 250 points to
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                                            A Pack of 1000($ 1250) points you pays you $ 500 and 500 points to                   Ad C
                                            collect                                                                              Face
                                            There's no cycles or points required to qualify for the monthly repurchase
                                            is 80 points to choose between so many products
                                            Do you have several lines of business: lose weight, skin care, sexual
                                            revitalizing, girdles, essential oils, coffee and chocolate and they all have
                                            ganoderma and chaga people..
                                            Check out www.elnuevocambio.com
                                            Translated from Spanish • t:


                                                  Maria Eugenia Vera Salvatierra
                                                  March 22 at 9:37am •
                                           Q es ser distribuidor de Total Life
                                                                                         Chat(9)


1 of2                                                                                                                       4/8/2016 8:43 AM
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 14 of 117




   EXHIBIT 4
(1)Luis Ventura          Case 2:16-cv-00487-RAJ Document 11   Filed 04/11/16 Page 15 of 117
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                                                                   James    Home 2o+       Find Friends




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                  Luis Ventura                                                                            Shared with:   Public
                  Este video lo grabamos el 21 de Febrero e las Vegas Nevadas, cuando tuvimos que         1,793 Views
                  decidir hacer algo diferente a lo que veniamos haciendo!
                  Disfrutelo                                                                              Embed Video
                    This video I recorded on 21 February and Las Vegas snow, when we had                  Embed Post
                    to decide to do something different to what we were doing!                            Report video
                    Enjoy it
                     Translated from Spanish •

                  Like • Comment • Share • March 15 • Edited

                  86 people reacted to this.

                  19 shares                                                               9 comments

                         Samuel Hernandez iGrandes entre los grandes!... estamos con ustedes!,
                         los esperamos en Mexico.
                           Great among the great!... We're with you!, We will be in Mexico.
                           Automatically Translated
                          Like • Reply    2 • March 15 at 3:25pm

                         Reynaldo Torres Yo estuve en ese momento por que digo yo por que tuve
                         el privilegio de a serlo por la razOn sensilla que estuve a i con los
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1 of 3                                                                                                                       4/7/2016 10:45 AM
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            that I've been to I with the great leaders and I heard we run together this new
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           Like • Reply •         1 • March 15 at 4:02pm

                   Juan Antonio Basurto Porque salirse de la empresa que ha creado la
                   mayor cantidad de millonarios en tan poco tiempo?
                     Because out of the company that has created the largest number of
                     millionaires in so little time?
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                   Like • Reply -           1 • March 15 at 6:53pm

                             Luis Ventura Inbox
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                             Like • Reply • March 15 at 6:59pm

                              Write a reply...


                   Jose Dias Porque salirse de la empresa que ha creado la mayor cantidad de
                   millonarios en tan poco tiempo?
                     Because out of the company that has created the largest number of
                     millionaires in so little time?
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                   Like • Reply • March 15 at 8:33pm

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                         Jose Dias Luis Ventura Porque salirse de la empresa que ha creado
                         la mayor cantidad de millonarios en tan poco tiempo?
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                           largest number of millionaires in so little time?
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                             Like • Reply • March 16 at 8:53am

                             Rene Luna In box
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                   as        Luis Ventura In box
                             Like • Reply - March 17 at 7:14am

                              Write a reply...


                   Alejandro Kiel Martinez Noemi Srb mira
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                   Like • Reply • March 15 at 9:27pm

                   Francesco Scarpa Federico Ongaro
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2 of 3                                                                                                           4/7/2016 10:45 AM
(1) Luis Ventura            Case 2:16-cv-00487-RAJ Document 11   Filed 04/11/16 Page 17 of 117
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                           Luis Ventura Hola Rigoberto in box
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                           Like • Reply • March 17 at 7:14am

                           Rigoberto Castro Por inbox no puedo, no se te puede escribir, no se
                           te puede agregar
                             Inbox I can't, you can't write, you can't add

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                           Like • Reply • March 17 at 9 11am

                           Luis Ventura Escribeme a mi whats app +19723704969
                             Write me on my whats app + 19723704969
                             Automatically Translated
                           Like • Reply • March 17 at 9:40am

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                   Antonio Hernandez Godoy De que trata sr?
                    That is Mr?

                     Automatically Translated
                   Like • Reply • March 17 at 6:24am

                   Daniel Valdes Tengo entendido que organo gold es la secunda compania
                   billonaria a nivel mundial que sigue reclutando personas con mira a la
                   prosperidad millonaria,sus razones no las entiendo pero no necesito
                   saberlas tampoco,Dios es un Dios de oportunidades,una temporada
                   termina,pero una nueva comienza,como el invierno y la primavera asi que
                   adelante muvhas bendiciones y alli nos veremos.Dios me los
                   bendiga,Aleluya.
                     I understand that organo gold is the second company a billionaire at the
                     global level that is still recruiting people to look at the prosperity a
                     millionaire, his reasons I don't understand them but I don't need to know
                     either, God is a God of opportunities, one season ends, but a new
                     beginning , like the winter and spring so go ahead, Sam blessings and
                     there we shall see. God bless me, hallelujah.
                     Automatically Translated
                   Like • Reply •         1 • March 17 at 11:21am

                     Write a comment...



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         Facebook © 2016
         English (US)
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3 of 3                                                                                                                                                     4/7/2016 10:45 AM
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 18 of 117




   EXHIBIT 5
                        Case
(2)Luis Ventura - Que lastima a lo2:16-cv-00487-RAJ          Document
                                   que hemos llegado!!! Personas y... 11   Filed 04/11/16 Page 19 of 117
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                                            aik      Luis Ventura                                                             Follow        FRI
                                         Ng          March 27 at 10:46pm •

                                         Que lastima a lo que hemos Ilegado!!!
                                         Personas y empresas que en vez de trabajar y construir sus negocio estan
                                         amenazando y atemorizando a sus distribuidores inocentes con
                                         demandarlos si hacen algo diferente a su multinivel.
                                         Les recomiendo que lean el articulo de La Ley 1700 para que conozcan y
                                         defiendan sus derechos. Esta ley rige en la Republica de Colombia.
                                         Nota:
                                         Te mantendre informado sobre las Leyes que to defienden en los otros
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                                                                                                                                            SP(
                                            What a shame to what we have come!!!
                                            People and companies that instead of working to build their business and
                                            are threatening and terrorizing innocent its distributors with Sue them if
                                            they do something different to its multilevel.
                                             I highly recommend you read the article 1700 of the law for you to meet
                                            and defend their rights. This act governs in the republic of Colombia.
                                             Note:
                                            I will keep you informed about the laws that defend you in the other
                                            countries.
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Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 20 of 117




   EXHIBIT 6
                        Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 21 of 117
(I)Luis Ventura - Posicionate hoy y trabajemos juntos!! Requisitos...   https://www.facebook.com/photo.php?fbid=10207685932919042&set=a...




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              SAN JOSE 24 OE MARZO                                                                   Like • Reply •   1 • March 23 at 7:39pm


              LOS ANGELES 26 DE MARZO                                                           1
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              SAN DIEGO 28 DE MARZO
              LOS ANGELES 2 OE ABRIL




1 of I                                                                                                                                         4/7/2016 10:57 AM
(1) Luis Ventura - VamosCase  2:16-cv-00487-RAJ
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                                                                                                            Luis Ventura
                                                                                                 is         Follow March 15


                                       LUISVENTURA                                               Vamos avanzando!!
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             5 OE ABRIL DALLAS                                                                     nomadouidoorcom
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                                                                                                   right headwear. Introducing new Mos...
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1 of I                                                                                                                                           4/7/2016 10:41 AM
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 23 of 117




   EXHIBIT 7
Luis Ventura - Rumbo a Case    2:16-cv-00487-RAJ
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                                                                   mes     Home i        Find Friends



                                                  Luis Ventura at        Los Angeles International               Follow            FRI
                                                  Airport (LAX).
                                                  April 3 at 9:02am • Los Angeles, CA, United States •

                                       Rumbo a Texasulll
                                       Continuamos En La Conquista!!!
                                       Llamanos +19723704969

                                          Heading to Texas!!!!!
                                          We continue in the conquest!!!
                                          Call us + 19723704969
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                                       15 shares                                                                 9 comments

                                              Alicia Meza Felicidades vamos con todo linda pareja
                                              See Translation
                                              Like • Reply •     1 • April 3 at 9:17am
                                              Oscar Portillo Excelente aqui los esperamos.
                                              See Translation
                                              Like • Reply •     1 • April 3 at 9:29am

                                          17' LaVanya Williams Watkins Hola! Mi amigos
                                              See Translation
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                                                                                          Chat(8)



1 of2                                                                                                                         4/8/2016 9:01 AM
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 25 of 117




   EXHIBIT 8
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 26 of 117




               IN THE SUPERIOR COURT FOR THE STA 1E,OF WASHINGTON
                           IN AND FOR WHATCOM COUNTY

   ORGANO GOLD INT'L, INC., a Washington
   corporation,
                         Plaintiff,
                                                      NO. 16-2-00384-9
          v.
  LUIS VENTURA,an individual, LUZ
  ANGELA VENTURA,and individual; and
  L&A VENTURA MANAGEMENT,INC., a
  Texas Corporation.

                        Defendants.


                          DECLARATION OF NORM I'ERRETT

  I, Norm Perrett, declare:

         1.      I am over the age of eighteen years, am competent to provide to testify, and

  make the following statements based upon my personal, first-hand knowledge.

         2.      I am the Senior Vice President of International Operations for the Organo

  Gold group of companies, which includes the Plaintiff in the above-referenced matter. In

  such capacity, I have access to the business records of Organo.

         3.      The facts stated in this Declaration are based upon my personal knowledge,

  and information that I obtained by reviewing records maintained in the ordinary course of

  Organo's business.
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 27 of 117




          4.      1 reviewed the content and factual allegations in Organo's Complaint filed in

   this matter, and believe them to be true and correct.

          5.      Organ distributes coffee products and is a multi-level marketing("MLM")

   company. Organo contracts with independent sales representatives, referred to as

   "Distributors," who are granted individual licenses to sell Organo products. Distributors in

   the United States, subject to specific requirements, are granted a nationwide license to sell

   Organo products across the entire country; thus, they are not restricted to selling Organo

   products within the state in which they reside.

          6.      The MLM space in which Organo operates is a highly competitive business

   environment. Among Organo's most valuable assets is its sales organization — the network

   of Distributors and customers that market and sell Organo's products and services — as well

   as the contact information and the customer data within the sales organization. The

   formation of these sales networks and maintaining their integrity are crucial to the success

   ofany MLM business. Organo has achieved significant success through this model, and has

   established a far flung and effective independent distribution system encompassing

   thousands of Distributors.

          7.      On February 19, 2016, 1 attended the Organo Project 50K event in Las

   Vegas, Nevada. The Project 50K event is a training event hosted by Organo and attended

   by thousands of Organo Distributors. Organo Distributors attend the event to learn how to

   develop and grow their Organo business. The event is held exclusively for the benefit of

   Organo Distributors.




                                                2
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 28 of 117




         8.      At this event, I was advised by Holton Buggs, Organo EVP of International

  Sales, that Luis Ventura, one of the Defendants in this matter, was actively soliciting

  Organ Distributors to leave Organo and join him at TLC.

         9.      The Defendant, Luis Ventura, had since joined Total Life Changes, LLC

  ("TLC"). TLC is another multi-level marketing company that sells (amongst other things)

  healthy beverages and Ganoderma-based products, including coffee infused with

  Ganoderma. TLC is a direct competitor of Organo.

         10.     Mr. Ventura, having attended and participated in similar events as an

  Organo Distributor in the past, arrived at the Organo event in Las Vegas and began

  targeting and soliciting numerous Organo Distributors and customers to join TLC,knowing

  that they would all be in one location at one time. He used his status as an Organo Crown

  Diamond distributor to approach Organo Distributors at the Organo event in order to

  recruit/conscript distributors into his new TLC business. In doing so, he presented TLC

  products and the TLC business opportunity directly to Organo Distributors.

         11.     On February 19, 2016 (the same day), Organo immediately terminated the

  Defendant, Luis Ventura, as an Organo Distributor for the violations of his contractual

  obligations to Organo and locked out all the Defendants from any access to the Defendant,

  Luis Ventura's former on-line Distributor account with Organo.

         12.    On or about February 24, 2016, I contacted John Licari, Chief Operating

  Officer of TLC, and advised him of Mr. Ventura's post-termination non-competition and

  non-solicitation obligations to Organo. I specifically requested that TLC discontinue

  facilitating Mr. Ventura's wrongful activities and direct Mr. Ventura to cease such conduct.




                                               3
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 29 of 117




   Mr. Licari denied any involvement in recruitment of Organo's Distributors and refused to

   reign in Mr. Ventura's solicitation of Organo Distributors.

          13.       Subsequent to the Las Vegas event, I took steps to actively monitor all of

   Organo's Distributors so as to ascertain how many, if any:

                a) Were solicited by Luis Ventura and his associates; and,

                b) Had subsequently terminated or abandoned their Distributorship Agreement

                    with Organo as a consequence ofsuch solicitation.

          14.       Prior to February 19, 2016 (the date of the Project 50K event in Las Vegas),

   Organ had 11,945 Distributors, of which, 121 were of"High Ranking" Distributors. The

  "High Ranking" Distributors are responsible for recruiting new Distributors and expanding

  Organo's sales and sales network. A "High Ranking Distributor" is a distributor who has

  attained a leadership rank in the company by meeting certain sales benchmarks. Leadership

  ranks are at the Sapphire level or above. High Ranking Distributors are essential to the

  success of any MLM company, including Organo, because these Distributors and their

  downline organizations are the lifeblood of the company. High Ranking Distributors often

  have a significant influence on others within their downline. High Ranking Distributors,

  and Distributors in general, are responsible for raising Organo's brand awareness,

  recruitment ofother Distributors and clients, and communicating with clients.

          15.      Between February 19, 2016 and March 9, 2016 (when this lawsuit was

  filed), Organo lost fourteen (14)High Ranking Distributors, and 1,725 total Distributors as

  a direct result ofthe actions of Mr. Ventura and those working at his direction.

          16.      Between March 9 and March 11, 2016 (the date the Complaint was served

  on Luis Ventura's company), Organo lost a another three (03) High Ranking Distributors,




                                                 4
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 30 of 117




   and a cumulative total of 1,983 Distributors as a direct result of the actions of Mr. Ventura

   and those working at his direction.

           17.     Between March 11 and March 21, 2016, Organo lost another two (02) High

   Ranking Distributors, bringing the total to 2,478 Distributors lost as a direct result of the

   actions of Mr. Ventura and those working at his direction.

           18.     Between March 21 and March 24, 2016, Organo has lost a further 64

   distributors, four(04)being of Sapphire rank or above.

           19.     In total, between February 19 and March 28, 2016, Organo has lost a total of

   2,542 Distributors (roughly /
                               1
                               4 of its Distributor base), of which twenty (26) were of a

   leadership rank.

           20.     Moreover, given the influence of leaders in their respective downline

   organizations, it is estimated that a further 7,500 Distributors have been exposed to the

   solicitations of Mr. Ventura and his group, as recently as this past week, all-of whom

   potentially may be persuaded to leave Organo in favor of TLC.

           21.     In contrast, during the six months before Luis Ventura's aggressive

   solicitation of Organo Distributors at the Las Vegas 50K event, Organo had lost a total of

   three (03) High Ranking Distributors (along with an estimated 120 associated Distributors

   in their down-lines).

           22.     Based on the communications Organo is receiving from Distributors, it is

   clear they are leaving Organo because of the solicitation by Mr. Ventura and those working

   at his direction.

          23.      It has become abundantly clear that Mr. Ventura has continued and will

   continue to actively solicit Organo Distributors in contravention of his post-termination




                                                5
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 31 of 117




   obligations to Organo, regardless of the commencement of these proceedings against him;

   and, that his clear intent is to drive Organo into a position of unsustainability whereby he

   can encourage the remainder of Organo's Distributor base to follow him to TLC.

          24.      I     have    reviewed      video    reproductions   of   Mr.     Ventura's

   presentations/statements hosted/shared on social media platforms such as YouTube and

   Facebook. These are tools used by Mr. Ventura and those working at his direction,

   including amongst others, Francisco Vasquez, Ana Cantera, and, Stormy Willington, to

   wrongfully solicit even more Organo Distributors to join TLC. A transcript of one such

   video entitled "El Nuevo Cambio - Luis Ventura y Francisco Vasquez" is attached hereto

   as Exhibit A.

          25.      Every day that Mr. Ventura and those working at his direction are permitted

   to continue to actively solicit Organo Distributors, Organo will continue to sustain

   significant irreparable harm in the nature of:

                a) lost Distributors;

                b) harm to Organo's image and reputation;

                c) losses of goodwill in the MLM marketplace;

                d) competitive position in the MLM space;

                e) irreparable disruption ofcustomer relationships;

                f) lost sales volume and revenue;

                g) lost money spent to investigate these tortious acts across numerous

                   jurisdictions; and

                h) litigation expenses in multiple jurisdictions.




                                                    6
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 32 of 117




          26.     It is the strength of Distributor and customer relationships that defines

   Organo's success in the MLM marketplace, and Mr. Ventura has specifically targeted these

   relationships to the detriment of Organo.

          27.     Mr. Ventura's blatant acts of soliciting Organo's sales organization

   demonstrates a complete disregard for the post-termination non-competition and non-

   solicitation obligations that Mr. Ventura made to Organo. In his position with TLC, Mr.

   Ventura has and continues to raid Organo Distributors for his own benefit and the benefit of

   TLC.

          28.     Absent some immediate reliefimposed by this Court, the irreparable damage

   caused by Mr. Ventura's actions will continue. Given the existing operating costs of the

   company, should Mr. Ventura's actions be permitted to continue un-abated, I project

   Organo will effectively no longer be a viable going concern within 12-15 weeks.



          I declare under penalty of perjury under the laws of the state of Washington that the

  foregoing is true and correct.



          DA.tED this .2' day ofMarch,2016, at       e,t,-/e..4(2„                   C+       LO,''.


                                                       Norm Perrett
                                                       SVP International Operations
                                                       Organo Gold Group ofCompanies




                                               7
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 33 of 117




                Exhibit A
              Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 34 of 117

                                         Transcribe
Transcription details:

      Date:                                 March-11-2016
      File name                             The new change - Luis Ventura and Francisco V6squez


Transcription results:


      Si 00:09               Hello, how are you, my friends? It is a pleasure to greet you. We have Luis Ventura
                             with us from beautiful Houston,Texas. It is a real pleasure to greet you and today we
                             are super excited, super happy and we want to welcome all of you who are joining us
                             from different cities and countries of the world. Yes, ladies and gentlemen, you heard
                             me well: cause we have different people connecting from different countries of the
                             world. But I also want to be very specific, very clear with each of you who are
                             connecting. This is not a call in which thousands and thousands of people are
                             connecting, it isn't. This is a special call in which each person who invited you,
                             selected you to be part of this first call we are doing.

      S1 00:57               Hello, how are you, my friends? It is a pleasure to greet you! We have Luis Ventura
                             with us from beautiful Houston, Texas. It is a real pleasure to greet you

      Si 01:05               Ana, it is repeating what I said!

      Si 01:07               We are super excited, super happy and we want to welcome all of you

      S2 01:09               Your screen is open, brother, you've got to close it.

      Si 01:13                Cities and countries of the world. Yes, ladies and gentlemen, you heard me well:
                             cause we have different people connecting from different countries of the world.

      S1 01:19               It is repeating it...

      S1 01:20               different people from...

      S2 01:21               You have to keep the link open, close the link from the presentation.

      S1 01:27               This is not a call in which thousands and thousands of people are connecting, it isn't.
                             This is a special call in which each--

      S1 01:33               Excuse me, ladies and gentlemen, I am—Stop for a second. Anita, will you help me?

      S2 01:39               Yes. You must close the presentation slide [?[. Ok. Sorry! We had some technical
                             difficulties. We will wait for mister Luis Ventura to connect again. Give us a sec.

                             [silence]

      S2 02:19               Ok. We will wait, mister Luis will connect shortly. We had some technical problems,
                             right? But we are live, that's what's important. Please keep connecting more and
                             more people, to be able to see this information that we will share today exclusively
                             with you. He's back on.

      Si 02:42               Ok, ladies and gentlemen. Apologies for the technical difficulties that we have had just
                             now.[inaudible] Excuse me, folks, we had some issues here. This is the first time we
                             are using Hangouts. But as I was saying, congratulations on having joined and one of
                             the things I was saying is that this call is special. It is not a call in which we invited
                             thousands and thousands of people, no. Simply, we selected a group of people
                             because we want to start with something huge. We have a vision to place fifty
                             thousand people in the next 90 days. And one of the things that I've always liked to do
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           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 35 of 117

                                    Transcrib„
                          is to start off strong, start off strong and one of the things I liked about the new
                          project we're starting, for which you have been chosen to start with us, with Mister
                          Francisco Vazquez and myself, and other leaders that I'll introduce right now, are the
                          four "P's" I will talk to you about it.

     Si 03:33             Four "P's", which are very important for you to know about. The first "P" is the
                          product we will be commercializing. One of the things I noticed is that when you only
                          have one product you are limited to just one market, and right now we are facing
                          products that people who don't know about marketing, can make money off of it. We
                          have realized that there is either people who can recruit people or people who cannot
                          recruit people. But then, to people who cannot recruit, can generate good income
                          with this new project without having to have a marketing network and that is
                          fantastic.

     51 04:09             The second "P", which caught my attention a lot, are the people, we will be working
                          with. We've got people who have a professional work ethic. One of the things I've
                          notices is that in this industry, if you are not connected with the right people what will
                          happen is that in its due time you may have nothing left, so the people that we will
                          introduce and connect you with in the next few days, you'll see that these are people
                          who are having an impressive life style.

     Si 04:41             Now,the third "P" is the process. In this process we will begin today, you'll see the
                          change of what will take place. It will be incredible! It is a spectacular process that I do
                          not want you to miss. Some people here that among the- who knows- 15-day, 20-day,
                          a month, 60-day processes have had impressive changes. So change is great.

     Si 05:07             And the fourth "P" I want to talk to you about is the payment plan. A payment plan
                          [foreign]. What does this mean? Fifty, fifty, and fifty. The truth is I had never before
                          seen a payment plan organized this way, so I want to congratulate you for being here.

                          Imagine, you and this plan, I won't go into details because what I will do is to
                          introduce you to a person who already has the fruits of his work in his hand. And I
                          want to introduce him to you since now you may be wondering: why did I choose this
                          company or why did I choose these people that I'll introduce, to work with them?

     S1 05:39             And to tell you the truth, what's interesting is that you may have the owner of a
                          company who sponsors you, but that person will never go with you to do any kind of
                          work. And now, I want to introduce you to Ana Cantera who I don't only know from
                          another company in which we work together, but I know the professional work ethics
                          she holds, along with her husband, Julio Lama.

     Si 06:00             And now that we have decided, Mister Francisco Vazquez and myself, to be a part of
                          this team, along with other people who have practically joined the project as well.
                          Remember that the next 90 days we will have 50 thousand people and you may be
                          the person on the very highest part. And in order to talk about the payment plan and
                          the company we are partnering with, I want to introduce you to my great friend, Anita
                          Cantera, from the Dominican Republic, who will talk a little about what the company
                          is, what is the payment plan, a little bit of her testimony and why we are joining forces
                          in this team.

     Si 06:39             Remember! One, it may be powerful; but together, no one can separate you and
                          nobody can hold you down. That is, what we are doing right now is big, huge, huge,
                          huge. So if you want something grand, this is your opportunity and I want to
                          congratulate you since as I said, we haven't just called everybody. Tomorrow we will
                          have another hangout for everyone, but you have a chance of being the first one, so
                          this is something special. Congratulations for having connected! And here is Ana

TranscribeMe2
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 36 of 117


                                    Transcrib,.
                          Cantera, who is having an impressive result in just eight months. But I am not the one
                          to share this, but I'd rather have her tell you. Go ahead, Anita.
     S3 07:25             Thank you so much! Thank you so much, Luis. It really is an honor, it is a pleasure to
                          work with you, with ethical leaders, with leaders who really worry about people, who
                          work with the team. And it is something admirable from you, Luis and Francisco, that I
                          don't just see you working with the team- as we say- on the floor, on the field, but you
                          train people, you worry about their professional growth and personal within this
                          industry, and that is how we know about the results you've had thus far. Today I feel
                          very happy, very thankful to be able to share this information with all of you. Because
                          eight months ago, almost nine months, we began this great vision, this great project
                          with [foreign]. And from the moment we started, I want you to know that we were in
                          a very difficult situation in our lives, economically and in my case, physically.

     S3 08:23             Now, as you know, many of you may have seen me in that other company, and we
                          finished that race unfortunately, not in the best way. But thank God- and I always say
                          that God does not make mistakes and always has the best in store for us- I learned
                          about this opportunity with [foreign]. I met my sponsor, Miss Stormy Wellington, and
                          we will also have her with us sharing this experience. Cause we had worked together
                          in the other company. And I was surprised by her results, surprised about everything
                          she was doing in just six months with this project. When I spoke with her she'd had
                          impressive results. She'd also lost a lot of weight, and I noticed on social networks
                          that she looked super young, super beautiful and besides, she was having great
                          economic income. And well it caught my attention and I wanted to learn more about
                          this project.

     S3 09:17             As I said, eight months ago I had a complete life change thanks to this company! I lost
                          just on the first month, over 28 pounds with the product. Imagine that! Total, utter
                          change. We have started working and nowadays we have organizations in over 15
                          countries. We have over six thousand, seven thousand people in our staff and
                          counting; attracting more leaders as is the case with Luis, who in fact is joining us now
                          to make history in Latin American countries, the United States and anywhere in which
                          we have people willing to change their lives with this project.


     S3 09:57             I'm going to talk to you a little bit about what is a business plan and you will be
                          surprised because, us, in [foreign] have a project that's so easy to explain, which I can
                          explain to you even talking to you without any need to screen a Powerpoint
                          presentation necessarily, in spite of using it sometimes. But I want you to know, in
                          general, what is [foreign].[Foreign] is a company that has 15 years in the market,
                          we're not talking about a new business. It started with a visionary, Mr. Jack Fallon,
                          owner and CEO of the company, and the company in this moment is 5 years old —
                          since 2011— as a multilevel one, which was where they created the compensation
                          plan that we have nowadays. We can develop businesses in more than 190 countries
                          and we have in Latin America, offices along with management, in 14 countries,
                          between them I can mention: Ecuador, Colombia, Peru, Mexico, Costa Rica,
                          Guatemala, El Salvador, Dominican Republic — which is where I am — Bolivia, Curacao
                          and many more.

     S3 11:03             And in this moment, in fact, we are legalizing four to five countries more in which we
                          are going to open within the next 90 days. When I saw this, I was really excited,
                          because I knew that it was an opportunity that we'll be able to expand rapidly within
                          the entire Latin market, unlike other opportunities where only three, four or maybe
                          five countries work. We now have over 15 countries in which we work and potentially
                          more than 20 countries within the next 90 days. Now, what's interesting?, as Luis said,
TranscribeMe3
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 37 of 117

                                    Transcribe
                          we have an immense product portfolio. We work in different industries, among them
                          we work in the weight loss industry, in which we have a wide variety of products and
                          our start product is the laso [foreign]or the laso tea. This tea is a natural, organic, tea,
                          which contains nine herbs and will help you detoxify your organism in a natural
                          manner without any contraindications and without causing issues to your health. And,
                          in fact, our slogan is: "Lose five pounds within your first five days". Alright? This is
                          what we sell. You can lose up to five pounds during your first five days.

     S3 12:17             Then we have other products for weight loss. Other formulas are utterly aggressive,
                          such as the HCG, which many people have heard about, the [foreign]as well. We have
                          the NRG, which is an energy pill.

                           We have products for sexual endurance, such as[foreign]for women,[foreign]for
                           men,completely natural and helps increasing sexual and intimate performance with
                           your partner for up to three days. Well, yes, you are showing the product there as
                           well.

                          We also have a line of girdles, a line of essential oils. We have a line of coffee that not
                          only contains ganoderma, but it also has coriceps, that contains chaga and
                          ganoderma. We also carry Latin coffee, black coffee, chocolate, cappuccino and a very
                          special coffee, thin coffee, which will also help you to lose weight through its
                          consumption; thin coffee.

     S3 13:16             This coffee that you see that Stormy has there, has carnitine, cambogia, ganoderma,
                          green coffee and other ingredients. Anyway, we have an immense variety of products.
                          Beauty products, personal care products, anti-aging products, we even have mascara.
                          People, we have a little bit of everything in [foreign]. As Luis said, something that I
                          learned in the industry during these five years that I have been working, is that if you
                          have a wide variety of products, you really have to ensure residual income; because
                          whoever doesn't purchase a product, purchases another one, whoever doesn't sell a
                          product, sells another one. And this is the advantage of[foreign], that we have
                          products for everyone.

     S3 13:56             So, thanks to this wonderful enterprise, thanks to this wonderful product portfolio, we
                          are also capable to generate an impressive income with our business plan, our
                          compensation plan. This compensation plan encompasses five different bonuses, five
                          different bonuses. And you might ask:"Only five?"
                          Well, that's more than necessary, because each one of them pays better than the
                          previous one, believe me. These five bonuses are as follows: the first bonus, which is
                          the direct sale bonus. As I said, we have an enormous product portfolio, where the
                          company pays out the 50% of the commissionable volume of each one of these
                          products. I'll give you an example: for example, tea. The treatment of the tea within
                          an entire month in the United States costs 45 dollars. Its volume encompasses 40
                          points and the company is going to pay you 50% of those 40 points, which is 20
                          dollars. Just as you heard, 50% of the direct sales, something never seen before in the
                          industry, people! 50% of the direct sale. You don't have to have a big stock, you don't
                          have to get yourself full of products, no, because in [foreign], the company has the
                          stock for you, it gives you the website, the client will purchase it from you and the
                          company pays out 50%. Simply impressive!

    S3 15:25              Afterwards we have bonus number two, which is for builders, people that really see
                          this business as enormous. We have bonus number two, which is the bonus of a quick
                          beginning. Within the bonus of a quick beginning, we also generate 50% of the new
                          income of our team. What does this mean? If you sponsor a person, we currently have
                          — listen to this — three promotional packages and you must obtain the highest benefit
TranscribeMe4
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 38 of 117


                                    Transcribe
                          from them, we have three promotion packages for 90 days,taking advantage of all
                          this growth that we have and we want you to leverage these packages as best a s
                          possible. We have three packages: the 200-point package, the 500-point package and
                          the 1000-point package. Later on, I will talk about these packages.

     S3 16:16             If you sponsor a person with the 200-point package, you will automatically get 100
                          dollars cash. If you sponsor a person with the 500-point package, you will immediately
                          receive 250 dollars cash. And if you sponsor a package with the 1000-point package,
                          you will get 500 dollars cash. This is in Latin America. In the United States, we're still
                          preparing new packages, but we have similar packages to 200, 250, 500, 1200 points,
                          which your leaders,further ahead, will inform you about, in regards of the packages
                          we have in the United States.

     S3 17:00             Now,the important thing I want you to understand it is that in this bonus number
                          two, you receive 50% of the package. Fellows, why did I fall in love with this company
                          since the first day I saw it? Because I understood that my people, regardless of their
                          rank, regardless of their network, no matter how many people it has; you can make
                          money on the base, since you start in this business. My experience in the past nine
                          months, eight months, has been that I have many people in my team generating good
                          income, generating impressive revenues by selling our products, working at the
                          beginning of the network, obtaining great results without being great networkers or
                          possessing great knowledge or bringing in large networks; simply because the plan is a
                          fair one, thanks to these two bonuses we have.

     S3 17:53             Afterwards, we have bonus number three, which is the binary bonus. We already
                          know a lot about the binary. We know that the binary comes from the word "bi": two
                          teams. We will win from 10% to 25% of the volume we have in our lower leg. This all
                          goes to the binary one, both sales and new packages, as well as reorders, they go
                          directly to the binary one. And from it we earn from 10% to 25% of the volume of our
                          lower leg. Something really impressive! In my case, acting as National Director, I
                          already generate 20% per week of the volume that I have on my team in my lower leg.
                          Can you imagine! Imagine the potential of growth with the business and at the same
                          time being able to grow the percentage of profits in a binary up to 25%. I repeat again
                          and again, something really impressive.

     S3 18:54             And then we have bonus number four, which Luis, this is my favorite bonus, I
                          wholeheartedly tell you. I love bonus number four!, because on it people are really
                          motivated to help you earn money. Here, they will be committed to make you earn
                          more and more money. In fact, Luis, please, become a millionaire, I want you to
                          surpass my ranks, to become an ambassador, I don't care; because in here, in the
                          equivalence bonus, the company recognizes your effort to help your team to generate
                          income. You can make up to 50% of the earnings of the binary on a weekly basis,from
                          all the people that you bring to the business, from all your first level. All of these
                          people that you're going to help by introducing this opportunity over to them, really,
                          you are going to —believe me- be the most interested in the fact that they make
                          money and grow within the business, because the company is going to pay you 50% of
                          the binary on a weekly basis. But not only that, you can also earn from a 10% up to
                          50% on your second level, friends. From all your second level! Which means,the
                          people that your immediate ones sponsored. From 10% up to a 50%. Can you imagine,
                          being able to help 10 people within the next twelve months in order to generate one
                          thousand dollars of binary, that is not a lot; 250, we are talking about 250 dollars per
                          week, 1000 dollars per month. And that you,from those 10 people, which would be a
                          total of 10 thousand dollars in earnings, can generate fifty percent: that would be fifty
                          thousand dollars automatically. Only from that bonus and only for the first level.

TranscribeMe5
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 39 of 117

                                      Tr-nscribe
                           Impressive! There is nothing like this out there, people, I know what I'm telling you.

     53 20:47              And then we have the bonus number five, which starts from the moment where you
                           act as National Director. And as National Director, the company will pay you $1,500
                           dollars each month for you to do whatever you want with that money: paying your
                           car, your house, buy clothes, go on a trip, help your team; really, whatever you want
                           to do, because it is a bonus that you earn automatically by reaching the position of
                           National Director. So this is the business plan, I can elaborate a lot, but we want to
                           make this call brief. I want to introduce you to a person who has really impacted my
                           life during these last few months, because, as I told them when I joined this company I
                           was devastated financially and emotionally, and this person told me,"Ana, your story
                           is similar to the mine ", she ended up the same, in the exact same way. That time, she
                           told me: "I feel uniquely connected to you. You have my support, I will help you, I
                           want to change your life." She traveled from Miami, where she is currently living, to
                           the Dominican Republic, even though I had already started-I had very little time,
                           around two weeks- and she helped me. We even went through several towns, lots of
                           driving hours and I tell you, she was someone who had impressive results. And that
                           gave me a lesson in humility, she gave me a lesson to really understand that this is a
                           different opportunity, where people do take off-like I say sometimes- their cape and
                           help you in the actual battlefield in order to reach your dreams and goals.

     S3 22:20              And for me,that's what Mrs. Stormy Wellington has been. She is a person who within
                           her first seven months generated a million dollars in [foreign] in profits, and within 14
                           months, this has been documented, has generated over two million dollars in this
                           company. But not only that, because you might say,"Oh well, yes, she has earned a
                           lot of money." No, not only that. She has already helped out more than 10 families to
                           this day-more than 10, no, I would say even more- she has helped them generate six-
                           figures in this company. People in the old company where we worked together, had
                           not even reached the first level of leadership in that company and to date, they have
                           generated over half a million dollars. Young people, such as Darrel Drake, of 26 years
                           of age, earned half a million dollars or even more than half a million dollars during his
                           first year. Pam McTray and Nathan McTray,these are the people I'm talking to you
                           about, had never ever been successful in the industry; they now earn over half a
                           million dollars only during their first year as well.

                           And just like this I can mention many different cases, including mine, which during my
                           first six months, thanks to [foreign], I was able to generate 200 thousand or even
                           more than 200 thousand dollars in commissions, and my life, my friends, changed
                           from tragic to magic. Now, I feel thinner, more beautiful, I'm happier. I am me,
                           because I recovered my identity, because I can be me and thank God I am help many
                           other individuals to generate income thanks to our dear Stormy Wellington, as well.
                           Stormy,[foreign].

     S4 24:05             [foreign] Hi! How are you?

     S3 24:09             [laughter][foreign]

     S4 24:11             [foreign]

     S3 24:15              I'm very excited to be here tonight.

     54 24:19             [foreign]

     S3 24:27              I'm sitting here and I really see a lot of familiar faces, such as Ana's face, Francisco's
                           and Luis', and so many people's faces that are in Francisco's living room, that I also
                           know from my previous experience.

TranscribeMe6
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 40 of 117

                                      Transcribe,
     S4 24:40             [foreign]

     S3 24:46             This has really warmed my heart, because I feel like I'm in a family gathering.

     S4 24:54             [foreign]

     S3 25:02             Many of you that are connected in this hangout tonight, you are in the same day in
                          the same place where I found myself a few years back.

     54 25:11             [foreign]

     S3 25:17             I generated thousands of dollars in revenue, I did a lot for the Company I worked for; I
                          devoted myself to that company.

     S4 25:25             [foreign]

     S3 25:30             And when things were not going the way we wanted them to, the same company to
                          which I gave my all, well, it failed me.

     S4 25:42             [foreign]

     S3 25:48             And to be completely honest with you guys, 15 months ago when [foreign]came into
                          my life.

     S4 25:55             [foreign]

     S3 25:59             ► had stopped believing in reserved income or in network marketing in general.

     S4 26:06             [foreign]

     S3 26:10             When I got the call or a call to join this company 15 months ago.

     S4 26:17             [foreign]

     S3 26:19             I was financially broke.

     S4 26:22             [foreign]

     S3 26:26             And I was 98% mentally broke.

     S4 26:31             [foreign]

     S3 26:34             But the 2% extra that was left

     54 26:37             [foreign]

     S3 26:41             Was really there because of my family and because of the people that I know follow
                          me.

     S4 26:46             [foreign]

     S3 26:49             When I started using the products.

     54 26:52             [foreign]

     S3 26:55             I was truly amazed by the results I got.

     S4 26:59             [foreign]

     53 27:03             Because, to begin with, in order to belong to a Company I have to know that the
                          product they have is going to work.

     S4 27:09             [foreign]

    53 27:12              I take this tea twice a day.

TranscribeMe7
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 41 of 117

                                      Transcribe
     S4 27:15             [foreign]

     S3 27:18              My sister takes this tea twice a day.

     S4 27:20             [foreign]

     S3 27:27             My best friend, who didn't have a home at that time, her and her husband, and her
                          children, they were sleeping in my home's floor, she drinks this tea.

     S4 27:36             [foreign]

     S3 27:39             At the beginning, we drank everyone's tea, just waiting for something to happen.

     S4 27:45             [foreign]

     53 27:49             And to be quite honest, we didn't believe in anything at the time.

     S4 27:54             [foreign]

     S3 27:58              My sister, thanks to this tea, lost more than 20 pounds in two weeks and a half.

     54 28:04             [foreign]

     S3 28:08              My best friend, Pat McCraig, lost 25 pounds in a month.

     S4 28:13             [foreign]

     S3 28:15             I lost 10 pounds during my first 10 days.

     S4 28:18             [foreign]

     S3 28:22             And the slogan:"Lose five pounds in your first five days."

     S4 28:25             [foreign]

     S3 28:29             Became a reality for me.

     S4 28:33             [foreign]

     53 28:37             Something in my heart told me that this was real, I knew it.

     S4 28:43             [foreign]

     S3 28:46             That we were going to take this chance and that we would restore our family.

     S4 28:51             [foreign]

     S3 28:55             At that moment,the only thing that I wanted to do was pay my rent and pay my car.

     S4 29:01             [foreign]

     S3 29:02             That was the only thing I thought about, the only thing I wanted.

     S4 29:05             [foreign]

     S3 29:08             My friend, as I said, was without a home, was living with me.

     S4 29:13             [foreign]

     S3 29:15             Her husband and also her three children.

     54 29:17             [foreign]

     S3 29:20             I really wanted to help them so they could also get their own house.

     S4 29:24             [foreign]

TranscribeMe8
            Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 42 of 117

                                       Transcnb
     S3 29:28              When I sat down to discuss with the owner of this company, Mr. Jack Fallon.

     S4 29:33              [foreign]

     S3 29:36              And I saw the compensation plan.

     S4 29:38              [foreign]

     S3 29:42              I fell in love with all these products that we have.

     S4 29:45              [foreign]

     S3 29:50              We sat down to launch a Project called "Vision 50 thousand"

     S4 29:55              [foreign]

     S3 29:58              Where I talked and told Mr. Jack Fallon.

     S4 30:01              [foreign]

     S3 30:07              That we would bring in 50 thousand people, among distributors and clients, in a 90-
                           day period.

     S4 30:16              [foreign]

     S3 30:20              We told them that our goal was to help 1000 families to earn six digits with this
                           company.

     S4 30:28              [foreign]

     S3 30:32              And all we started at the beginning were hangout conferences, like this one.

     S4 30:37              [foreign]

     S3 30:39              We made conference calls.

     54 30:41              [foreign]

     S3 30:43              We hosted house parties.

     S4 30:45              [foreign]

     S3 30:47              We used social networks: Facebook, Instagram.

     S4 30:51              [foreign]

     S3 30:55              I wrote myself in that moment a check to myself amounting to 1.5 million dollars.

     S4 31:01              [foreign]

     S3 31:07              And each day that 2% of belief that I had left, it started to grow little by little, 4%,8%
                           until it grew enormously.

     S4 31:16              [foreign]

     53 31:19              And to be honest with you, the only reason why it grew

     S4 31:24              [foreign]

     S3 31:27              Was because I saw normal people obtaining results.

     S4 31:31              [foreign]

     S3 31:33              There were people losing weight.

     S4 31:35              [foreign]
TranscribeMe9
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 43 of 117


                                      Transcr
     S3 31:38              And, really, we do not make any type of income statements.

     S4 31:44             [foreign]

     S3 31:47              This is probably not much to you.

     S4 31:49             [foreign]

     S3 31:52              But my sister, who, never in her life had done multilevel marketing.

    S4 31:56              [foreign]

     S3 32:01              She gets really excited when she know she's not a leader, or she is not doing big stuff,
                           but she's earning a check of 156 dollars per week.

    S4 32:11              [foreign]

     S3 32:15              Normal people in the industry, people without experience, here they earn money
                           every day.

    54 32:22              [foreign]

    S3 32:25               And the stories have become simply impressive, unbelievable.

    S4 32:30              [foreign]

    S3 32:36               I went from earning five thousand to 150 thousand in only 90 days.

    S4 32:43              [foreign]

    S3 32:46               I was able to be in the magazine of the company, Momentum magazine.

    S4 32:53              [foreign]

    S3 32:55               In seven months.

    S4 32:57              [foreign]

    S3 33:00               I was able to go and pick up my ring of one million dollars.

    S4 33:04              [foreign]

    S3 33:09              [foreign]

    S4 33:10              [foreign]

    S3 33:12               Oh! And I started restoring all my—my/foreign]

    S4 33:18              [foreign]

    S3 33:20               Oh, oh! Cleaning out all of that in those 90 days.

    54 33:23              [foreign]

    S3 33:32               And just three weeks ago, many people in my team — including me, Ana, and other
                           people of the team — were walking through the platforms of our convention, receiving
                           checks and very big rings.

    S4 33:46              [foreign]

    53 33:51               You can earn and generate in this business two million dollars in just a year.

    S4 33:58              [foreign]

    S3 34:03               In fact, last week I got really excited because it was my best week ever.

TranscribeMe10
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 44 of 117


     S4 34:09             [foreign]
                                      Transcribe
     S3 34:10              We do not make any type of income statements.

     S4 34:13             [foreign]

     S3 34:16             The results are not automatic, right? You have to work to get these numbers.

     S4 34:23             [foreign]

     S3 34:26             But I generated my weekly check just last week and it was over 60 thousand dollars in
                          commissions. Just last week.

     S4 34:34             [foreign]

     S3 34:38             And I am really going to say this just to wrap up.

     S4 34:41             [foreign]

     S3 34:46             Seeing Julio and Ana generating a quarter of a million dollars already in less than a
                          year.

     S4 34:53             [foreign]

     S3 34:57             And seeing the eyes of Francisco, Adriana, Luis, Fernanda...

     S4 35:03             [foreign]

     S3 35:06             Just, even though they were dressing very beautifully on the day we met.

     S4 35:11             [foreign]

     S3 35:15             When they started talking about the subject in regards of wanting their team to
                          generate, their team to earn, their team to grow.

     S4 35:24             [foreign]

     S3 35:27             I told Jack before us leaving the corporate office of[foreign].

     S4 35:33             [foreign]

     S3 35:36             Because its heart is its people, having its team earn.

     S4 35:41             [foreign]

     53 35:45             We pay out more than any other company in the world. We pay out 65%.

     S4 35:52             [foreign]

     S3 35:54             And it's because of that that this company.

     S4 35:56             [foreign]

     S3 35:59             Is drawing leaders that really want to help out other people.

     S4 36:04             [foreign]

     S3 36:07             And I'm really excited to let you know today that if you, at any moment, have ever
                          wanted to earn.

     S4 36:13             [foreign]

     S3 36:16             If you're tired of being tired.

     S4 36:19             [foreign]

TranscribeMel l
            Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 45 of 117


                                       Transcribe
     S3 36:21              Tonight is your chance.

     S4 36:24              [foreign]

     S3 36:26              To make history.

     S4 36:27              [foreign]

     S3 36:30              There's no doubt in my mind.

     S4 36:33              [foreign]

     S3 36:36              That Luis and Francisco.

     S4 36:38              [foreign]

     S3 36:42              That they will break the record that I have which is 50 thousand people.

     S4 36:47              [foreign]

     S3 36:52              I know that if I was able to earn two million dollars during my first year, I will be very
                           surprised if they don't generate three million in their first year.

     S4 37:01              [foreign]

     S3 37:02              But [laughter].

     S4 37:03              [foreign]

     S3 37:08              It's not only about what they are going to do, it's about what you can do. Because you
                           can join us and create your own story.

     S4 37:19              [foreign]

     S3 37:22              Tonight is about the people that will be starting, the first ones that will leverage the
                           opportunity.

     S4 37:28              [foreign]

     S3 37:31              And I want you to know that you are very special because you have been invited to
                           this first hangout tonight.

     S4 37:38              [foreign]

     S3 37:41              If I was you, I would be, in this exact moment,sending messages out.

     S4 37:46              [foreign]

     S3 37:48              And I would be writing them, telling them:"Get me in the system first, me first!"
                           [laughter]

     S4 37:55              [foreign]

     S3 37:59              Because when you know the compensation plan very well, you will realize why you
                           want to be first.

     S4 38:07              [foreign]

     S3 38:11              So, yes, I'm really excited, truly, congratulations and see you at the top.

     S4 38:18              [foreign]

     S3 38:19              Do not lose your moment[foreign] Stormy.[foreign]. [inaudible].

                           [claps]

Transcribeltle12
            Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 46 of 117


                                       Transcribe
                           [laughter]

     S3 38:33              This was the previous week's little check, not last week, the previous one. So [foreign]
                           Stormy [foreign]. Thank you everyone for being online and I want to leave you
                           with a person who is also really, really special. We have had a ton of fun these
                           last few days we've worked together, we're very happy because we're running
                           at a thousand miles per hour and this person has been incredible in regards of
                           the work that has been done this week. In fact, he has in his house a bunch of
                           people opening up information, working, and it's an energy that cannot be
                           compared to any other one out there. We're very happy to have Mr. Francisco
                           Vasquez in this conference [inaudible].

                           [claps]

     S5 39:32              Of course, for me, it's a big honor to join now this amazing group. I've met Stormy,
                           I've met Anita. And, well, for years I've worked with Mr. Luis Ventura and I've always
                           said that it's such a pleasure to work with him, but today we're starting to rewrite
                           history. To everyone out there who is online today, think about it: six years ago we
                           started a story. Thank God for the company that we have walked through, we've left
                           out mark. I mean, there is no single company where I think that Luis Ventura — I speak
                           for myself— hasn't left a mark. Today, I am making history today with a new company,
                           but the most important thing is being able to impact the lives of many people,
                           because this last company we also had in Mexican pesos, at least 15 millionaires
                           under our corporation; people who earned more than one,from three to six million
                           pesos in a year time only. So, everyone who's not seeing that only remembers how
                           people started arriving afterwards, and the only thing they would say to me was:
                           "Why didn't I meet you at the beginning?, I would've liked to have been signed up
                           when the project really started". They signed up any way, but now you can actually do
                           that.

     S5 40:52              Today we're starting a new story, and really, as I said, God makes no mistakes, there is
                           a reason why God brought us here. It took a lot of work to change mentality, to
                           change the company's shirt. Thank God they helped us taking away nothing, but now,
                           here we are really working as a team. It is a pleasure to know that all the emails, all
                           the messages that are arriving to me from people talking about what we're doing. I
                           knew we were a little famous, but not up to that point. I didn't know the avalanche
                           that was expecting us. This is like a snowball effect, so, enroll yourself quickly so you
                           can be one of the first ones, because we are really going to generate a big impact and
                           for all the people that are watching, just in case there is a spy there, I want to let you
                           know too, let him/her be taken over there to another company or any other and say
                           that we, in this company,[foreign], all of us are going with?

     S6 41:58              Power!

     S5 42:00              May God bless you all.

                           [claps]

    S3 42:05               Thank you! Get in touch with them because you are definitely making history and
                           what is going to happen within the next 90 days will be unbelievable, historic.

    S4 42:16               [foreign]

    S3 42:20               Tomorrow, listen to this, at this same time, get everyone online. We are going to
                           publicly launch this throughout the entire social networks, through Facebook, through
                           Instagram, through Twitter, through all social network platforms and we're going to
TranscribeMe13
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 47 of 117

                                      Transcribe
                          fill out this hangout of---

     S4 42:36             [foreign]

     S3 42:38             Correct. Stormy says, thanks to her experience, not just texts. Pick up the phone and
                          call all your contacts so they can be a part of this big, big project.

     S5 42:49             And invite you to share all the lines, all of our Facebooks, all of the videos we are
                          going to be launching. Tell your people that just like they send those funny jokes, and
                          those things, to now send the videos that Luis Ventura and myself and all of those
                          involved in [foreign] are going to have.

    53 43:09              That's right!

     Si 43:11             That's right, my friends. Congratulations on getting online! Remember that tomorrow
                          we are going to be here again at the same time. Make sure to get your people online,
                          because we are not calling anyone else because we wanted you to be the privileged
                          ones to get online first before calling everyone and make it public. Thousands and
                          thousands and thousands of people are about to arrive and you are about to be the
                          first ones. So, Anita, congratulations. Thank you very much for being with you. Tony
                          [foreign]. Francisco, I just want to tell you that you are an extraordinary person; not
                          only a fantastic friend, but also a person that does not hold back and have the pants
                          right on their place. Congratulations, I love you so much. And see you in the beaches
                          of the world!

    55 44:03              And we're all leaving with...?

     S6 44:04             Power!

                          [claps]

     S5 44:10             Remember that we are going to be in Colombia with our amazing leader, Anita. So---

    S3 44:16              In Colombia, in Ecuador, in New York, in Chicago, in Miami, in California, in Dallas,
                          everywhere. Each and every Latin person in the United States and in Latin American
                          will know this type of power. Welcome everyone! And congratulations in this new
                          phase of your lives. Thank you.

    51 44:37              You're welcome.




TranscribeMe14
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 48 of 117




   EXHIBIT 9
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 49 of 117




             IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON
                         IN AND FOR WHATCOM COUNTY

ORGANO GOLD INTL,INC., a Washington
corporation,

                       Plaintiff,
                                                    NO. 16-2-00384-9
        v.

LUIS VENTURA,an individual, LUZ
ANGELA VENTURA,and individual; and
L&A VENTURA MANAGEMENT,INC., a
Texas Corporation.

                       Defendants.


                    DECLARATION OF JOSELIN HIP ZELAYA

    I, Joselin Flip Zelaya, declare:

        1.      I am over the age of eighteen years, am competent to provide to testify,

and make the following statements based upon my personal, first-hand knowledge.

       2.       I am the Senior Manager of Distributor Compliance at Organo Gold

Headquarters in British Columbia, Canada,(the "Distributor Compliance Department").

       3.       The Distributor Compliance Department is responsible for overseeing the

compliance of all Distributors' actions with their respective contractual obligations under

Organo's Policies and Procedures, which are applicable to all Distributors globally

within the Organo Gold group of companies, which includes the Plaintiff, Organo Gold
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 50 of 117




Int'l, Inc.("Organo"). A true and correct copy of the Policies and Procedures is attached

hereto as Exhibit C.

       4.      On or about February 18, 2016, during a phone conversation with Rodolfo

Rodriguez (a disgruntled Organo Blue-diamond Distributor), I received information that

Mr. Luis Ventura was using the Project 50K event in Las Vegas to meet with the

members of his downline organization so as to actively recruit them into his new MLM

organization, Total Life Changes, LLC ("TLC").

       5.      I immediately had cause For concern which was confirmed the next day by

senior Organo executives attending the event in Las Vegas who also had become aware

of Mr. Ventura's actions, which were in clear violation of the Organo Policies and

Procedures.

       6.     On February 19, 2016, Organo decided to immediately terminate Mr.

Ventura as an Organo Distributor. Accordingly, on February 19, 2016, I sent written

notice to Mr. Ventura via electronic mail advising that his Distributorship Agreement was

terminated for cause and demanding that he immediately refrain from any and all actions

encouraging other Distributors to disavow or otherwise violate their contractual

obligations to Organo.

       7.     That same day, a hard copy of this notice was subsequently mailed by

UPS to Mr. Ventura, and all access to his on-line account with Organo was frozen.

       8.     Thereafter, almost immediately, I began receiving phone calls, emails and

other messages, from Distributors, both from those in attendance in Las Vegas and others

elsewhere, advising of either having been solicited directly by Mr. Ventura and his
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 51 of 117




"team", or, of having lost part of their downline to Mr. Ventura and those working at his

direction.

       9.     In total, between February 19, 2016 and March 06, 2016, I logged 53

phone calls, 24 email reports, and 56 other electronic communications (collectively, the

"Complaints") — including supporting evidence such as video and audio conversations —

from Distributors concerning the 'wrongful actions of Mr. Ventura. An itemization of

email reports and other electronic communications are included in the attached Exhibits

A and B (respectively).

       10.    As a consequence of this, the Distributor Compliance Department

determined that a total of 2,478 Distributors were potentially compromised by Mr.

Ventura and his cohorts, each individually having been openly encouraged to actively

conscript further Organo Distributors to leave Organo in favour of TLC.

       11.    Having received the various Complaints (both in English and Spanish),

and, having reviewed the various webinars, audio recordings, written correspondence and

other electronic communications associated with these numerous Complaints, I can state

unequivocally, that the intention of Mr. Ventura was and is to conscript as many Organo

Distributors as possible, to have them leave Organo and join under him in TLC.

       12.    Despite the measures undertaken by the Distributor Compliance

Department and Organo to date, I continue to receive similar complaints, notices, and

other indications, that Distributors have either been solicited by Mr. Ventura or have

decided to follow Mr. Ventura to TLC, taking with them in most cases their entire

downline teams.
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 52 of 117




        13.    Since Mr. Ventura's company was served with this lawsuit on March 11,

2016, Mr. Ventura has continued to publically denounce Organo, openly calling the

lawsuit frivolous, and, has continued to solicit Organo Distributors, encouraging them to

break their contractual ties with Organo, and to actively conscript others to do the same.

        14.    For example,ten days ago (March 17th, 2016), I received confirmation that

Jose Luna, a Diamond rank Distributor had also decided to leave Organo, encouraging

his entire downline (a further 1502 Distributors) to join with him and Mr. Ventura at

TLC.

       15.     Then last Friday (March 25th, 2016), I received news that 51 more

distributers had left, including four (04) more leaders; one of whom, Johanna Morales,

had access to a downline of over 5,100 Distributors.

       16.     While I am still monitoring how many of these additional 6,600 or so

downline Distributors actually break their ties to Organo (or go "in-active"), I can

confirm that all 6,600 would be subject to the influence of these leaders, and thus most

definitely will be or would have already been exposed to the solicitations of Mr. Ventura

and his counterparts.

       17.     Therefore, while the total number of Distributors confirmed to have left

Organo because of the actions of Mr. Luis Ventura is currently at 2,542, the potential for

this number to grow exponentially over the next few weeks is very, very real.

       18.    Despite this pending legal proceeding and the actions of Organo to

mitigate Mr. Ventura's wrongful conduct and to deter others from violating their

respective Distributor agreements, Mr. Ventura remains intent on actively conscripting

Organo Distributors, by either contacting them directly (utilizing information privy only
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 53 of 117




to active/existing Organo Distributors) or indirectly (by encouraging high ranking

Distributors to do the conscription for him).



       I declare under penalty of perjury under the laws of the state of Washington that

the foregoing is true and correct.



       DATED this 30th day of March, 2016, at Vancouver, British Columbia, Canada




                                                     selin Hip Zelaya
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 54 of 117




                Exhibit A
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 55 of 117




                                       EXHIBIT"A"

                            E-mail reports received by Joselin Hip



        Name of Distributor:          Date of Report:                   Nature of Report:

I. Sandra Marcela Hernandez           March 16, 2016     Distributor requesting to be allowed to switch
                                                         organizations as her upline organization is
                                                         inactive and upline diamond (Luis Ventura) has
                                                         left OG.

2.    Wendy Delgado                   March 16, 2016     Distributor reporting her displeasure with the
                                                         company and suggests the same reasons may be
                                                         why Luis Ventura left OG.

3. Sandra Peguero                      March 1, 2016     Distributor informing us of her concern that her
                                                         upline diamond Luis Ventura has left OG.

4. Ivan Carbajal                     February 26, 2016   Distributor reporting that Luis Ventura is cross-
                                                         recruiting distributors from his organization to
                                                         TLC.

5. Edgardo Zagaceta Calle            February 21, 2016   Distributor reporting that Luis Ventura is cross-
                                                         recruiting distributors from his organization to
                                                         TLC.

6. Ivan Carbajal                        March 7, 2016    Distributor reporting that Francisco Vazquez is
                                                         cross-recruiting distributors from his
                                                         organization to TLC

7. Roland Martinez                    March 11, 2016     Distributor reporting that Claudia Caballero is
                                                         cross-recruiting distributors from his
                                                         organization to TLC

8. James Johnson                     February 23, 2016   Distributor informing us that his ex-wife, the co-
                                                         applicant of the account, has joined TLC

9. Ronald Ramos                      February 29, 2016   Distributor reporting that Max Miller Beckmann
                                                         Acosta, Jose Gabriel Adum have left to TLC and
                                                         are cross-recruiting OG Distributors.

10 Elgie Young                       January 29, 2016    Distributor reporting possible cross-recruiting by
                                                         Willie "Trey" Edwards to TLC.

11 Domingo Herrera                   February 25.2016    Domingo reports that he has been personally
                                                         invited by Luis Ventura to attend the
                                                         teleconference where he is presenting TLC.
  Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 56 of 117




12 Sandra Paguero           March 1,2016    Distributor reporting that Luis Ventura has been
                                            aggressively soliciting the Long Island team.

13 Dora Barajas             March 8,2016    "I am being extremely affected by
                                            Mr Luis Ventura's actions

                                            after leaving Organo because of his
                                            determination to take
                                            all my downline from Blue Diamond,
                                            Emerald, Ruby and
                                            Satire. At the same time being that I host
                                            weekly opportunity
                                            meetings with various groups I just
                                            realized that most of them
                                            have been contacted by Him, his girlfriend
                                            or his new business
                                            partners. It seems he has been gathering
                                            information and building
                                            a list for a long time.


14 Yensi Talavera           March 19,2016   Submitted a Cross-recruiting report format. A
                                            member of her downline submitted a
                                            confidential report stating that he has been
                                            solicited.

15 Yensi Talavera           March 19,2016   Submitted a Cross-recruiting report format.
                                            Another member of her downline submitted a
                                            confidential report stating that he has been
                                            solicited.

16 Diego Cajigal            March 22,2016   Prepared a list of all of the distributors that have
                                            been cross-recruited to TLC.

17 Ivan Tapia               March 26,2016   Reporting that his personally sponsored
                                            distributor has now joined Luis Ventura.

18 Sandra Paguero           March 21,2016   Reporting a list of 18 distributors that have now
                                            joined Luis Ventura

19 Yensi Talavera           Feb. 25,2016    Sending a Hangout recording that has been
                                            uploaded to Youtube. Formal announcement that
   Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 57 of 117




                                                Luis is joining TLC.

20 John Sachtouras (2 emails)    Feb 26,2016    Report that Luis Ventura is announcing his
                                                training sessions with the name of an event
                                                already announced by John Sachtouras. This
                                                situation has caused confusion and several OG
                                                distributors are under the impression that it is the
                                                same 00-related event.

21 Edwin Haynes                 March 2,2016    Claudia Caballero was attempting to rejoin OG.
                                                Edwin Haynes is reporting that she is going back
                                                to TLC to continue cross-recruiting efforts.

22 Domingo Herrera              March 17,2016   Reporting Luis Ventura's continued cross-
                                                recruiting efforts.

23 Domingo Herrera              Feb. 26,2016    Attaching screenshot of Whatsapp message.
                                                Luis Ventura has invited one of his downline
                                                members to join TLC.

24 Ivan Tapia (2 entails)        Feb 25,2016    Submitting report that "Luis Ventura and
                                                Francisco Vasquez threatened him and verbally
                                                assaulted him."Also provided copy of the
                                                recording of the incident at the lobby of the
                                                Venetian hotel in Las Vegas.
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 58 of 117




                Exhibit B
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 59 of 117




                                    EXHIBIT "B"

                    Other electronic reports received by Joselin Hip



       Name of Distributor:             Date of Report:                Nature of Report:

   John Sachtouras                 Feb 25,2015                 16 images of social media posts-
                                                               Francisco Vasquez and Luis
                                                               Ventura

2. John Sachtouras                 Feb 25,2016                 Video of Francisco Vasquez
                                                               having a confrontation with an OG
                                                               distributor

3. John Sachtouras                 Feb. 25,2016                Screenshot of phone message from
                                                               Luis Ventura — invitation to a web
                                                               conference

4. Paola Ronderos                  Feb. 25,2016                Screenshot of WhatsApp message
                                                               from Luis Ventura — invitation to a
                                                               web conference

5. Paola Ronderos                  Feb. 25,2016                Screenshot of email received by
                                                               Paola Ronderos. Luis Ventura
                                                               inviting OG distributors to an
                                                               event that he names exactly the
                                                               same as an event that was being
                                                               conducted by John Sachtouras

6. Gabriela Rodriguez              Feb. 25,2016                Screenshot of phone log- Luis
                                                               Ventura attempting to contact her

7. Gabriela Rodriguez              Feb. 25,2016                Screenshot of WhatsApp message
                                                               from Luis Ventura — invitation to a
                                                               web conference

8. Gabriela Rodriguez              Feb. 25,2016                Audio note recording - segment of
                                                               the webinar hosted by Luis
                                                               Ventura with Stormy Wellington

9. Rommel Morocho                  Feb 26,2016                 Message from Rommel Morocho
                                                               stating that he received a message
                                                               from Luis Ventura inviting him to
                                                               his teleconference.

10 Gloria Morocho                  Feb 26,2016                 Message from Gloria Morocho
                                                               stating that she received a message
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 60 of 117




                                               from Luis Ventura inviting her to
                                               his teleconference.

I 1 John Sachtouras       Feb. 26,2016         Image asocial media post-
                                               Francisco Vasquez and Luis
                                               Ventura

12 Victor Aponte          Feb. 26,2016         Screenshot of Whatsapp
                                               conversation. — Victor Aponte
                                               confirms that Luis Ventura
                                               contacted him

13 Victor Aponte          Feb. 26,2016         4 audio files where Victor Aponte
                                               summarizes his call with Luis
                                               Ventura. Luis Ventura is
                                               discussing the new opportunity.

14 Erika Rojas            Feb 26,2016          Summary of her conversation with
                                               Luis Ventura. Luis Ventura is
                                               discussing the new opportunity.

15 John Sachtouras        Feb 27,2016          4 images of social media post-
                                               Juan Wiedmann and Johanna
                                               Rivadeneira stating they will
                                               follow their leader Luis Ventura

16 John Sachtouras        Feb 27,2016          9 images of social media post-
                                               Francisco Vasquez and Luis
                                               Ventura

17 Yensi Talavera         Feb 27,2016          Copy of messages sent to her by
                                               Luis Ventura

18 John Sachtouras        Feb 27,2016          5 images of social media post-
                                               Francisco Vasquez and Luis
                                               Ventura

19 John Sachtouras        Feb 27,2016          Report that Natalia Tous was
                                               contacted by Luis Ventura.

20 Natalia Tous           Feb 28,2016          Screenshots of whatsapp
                                               conversation where Luis Ventura
                                               contacts Natalia Tous. Inviting her
                                               to contact him if she is targeting
                                               an opportunity with certain
                                               income brackets (10,000 USD a
                                               month)
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 61 of 117




21 Carlos Carley          Feb 28,2016          Audio file. He summarizes the call
                                               he received from Francisco
                                               Vasquez. He says Francisco is
                                               acting on behalf of Luis and other
                                               distributors that left to TLC.

22 John Sachtouras        March 1,2016         Image ofsocial media post-
                                               Francisco Vasquez and Ana
                                               Cantera.

23 Paola Ronderos         March 1,2016         Screenshot of message where
                                               Brenda Sic resigns to 00

24 Paola Ronderos         March 1,2016         Screenshot of message sent by
                                               Fernanda Vera promoting Luis
                                               Ventura and inviting people to
                                               contact her.

25 Fernando Rodriguez     March 1,2016         Message where he is reporting that
                                               Jose Luna is contacting OG
                                               distributors in Long Island.
                                               Inviting them to start the business
                                               with Luis Ventura.

26 John Sachtouras        March 1,2016         John Sactouras arrives to Bogota.
                                               Distributors are informing him
                                               that Luis Ventura and Francisco
                                               Vasquez claim that OG "will go
                                               down in Colombia in the next 90
                                               days".

27 John Sachtouras        N arch 3,2016        Screenshot of confrontational
                                               messages that Luis Ventura is
                                               sending to John Sachtouras.

28 John Sachtouras        March 3,2016         Image of social media post-
                                               Johanna Rivadeneira promoting
                                               Luis Ventura

29 John Sachtouras        March 4,2016         Screenshot of confrontational
                                               message that Luis Ventura sentto
                                               John Sachtouras.

30 Gilberto Perez         March 4,2016         Report that his uplines are
                                               soliciting his active team in
                                               Chicago. His uplines are
                                               encouraging his organization to
                                               join Luis Ventura and Francisco
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 62 of 117




                                               Vasquez.

31 John Sachtouras        March 6,2016         17 historical messages showing
                                               Luis's past behavior. According to
                                               John he was showing lack of
                                               commitment to OG during at least
                                               the last 12 months.

32 Carlos Carley          March 6,2016         Screenshot of messages sent by
                                               Juan Manuel Wiedmann. He was
                                               circulating information that he
                                               claimed he received from the
                                               Customer Service Manager in
                                               Colombia. He was making an
                                               unofficial/unauthorized
                                               announcement that the price of the
                                               OG packs had increased.

33 John Sachtouras        March 7,2016         6 images of social media posts-
                                               Luis Ventura

34 Hilda Degrandes        March 8,2016         Screenshot of text message she
                                               received from Luis Ventura
                                               inviting her to a teleconference

35 John Sachtouras        March 8,2016         Recording of message that Luis
                                               Ventura is sending to John
                                               Sachtouras. Luis is saying that he
                                               has recordings of John Sachtouras
                                               and he will upload them on social
                                               media unless he stops contacting
                                               people and asking them to submit
                                               evidence to Compliance.

36 Odile Perez            March 10,2016        Audio file-recording of Julio.
                                               Marmolejos inviting her to TLC.

37 John Sachtouras        March 10,2016        Social Media posts of OG leaders
                                               now promoting Luis Ventura and
                                               TLC

38 Esther Hernandez       March 12,2016        Report of the distraction and
                                               impact on Maryland.

39 Paola Ronderos         March 15,2016        Report that Luis Ventura and his
                                               associates are calling the OG team
                                               inviting members to attend a
                                               meeting in Maryland.
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 63 of 117




40 Paola Ronderos         March 15,2016        Video clip of a meeting that Luis
                                               Ventura is hosting. She recognizes
                                              her former downline members
                                              from New York. They all left to
                                              join Luis.

41 John Sachtouras        March 16,2016        Social media post where an OG
                                               leader announces that he joins
                                               Luis Ventura.

42 Douglas Marquez        March 16,2016        Report that Luis Ventura has been
                                               soliciting members of the Long
                                               Island team.

43 John Sachtouras        March 17,2016        Audio 1►le- Luis Ventura discredits
                                               the lawsuit. Says that it is not
                                               signed by Bernie, Shane or
                                               Holton. States that OG is shitting
                                               on itself because of the fear of all
                                               the distributors it is losing.

44 Rafael Cabrera         March 18,1016        Screenshot of incoming call from
                                               Francisco Vasquez. Rafael
                                               provides summary of how
                                               Francisco was inviting him to join
                                               him in TLC under Luis Ventura.

45 Rafael Cabrera         March 18,2016       Audio recording of Francisco
                                              Vasquez asking what was Rafael's
                                              feedback.

46 Gabriela Rodriguez    March 18,2016         Screenshot of phone log showing
                                               missed calls from Luis Ventura

47 Gabriela Rodriguez    March 18,2016        Audio recording of voice message
                                              that Luis Ventura left her- he asks
                                              for a call back.

48 Domingo Herrera       March 20,2016        Short video showing the
                                              distributors (Jose Luna)that are
                                              now working with Julio Lama

49 Diego Cajigal         March 23,2016        Audio note where he is reporting
                                              the situation in Colombia, Peru,
                                              Ecuador.

50 Diego Cajigal         March 23,2016        List of 24 distributors that have
                                              left with Luis Ventura to TLC
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 64 of 117




51 Johns Sachtouras       March 25,2016        Screenshot of the page
                                               http://www.elnuevocambio.com/
                                               featuring the OG diamond
                                               Johanna Morales

52 Paola Ronderos         March 25,2016       7 Screenshots of invitation sent by
                                              Johanna Morales to visit the page
                                              elnuevocambio.com Asks Paola to
                                              discuss this opportunity
                                              (TLC)with her husband.

53 Adriana Wilson         March 25,2016        Screenshot of invitation sent by
                                               Johanna Morales to visit the page
                                               elnuevocambio.com

54 Ivan Tapia             March 27,2016        Screenshot of social Media post
                                               featuring Johanna and an
                                               announcement that she has joined
                                               TLC

55 Domingo Herrera        March 27,2016        Screenshot of the page
                                               http://www.elnuevocambio.com/
                                               featuring the OG diamond
                                               Johanna Morales

56 John Sachtouras        March 28,2016       Screenshot of social media post
                                              where Ramiro Vasquez is
                                              promoting TLC, Francisco
                                               Vasquez, and Luis Ventura. John
                                              reports 2 more leaders that have
                                              joined TLC.
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 65 of 117




                Exhibit C
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 66 of 117




               Policies & Procedures
                   USA— English
                       2011
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 67 of 117




Organo Gold Distributor Policies & Procedures — USA - English
    I. INTRODUCTION                                                                         4

   H. CODE OF CONDUCT                                                                       4

  III. COMPANY OBLIGATIONS                                                                  4

  IV. DISTRIBUTOR OBLIGATIONS                                                               5

   V. DEFINITIONS                                                                           5

  VI. DISTRIBUTOR STATUS                                                                    7

          A) INDEPENDENT STATUS•                                                            7

          B) APPLICATION REQUIREMENTS'                                                      8
          C) APPLICATION PROCESSING:                                                        8
          D) FALSIFIED REGISTRATION.                                                        8
          E) IDENTIFICATION NUM BERS•                                                      8
          F) DOING BUSINESS AS AN ENTITY(DBA):                                              9

          G) MULTIPLE DISTRIBUTOR ENTITIES:                                                9
          H) DISTRIBUTOR STATUS DURATION -                                                 9
          I) CHANGE IN SPONSOR OR PLACEMENT:                                              10
          J) SALE OR TRANSFER OF DISTRIBUTOR STATUS:                                      10
          K) DISSOLUTION OF MARRIAGE OR BUSINESS PARTNERSHIP:                             11
          L) BENEFICIARIES:                                                               11

          M)SPONSORING RIGHTS AND RESPONSIBILITIES:                                       11
          N) INTERNATIONAL DISTRIBUTOR STATUS:                                            12
          0) NEW MARKET DEVELOPMENT'                                                      12
          P) ORPHANS:                                                                     12
          Q) YEARLY ACCOUNT ADMINISTRATION FEES:                                          12
          R) VOLUNTARY CANCELLATION'                                                      12

          5) INVOLUNTARY TERMINATION:                                                     13

 VII. COMPANY PRODUCTS & SERVICES                                                         13
          A) ORDERING.                                                                    13
          B) AUTOSHIP PROGRAM:                                                            14
          C) RETAIL CUSTOMER PROGRAMS:                                                    14
          D) NON-PAYMENT:                                                                 15

          E) DISTRIBUTOR-COMPANY EMPLOYEE RELATIONS:                                      15
          F) SHIPPING AND HANDLING:                                                       15
          G) OUT OF STOCK ITEMS•                                                          16
          H) PRODUCT EXCHANGES                                                            16



Policies & Procedures — United States-English - effective on February 25, 2011   Page 2 of 26
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 68 of 117




          I) DISTRIBUTOR REPURCHASES(BUY BACK):                                            16

          J) RETAIL CUSTOMER REFUNDS:                                                      17
          IC) PERSONAL CUSTOMER REFUNDS-                                                   17

          L) PROCEDURES FOR RETURNS:                                                       17

          M)PRODUCT LIABILITY AND BUSINESS INSURANCE•                                      17

 VIII. COMPENSATION                                                                       18

          A) QUALIFICATIONS & PAYMENTS.                                                    18

          B) COMMISSION/BONUS PAYMENT FEES:                                                18

  IX. RESTRICTIONS                                                                        19

          A) REPRESENTATIONS: DISTRIBUTORS                                                 19

          B) ADVERTISING:                                                                 19

          C) INTERNET ADVERTISING:                                                        21

          D) SPAMMING:                                                                    22

          E) MEDIA INQUIRIES                                                              23

          F) TRADEMARK,PROPRIETARY INFORMATION, AND TRADE SECRETS.                        23

   X. NON COMPETITION AGREEMENT                                                           24

  XI. DISCIPLINARY MEASURES                                                               24

 XII. FOREIGN TRANSLATIONS                                                                25

 XIII. PRIVACY STATEMENT                                                                  25

 XIV. INDEMNITY                                                                           25

 XV. STATUTORY PRECEDENCE                                                                 25

 XVI. PROGRAM MODIFICATIONS                                                               25

XVII. NON-WAIVER PROVISION                                                                25

XVIII. POLICY ENFORCEMENT                                                                 26

 XIX. ARBITRATION                                                                         26

 XX. GOVERNING LAW,JURISDICTION & VENUE                                                   26

 XXI. CONTACT INFORMATION                                                                 26




Policies & Procedures — United States-English - effective on February 25, 2011   Page 3 of 26
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 69 of 117




  I.       INTRODUCTION
       Welcome to the world of Organo Gold.
       Congratulations on taking the first step in a journey that could very well change your life. Though simple, the road
       ahead will not necessarily be an easy one. Your success as an Organo Gold Distributor will be directly related to the
       quality of your relationship with your customers, sponsored Distributors and Organo Gold (hereinafter the
       Company). A clear statement of our Policy & Procedures(P&P) promotes harmony in these vital relationships and
       ensures that equality of opportunity and fairness is available to everyone who comes to the table.
       As an Independent Distributor, you agree to follow the spirit as well as the letter of the P&P. You will find that
       adhering to the P&P will assist you in providing quality and genuine service, which in turn will lead to greater
       success and rewards.
       The Company's P&P constitutes part of the Independent Distributor Application and Agreement and they, when
       accepted by the Company, together with the Organo Gold Compensation Plan and any other document
       incorporated by reference, form the Agreement between the Independent Distributor and the Company. The
       purpose of the Agreement is to authorize an individual to be an Independent Distributor of the Company and set
       forth the respective duties, responsibilities and obligations of all parties. You confirm this agreement each and
       every time you receive Organo Gold bonus/commission payments or place a wholesale order. It is with great
       anticipation of your success that we present you this P&P and urge you to follow it closely and completely.
 II.       CODE OF CONDUCT
   First and foremost, Organo Gold is built on a foundation of integrity, edification and trust. Whether dealing with
   your customers, fellow Distributors or the Company, you should always give and expect to receive all of the above.
   All activities will be measured against the P&P. When combined with common sense and camaraderie, a powerful
   synergy will develop. Anything that detracts from this should be dealt with immediately, first through your upline
   organization, then to the Company if necessary. Destruction of this foundation will not be tolerated.
   Application to become an Independent Distributor of the Company requires that the applicant agree to conduct
   business according to the following Code of Conduct. This code ensures high standards of integrity and
   professionalism throughout the Company's network of Independent Distributors and protects the Company's
   overall business image.
III.       COMPANY OBLIGATIONS
       Distributors have a right to expect the Company to operate in accordance with the laws and practices that govern
       business in general as well as the network marketing industry in particular. The fiduciary relationship of trust
       between Distributors and the Company is fragile and the Company, as the primary steward of that relationship,
       has an obligation to be fair and equitable to all.
                A)The Company will:
                         1) Conduct itself in an ethical and professional manner;

                         2) Process orders and ship products in a timely fashion;
                         3) Provide Distributors with the organization and volume information required to manage
                         business activities;
                         4) Compensate Distributors in accordance with the approved compensation plan;

                         5) Comply with all laws governing the sale and distribution of products and the compensation of
                         participants;
                        6) Administer its policy fairly, without prejudice or favor, to protect the interest of all
                        Distributors;
                         7) Provide liability insurance on its products when used in accordance with the instructions on
                         the label and marketed in accordance with the approved marketing plan.



   Policies & Procedures — United States-English - effective on February 25, 2011                                     Page 4 of 26
       Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 70 of 117




             B) The Company will not:

                      1) Guarantee success;
                      2) Provide any commissions/bonuses for the recruitment of others;
                      3) Tolerate Distributors pressuring prospects or downline into purchasing large quantities of
                      inventory;
                      4) Allow misleading product claims to be made in any form;
                      5) Tolerate Distributors "stocking-up" on products merely to obtain commissions/bonuses;
                      6) Advise Distributors on meeting compensation qualifications;

                      7) Terminate Distributors without due process;
                      8) Represent that there is any substitute for hard work.
IV.    DISTRIBUTOR OBLIGATIONS
            A) Distributors will:
                      1) Conduct their business in an ethical and professional manner;
                      2) Make it clear that success in the Company's compensation program is based on retail sales
                      rather than recruiting;
                      3) Represent the compensation plan only as specified by the Company;
                      4) Comply with applicable consumer protection laws and regulations;
                      5) Provide bona fide training, motivation and support to Distributors in their organization.
            B) Distributors will not:
                      1) Engage in deceptive, unlawful, or unethical business or recruiting practices (including cross
                      sponsoring or recruiting);
                      2) Engage in high pressure selling or recruiting practices;
                      3) Make misleading sales claims or guarantees concerning the Company or its products;

                      4) Sponsor or enroll minors or persons who are not capable of making an informed decision;
                      5) Conduct business activities in countries other than those approved by the Company;
                      6) Disparage, demean, or make negative remarks about the Company, its Distributors, products,
                      Compensation Plan, officers, directors, or employees;

                      7) Seek in any way to violate or circumvent Company policy, whether in spirit or deed.
V.     DEFINITIONS
  All Independent Distributors will better understand Company policy by understanding the basic terms commonly
  used in Company literature, the P&P and/or public presentations.

            a) Active: A Distributor is considered active when they generate 50 PV in personal product business
            volume in the current or previous calendar month.
            b) AutoShip: A predetermined order processed systematically, on a periodic basis, using a pre-approved
            payment method on file with the Company. In some countries, an AutoShip order is not required to be
            eligible to participate in the Organo Gold Compensation Plan.

            c) Commission Period: The time frame used to calculate commissions, both weekly and monthly.




  Policies & Procedures — United States-English - effective on February 25, 2011                             Page 5 of 26
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 71 of 117




                    1) Weekly Commission Period — defined as Monday @ 12:00 a.m.(midnight) to Sunday @
                    11:59:59 p.m., United States Pacific Time, taking into account Daylight Savings Time. Therefore,
                    the deadline for weekly commissions may vary by an hour in areas not observing Daylight Savings
                    Time.
                    2) Monthly Commission Period — defined by calendar month from midnight of the first (1st)
                    through 11:59:59 p.m. of the last day of the month, United States Pacific Time,taking into
                    account Daylight Savings Time. Therefore, the deadline for monthly commissions may vary by an
                    hour in areas not observing Daylight Savings Time. Notice of a time change will be given in the
                    Distributors' back office, as well as in corporate communication.
          d) Commissionable Volume(CV): The assigned point value of each sold product upon which commissions
          are paid. Sales aids have no CV.
          e) Compression: For commission calculation purposes only. If a Distributor fails to qualify for non-Dual
          Team commissions by failing to meet the Personal Volume (PV) or Personal Group Volume(PGV)
          threshold published in the Organo Gold Compensation Plan, any Point Value (PV) generated by the
          Distributor will be compressed up (or added to the PV of his Placement Sponsor) for that monthly
          commission period only. Compression takes place on a monthly basis after rank qualifications have been
          determined.
          f) DBA: All Distributors that desire to participate in the Organo Gold Compensation Plan must register by
          completing "Independent Distributor Application Form" as an individual. After the original Application is
          accepted by the Company, if the Distributor wishes to operate their Distributor Status as a business entity,
          whether sole proprietor, partnership, corporation, or other form, they must complete a "Distributor
          Doing Business Under Another Name"(DBA) Form and submit it with requisite documentation to Organo
          Gold for approval. Organo Gold reserves the right to levy a $100.00fee, including penalties and
          administrative fees, to any Distributor who attempts to register a fictitious entity that is not a bonafide
          and legal entity meeting United States Internal Revenue Service regulations.
          g) Downline: The organization of a Distributor, including those who are directly or indirectly sponsored by
          the Distributor and continuing down the lines of sponsorship through infinite levels and legs.
          h) Frontline: Any first level Distributor, whether directly or indirectly sponsored.
          i) Household: Spouses/Significant others and dependents residing at the same address.
          j) Identification: A unique number assigned to Distributors and used for tracking sales and purchases and
          enrolling other Distributors into the organization. In the case of Retail Customers, the number is used to
          track their personal consumption purchases. Distributors and Retail Customers must refer to this number
          in all their correspondence and dealings with the Company.

          k) Leg: A single line of sponsorship starting with a Distributor, through their frontline and continuing down
          through infinite levels.
          I) Business Report/Sales Recap Statement: The accounting report provided by the Company which tracks
          Downline sales activities. This information is available on the Distributor's back office at
          www,p.  rggr).pgpi...........

         m)Paid Rank: The actual pay-rank a Distributor qualifies for in the Organo Gold Compensation Plan
         during a given commission period. This may or may not equal the pin (recognition) rank of the Distributor
         (see below)

          n) Pin Rank: For recognition purposes, the highest rank a Distributor ever achieves.
          o) Personal Qualification Volume (PQV): The value associated with a product for rank advancement and
          qualification purposes only. This value is universal and not currency-dependent.
                   1) Personal Volume (PV): The PV generated directly by a given Distributor, including sales to
                   Retail or personal customers.



Policies & Procedures — United States-English - effective on February 25, 2011                            Page 6 of 26
      Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 72 of 117




                      2) Personal Group Volume (PGV): The aggregate PV of a Distributor and that of his/her entire
                      downline organization.
             p) Orphan: An applicant without a Sponsor.
            q) Qualified/Eligible: When a Distributor meets the weekly or monthly sales volume and organizational
            activity required to generate commissions/bonuses.
            r) Distributor: A person or legal entity currently authorized to purchase products at wholesale prices,
            resell the products, sponsor other Distributors into the organization to do the same, and participate in the
            Organo Gold Compensation Plan.
            s) Retail Customer: Consumers who purchase product for personal use on an occasional or regular basis,
            and do not participate in the Compensation Plan. Retail Customer orders are processed at the Suggested
            Retail Price and fulfilled directly by Organo Gold. All Retail Customer Orders, including AutoShip orders,
            contribute to the PV of the Distributor through whom the orders are placed. Retail Customers are not
            authorized to resell the product.
            t) Personal Customer: Consumers who purchase product for personal use on an occasional or regular
            basis directly from a Distributor, but do not participate in the Compensation Plan. Personal Customer
            orders are shipped or delivered directly by the Distributor, who also handles all returns. Personal
            Customers are not authorized to resell the product.
            u)Sponsor: A Distributor who personally enrolls another individual as a Distributor.
            v) Placement: The Distributor directly under whom another Distributor is placed within the Dual-team
            organization. OR The position of a Distributor within the dual-team organizational tree.
            w) Upline: The line of Sponsors that links a Distributor to the Company and who,subject to qualifying
            sales, may earn commissions on that Distributor's sales activities. Upline is based on Sponsorship or
            Placement.
            x) 70% Rule: Rule stating that, by ordering products, a Distributor certifies that over 70% of previously
            purchased products have been personally consumed or sold before further products can be ordered.
            Under this rule, any products certified as sold are not eligible for repurchase.
VI.    DISTRIBUTOR STATUS
  Distributor Status does not constitute the sale of a franchise or distributorship. The only purchase requirement to
  become a Distributor is that of a Business Kit, which includes the necessary information for conducting business in
  an efficient and ethical manner. A person will initially begin their distributorship status under individual status. If a
  Distributor desires and meets the requirements, the Company may authorize the addition of the Distributor's
  business entity name and tax identification information to the distributorship. A Distributor may only have interest
  in one distributor status, whether as an individual or an entity.
       A) INDEPENDENT STATUS:

            1) Distributors are independent contractors.
            2) A Distributor's decision to enter into this Agreement does not create, nor may the Distributor claim
            that they are, in any way, shape or form, parties to an employer/employee, agency, partnership,
            franchise, or joint venture relationship between the Company and the Distributor.
            3) Distributors must abide by all laws, rules and regulations pertaining to the acquisition, receipt, holding,
            selling, distribution and advertising of Company products and income opportunity.
           4) Distributors are solely responsible for declaration and payment of any taxes or fees associated with
           their independent Organo Gold business.




  Policies & Procedures — United States-English - effective on February 25, 2011                              Page 7 of 26
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 73 of 117




          5) Distributors are solely responsible for supplying any equipment and tools necessary for operating their
          Organo Gold business, such as telephone, transportation, professional services, office equipment, office
          supplies, and general liability insurance.
          6) Distributors are solely responsible for providing their own place of business and determine their own
          work hours.
     B) APPLICATION REQUIREMENTS:
          1) Applicants must be at least 18 years old and authorized to work in their state of residence.
          2) Applicants agree to abide by the official Company P&P and warrant that they understand the
          compensation requirements specified in the Organo Gold Compensation Plan.
          3) An applicant that completes an application to become a Distributor with the Company agrees to
          receive electronic emails.
          4) The Company is required by U.S. Federal law to ask an applicant for a personal tax identification
          number for income reporting purposes. Under its right of contract, the Company declines to grant a
          Distributor position to any unnumbered person or any person unwilling to provide a tax identification
          number(or Social Security Number) on the Application. It is the sole responsibility of the
          applicant/Distributor to ensure that they are functioning within the scope of their presence in the United
          States.
          5)The Company reserves the right to reject an application or immediately terminate any existing contract
          if it is determined that the tax identification number provided during enrollment is incorrect or invalid.
          6) By reference, the terms on the Distributor Application and Agreement are incorporated herein and
          form part of this P&P.
     C) APPLICATION PROCESSING:
          1) The Company reserves the right to accept or reject any applicant and is under no obligation to offer any
          reason for rejection.
          2)The Sponsor and the applicant are solely responsible for the completion of the Independent Organo
          Gold Distributor Application and Agreement. The Company will reject incomplete or faulty applications,
          and is under no obligation to notify neither the applicant nor Sponsor of a rejection.
          3) If an Application is submitted by fax or through the Internet via an official Organo Gold Website,
          Replicating Website or Distributor Back Office, an original Application does not have to be submitted,
          unless requested by the Company.
          4)Temporary telephone applications may be allowed at the discretion of the company. To finalize a
          phone registration, a faxed or mailed Application must be received by the Company within 7 days.
          Otherwise, the account will be automatically cancelled. At its discretion, the Company may elect to
          transfer the account to Retail Customer status.
     D) FALSIFIED REGISTRATION:

          1) Submitting an Independent Organo Gold Application & Agreement on behalf of an individual without
          that individual's permission and bona fide signature is illegal and strictly prohibited, as is submitting or
          encouraging someone to submit false or invalid information on an Application & Agreement. A person
          who submits false information on their Application & Agreement, or encourages someone to do so, will
          have his or her account terminated and will lose all rights to his or her Distributor status. Criminal and/or
          civil legal consequences may result.
     E) IDENTIFICATION NUMBERS:
          1) A unique Distributor Identification Number (ID) will be automatically issued upon enrollment and is to
          be used for enrolling other Distributors and ordering products.



Policies & Procedures — United States-English - effective on February 25, 2011                              Page 8 of 26
    Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 74 of 117




          2) Retail Customers will have a separate and distinguishable identification number to use when ordering
          products.
          3) Distributor and Customer ID numbers must be referenced in all correspondence with the Company.
     F)   DOING BUSINESS AS AN ENTITY (DBA):
          1) A Distributor may only establish his or her distributorship under his or her name and personal tax
          identification number.
          2) If a Distributor desires and meets the requirements, the Company may authorize the addition of the
          Distributor's business entity name and tax identification information to the original distributorship, upon
          submission of a DBA Form simultaneous with or subsequent to the submission of the Independent
          Distributor Application & Agreement.
          3) All DBA documents must be done within the same country of registration.

          4)The Company reserves the right to suspend, without prior notification, any accounts that do not follow
          the proper DBA protocol, pending receipt of the proper documentation.
          5) By reference, the terms on the DBA Form are incorporated herein and form part of this P&P.

     G) MULTIPLE DISTRIBUTOR ENTITIES:
          1) An individual may be part of only one Distributor Entity, whether under his or her name or a business
          name.
          2) A household (married or common-law spouses or other dependents residing at the same address)
          cannot maintain separate distributorships.
          3) Individual rent-paying tenants, roommates, independent adult family members (i.e. not considered a
          dependent for income tax purposes, spouses excluded) are not considered part of the Distributor's
          household and may be enrolled as separate Distributors, but must be personally enrolled by the original
          Distributor residing at that address.
          4) If multiple accounts are found, the Company reserves the right to cancel the most recent account(s)
          without prior notification to the Distributor. Refunds will not be issued for business kits purchased under
          subsequent accounts (including a spouse's account). The Company reserves the right to decide whether
          or not to transfer to the original account any downline enrolled under subsequent accounts.
          5) A Distributor who encourages downline to maintain multiple entities or who enrolls Distributors
          already enrolled under another Distributor (crossline recruiting), will face disciplinary action against their
          distributorship, up to involuntary cancellation of their account.
     H) DISTRIBUTOR STATUS DURATION:
          1) The term of the Distributor Status is one year from the date an Application is accepted by the
          Company.
          2) A Distributor shall remain eligible to renew their Distributor Status so long as he/she remains in
          compliance with the Company P&P and other rules and regulations. Distributors electing not to renew will
          be ineligible to reapply for a new position for six (6) months after removal from the system.

          3)To remain in Active status, a Distributor must generate a minimum 50 PV in a single calendar month.
          4) To be Eligible to be paid in the Company's Compensation Plan, the Distributor must be in Active status
          and meet all monthly and/or weekly qualification requirements.
          5) The Company reserves the right to remove Distributors from the system that are inactive for a
          consecutive twelve (12) month period, and any personally enrolled downline under their Distributor
          Status will remain under the Distributor's Sponsor organization. Unilevel compression will apply in
          accordance to the Compensation Plan.



Policies & Procedures — United States-English - effective on February 25, 2011                              Page 9 of 26
    Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 75 of 117




     I)   CHANGE IN SPONSOR OR PLACEMENT:
          1) To protect the integrity of all marketing organizations and safeguard the efforts of all Representatives,
          the Company discourages and rarely authorizes changes in sponsorship or placement.

          2)Sponsor Changes. Distributors wishing to change sponsors have the option of canceling their current
          distributorship and remaining inactive for six (6) months before reapplying as a new distributor under the
          Sponsor of their choosing, The 6 month inactivity period begins upon receipt and acceptance by the
          Company of the canceling Distributor's signed letter of cancellation.
          3)Sponsor corrections must be submitted in writing by the Sponsor on record, and must meet all of the
          following criteria: a) submitted within 3 business days of the enrollment date b) Remain within the same
          line of sponsorship as the original Sponsor. Crossline changes will not be processed. c) Include an
          updated, duly signed and dated Application & Agreement for the Distributor being transferred. d) Include
          signatures from all the affected parties. If placement is affected, the request must meet the all the
          placement correction criteria e) Include US$25.00 non-refundable administrative fee, per request, for
          updating the corporate records.

          4)Placement Corrections must be submitted in writing by the Sponsor on record, and must meet all of the
          following criteria: a) Submitted within 3 business days of the enrollment date b) Remain within the same
          dual-team leg (right-to-left or left-to-right corrections will not be approved). c) Agree that the moving
          Distributor to be placed in the first available open position at the bottom of the leg. d) Include US$25.00
          non-refundable administrative fee, per request, for updating the corporate records.
          5) Upon acceptance by the Company, the new Sponsor or Placement of the transferred Distributor
          becomes permanent.
          6) Other sponsor or placement change requests that do not fall within the scope of the sponsor or
          placement corrections as described in sections 3 and 4 above must be accompanied by a non-refundable
          US$100.00 review fee. This non-refundablefee will apply even if the request is ultimately denied. The
          Company will not consider any changes submitted more than two (2) weeks from the enrollment date.
          7) All sponsor or placement changes are at the sole discretion and require the final approval of the
          Compliance Department, whose decision will take into account the overall good of the organization. All
          decisions are final.
          8) If the changes are approved, adjustments will not be processed for previously paid
          commissions/bonuses,
     J)   SALE OR TRANSFER OF DISTRIBUTOR STATUS:
          1) Distributor Status that has reached the rank of Sapphire or above may be sold, transferred or assigned
          (within the same country) only with prior Company approval, which will not be unreasonably withheld.
          2) The Distributor agrees to give the Company the first right of refusal to purchase the Distributor Entity
          under the same terms as the original offer. If the Company chooses not to accept, the Distributor's
          Sponsor will be given the opportunity to make an offer or find a purchaser, under the original terms,
          within a 30-day period.

          3) All transactions must maintain the integrity of the organizational genealogy.
          4) A US$100.00 Sale/Transfer Fee will apply and must be submitted along with a notarized Transfer
          Affidavit, new Application & Agreement for the transferee, and any additional supporting documents
          requested by the Company.
          5) Company approval of a proposed sale or transfer must be in writing. Until written approval is received,
          the transferee or buyer is not authorized to conduct business under the distributorship.
          Commissions/bonuses will continue to be paid under the name of the original Distributor until approvals
          are granted. Previously earned commissions/bonuses under the distributorship will not be reissued under
          the transferee or buyer's name.



Policies & Procedures — United States-English - effective on February 25, 2011                           Page 10 of 26
    Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 76 of 117




          6) By reference, the terms on the Transfer Affidavit are incorporated herein and form part of this P&P.

          7) The transferee cannot have any interest in another position (including a co-applicant position) or
          account.
          8) The Company may terminate the Distributor Status if the seller/transferor does not meet any of the
          above requirements.
      K) DISSOLUTION OF MARRIAGE OR BUSINESS PARTNERSHIP:
          1)Should a marriage, common-law union or business partnership dissolve, the parties must notify the
          Company in writing with details as to who will retain the Distributor position. The notification must
          contain the signatures of both parties.

          2) Until said notification, commission payments and bonuses will be payable in accordance with the
          current Distributor Application & Agreement on file. Under no circumstances will the Company interfere
          in settlement disputes or split commission and bonus payments between divorcing spouses or members
          of dissolving entities.
          3) Once the dissolution is finalized, the second party may be entitled to enroll as a new Distributor under
          the Sponsor of his or her choice upon submission of a completed Application & Agreement, if he or she
          remains in good standing with the Company.
     L)   BENEFICIARIES:
          1) Upon death or incapacity, the benefits of this Agreement shall inure to the Distributor's heirs or
          successors in interest and the obligations and benefits of this P&P shall be binding upon the respective
          successors, upon completion of a new Distributor Application and Agreement.
          2) In the event of death, the designated beneficiary shall provide the Company with a certified copy of the
          final will and testament (or probate decision in absence of a will), if any, along with a certified copy of the
          Death Certificate.
          3) In the event of an extended probate, the legal representatives of the deceased Distributor should
          contact the Company to discuss how to proceed. In the absence of any instructions, all communications
          and payments will be made in accordance with the original Application.
     M) SPONSORING RIGHTS AND RESPONSIBILITIES:
          1) Distributors have the right to sponsor others within authorized territories. Only Organo Gold will
          determine and announce which territories are authorized for Organo Gold business activity.
          2)Sponsors must fulfill the obligation of performing bona fide supervisory and training functions in the
          marketing of products and program benefits.
          3)Sponsors must not make any income claims or exaggerated claims of financial rewards during
          marketing presentation. The displaying of commission/bonus payments is considered an income claim
          and is prohibited.
          4) At all times Sponsors must emphasize that success in the Company's marketing program will vary from
          Distributor to Distributor and will depend on personal efforts, including, but not limited to skill and time
          invested in developing the business. Distributors are compensated solely for the sale of products sold by
          them and their downline organization. The mere act of sponsoring a new Distributor does not generate
          any compensation whatsoever.
          5) The ultimate purpose of the Organo Gold business is the sale of products to end consumers; this must
          be emphasized in all opportunity presentations.
          6) Sponsors will refrain from mentioning competitor brands in a negative, disparaging, or otherwise illegal
          manner, or to evaluate companies negatively or disparagingly.




Policies & Procedures — United States-English - effective on February 25, 2011                            Page 11 of 26
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 77 of 117




     N) INTERNATIONAL DISTRIBUTOR STATUS:
          1) Distributors may only conduct business in countries where the Company officially announces that it
          is authorized to conduct business. This includes prospecting, lead generation, and sales of product. In
          addition, due to differing requirements in labeling and compliance from country to country product
          originating in one country may only be sold or delivered within that country. In order to protect the
          integrity of the Company as well as the organization, violations of this policy will not be tolerated.
          2) Legal requirements for conducting business differ for each country, so Distributors should not assume
          that Distributor Status requirements are the same worldwide. Distributors interested in participating in
          other international Organo Gold ventures should contact their local office to obtain instructions.

          3) Distributors are subject to the policies and procedures set forth by the Company in each country.
          4) Distributors must utilize only authorized distribution channels to build their marketing organizations.
     0) NEW MARKET DEVELOPMENT:
          1) Distributors may not individually import, export or distribute products or business building tools in any
          country.

          2) The Company has the sole responsibility of contacting and coordinating with government or legal
          agencies for the purpose of initiating the approval process to introduce Organo Gold products to any
          country. Notwithstanding the Distributor's enthusiasm and good intentions, circumvention of this policy
          could have harmful effects on the Company's ability to conduct business. Therefore, attempts to market
          in countries outside of Organo Gold's official list of open countries will result in sanctions, up to and
          including immediate termination of the Distributor's status.
          3) Distributors understand that conducting any pre-launch activity in countries not officially open for
          Organo Gold business is against Company policy and may be illegal in some countries.
          4) Violators of this policy shall be subject to the laws governing that country, termination of their
          Distributor Status and subject to civil and/or criminal prosecution to recuperate any damages to the
          Company.
     P) ORPHANS:

          1) Orders will not be accepted from anyone who does not have a Sponsor.
          2) If the Company receives inquiries from the public about its products and opportunity, it will attempt to
          ascertain whether contact resulted from a Distributor's sponsoring efforts and if so, the inquiring party
          will be referred to that Distributor. Other prospects, who have simply heard of the Company without any
          discoverable contact with a Distributor, will be referred to an Active Distributor pursuant to the
          Company's lead distribution policy.
     Q) YEARLY ACCOUNT ADMINISTRATION FEES:

          1) A yearly account administration fee of US$49.95 will apply on the Distributor's anniversary date.
     R) VOLUNTARY CANCELLATION:
         1) Distributors may cancel their Distributor status at any time with a signed and dated letter indicating
         their intent to discontinue their Status.
         2) Any Downline organization affected by the resignation will remain under the Distributor's Sponsor
         organization. Unilevel compression will apply in accordance to the Compensation Plan.
         3) Once an account has been cancelled, the former Distributor may not re-apply for Distributor Status,
         either as an individual or part of an entity, for six (6) months from the date of cancellation, provided he or
         she was in good standing at the time of voluntary cancellation.




Policies & Procedures — United States-English - effective on February 25, 2011                           Page 12 of 26
       Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 78 of 117




             4) Cancelled accounts will not be reinstated to their original placement position or rank under any
             circumstance.
        S) INVOLUNTARY TERMINATION:
           1)    The Company may terminate a Distributor immediately and without notice if any provision of the
                 Agreement, including any amendments that have been made by the Company in its sole discretion, is
                 violated.
           2)    Any Downline organization affected by the termination will remain under the Distributor's Sponsor
                 organization. Unilevel compression will apply in accordance to the Compensation Plan.
           3)    Cancellation shall become effective on the date on which written notice is mailed, faxed, or emailed to
                 the Distributor's last known address (physical or electronic), or when the Distributor receives actual
                 notice of cancellation, whichever occurs first.


VII.    COMPANY PRODUCTS & SERVICES
   The Company opportunity is built upon retail sales to the ultimate consumer. Distributors must certify that over
   70% of previously purchased products have been sold before further products can be ordered (this is commonly
   referred to as the 70% Rule). Products certified as sold under this 70% rule are not eligible for repurchase.
   Distributors may be asked at any time to verify the certification in writing and document said retail sales.
        A) ORDERING:
             1) The Company will accept orders for products and services from Distributors only when a valid
             Distributor Application is on file.
             2) When submitting orders to the Company, Distributors must use official order forms that may be
             downloaded from the Distributor's backoffice.
             3) Orders are accepted via telephone, facsimile, mail or the Distributor section of the Company website. It
             is the sole responsibility of the Distributor to verify receipt of the order by the Company and to ensure
             that the order is received in time to meet the deadlines for weekly and monthly commission periods.
             4) Unless otherwise indicated, products and services are processed at Distributor wholesale prices.

             5)The Company has established a Suggested Retail Price (SRP) as a recommendation for selling a
             particular product or service to Customers. Product may not be advertised below the SRP.
             6) Initial orders may not be in excess of US$1,500.00. Subsequent orders will be subject to verification of
             the 70% Rule and cannot exceed US$2,500.00 each. The Company reserves the right not to sell product to
             a Distributor if verification cannot be confirmed.
             7) The order must be accompanied by authorized payment covering the full order amount, shipping,
             processing and tax.
            8) Separate payment must be included for each order submitted.

            9) Multiple Distributors cannot combine two or more orders on the same form.
             10) Accepted payment methods are noted on the Order Forms.

            11) At its discretion, the Company may require the Distributor to submit a credit card billing authorization
            form before processing an order. By reference, the terms of the credit card billing authorization form are
            incorporated into this document.
            12) Orders are credited to the commission period in which they are received, provided that full payment
            is also received.

            13) For an order to be credited to a given commission period, it must be COMPLETED: 1) if by mail, phone
            or fax — by the end of the last working day prior to the commission period deadline (generally, for weekly



   Policies & Procedures — United States-English - effective on February 25, 2011                          Page 13 of 26
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 79 of 117




          commissions/bonuses by the end of the Company's posted business hours on Friday (unless a holiday); or
          2) online via back office or corporate website - by 11:59:59 p.m. Pacific on the final day of the commission
          period. In the event of disagreement, the Company's timepieces will prevail.
          14) The Company will correct any charge errors reported within 15 days of the date the order was placed,
          but will not be responsible for any errors or omissions not reported within 15 days.
          15) Once an Order is placed it cannot be cancelled. The Distributor will have to follow the return or
          exchange procedures as outlined in this document. Retail Customers must call support for instructions.
          16) By reference, the provisions on the Order Form are incorporated into this Agreement.
     B) AUTOSHIP PROGRAM:

          1) For convenience, the Company offers an AutoShip program to assist Distributors in managing their
          inventory.
          2) Distributors may enroll in the AutoShip Program by setting up an AutoShip profile by phone,fax, or
          online through their backoffice.
          3) Distributor AutoShip orders are processed on the 5th or 15th day of each month and, subject to
          processing volume, Distributors will be allowed to specify one of the above process dates. AutoShip
          orders will ship within 5 business days from the date the order was processed.
          4) Distributors may modify their AutoShip orders on a periodic basis. If a request for modification or
          cancellation is received by the Company less than two (2) business clays prior to the scheduled
          shipment,the changes will become effective the following month.
          5) By reference, the AutoShip Agreement is incorporated into this P&P.
     C) RETAIL CUSTOMER PROGRAMS:
          1) The Retail Customer Program is designed as a convenience for Distributors to easily reach and service
          their customer base.
          2) The primary relationship in these transactions is between the Distributor and their customer. Organo
          Gold fulfills a third-party merchant and fulfillment service role only.
          3) Distributors will operate their Retail Customer business in accordance with all the rules, regulations,
          policies, and procedures set forth by the Company.
          4) In the event of a Retail Customer dispute, resolution is the responsibility of the selling Distributor. The
          Company may step in as a third-party intermediary in the case of non-resolution.
          5) Distributors agree that if within 30 days of purchasing product directly from the Company the Retail
          Customer is not satisfied with the results for any reason, the Retail Customer may contact the Company
          for an exchange or refund on the purchase amount of the product(s) and any applicable taxes (Shipping
          and Handling charges excluded).

          6) Distributors are responsible for paying the Company the expenses of a Retail Customer product return
          or credit card chargeback. Should the Retail Customer initiate a product return or a credit card
          chargeback, the Distributor agrees that the Company may debit from the Distributor's commission /bonus
          payments all reasonable expenses incurred and commission/bonus or incentives paid on the returned
          products.
         7) Distributors acknowledge that the Company reserves the right to discontinue service to a Retail
         Customer if the Retail Customer returns more than 50% of total purchases over any six-month period or
         files for a credit card chargeback.
         8) Retail Customers purchase product directly from the Company at the current Suggested Retail Price
         (SRP). Distributors receive the difference between the SRP and the wholesale price (Retail Profit).




Policies & Procedures — United States-English - effective on February 25, 2011                             Page 14 of 26
    Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 80 of 117




          9) Retail Customers is not authorized to sponsor any individual or entity, resell Company products or
          services, or participate in the Organo Gold Compensation Program.
      D) NON-PAYMENT:

          1) The Company reserves the right to levy a US$42.00 service charge for non-payment of credit cards
          supplied as a form of payment for product and services, be it a one-time order or an AutoShip order.
          2) At the Company's discretion, commission/bonus payments may be debited or withheld until the issue is
          resolved.

     E) DISTRIBUTOR-COMPANY EMPLOYEE RELATIONS:
          1) In order to protect the rights of Distributors and Organo Gold employees alike, all calls may be
          recorded for training and compliance purposes.
          2) Company employees are trained to be courteous and professional in all contact with Distributors and
          the public.
          a) Should a Distributor ever receive less than respectful treatment from Company personnel, they should
          document the situation and forward it to the Compliance Department for immediate review,
          3) Distributors are expected to extend these same courtesies when dealing with corporate staff, via
          telephone, Internet, or in person.
          a) Company employees are not expected to endure abusive behavior from Distributors; in the event an
          employee feels that this is occurring, they are instructed to politely end the conversation, document the
          incident, and report it to a supervisor.
          b) Documentation will be forwarded to the appropriate executive officer for review.
          c) In severe circumstances, offending Distributors may be subject to immediate suspension or termination
          of their account.
          4) Distributors wishing to acknowledge exceptional service from an employee are encouraged to write
          letters of appreciation to be added to the employee's file. The Company discourages Distributors from
          giving gifts to individual employees.

          5)To avoid any conflict of interests, Distributors may not solicit or sponsor Company employees into any
          program. Such attempts may be viewed as hostile and may result in termination of the Distributor and/or
          the employee.
     F) SHIPPING AND HANDLING:

          1) The Company will ship product orders to the street address specified by the Distributor,
          2) In the event a P.O. Box (rural areas only), General Delivery, or other delivery mechanisms are used at
          the request of the Distributor (e.g. leaving the package in a designated area without live receipt), the
          Company assumes no responsibility for lost or missing packages.
          3) Distributors are solely responsible for notifying the Company, in writing, of any change in their address.
          If delivery is unsuccessful due to outdated or incomplete address information, or if the Distributor refuses
          the shipment, the original shipping charges will be recovered from the Distributor and additional charges
          will be levied for reshipping the product, in addition to an intercept or rerouting fee of US$15.00.
          4) Orders received and posted Monday through Friday, over the weekend, or on a holiday, will normally
          be shipped the following business day.

         5) The Company has no minimum order restrictions, although minimum shipping charges may apply.
         6) All orders are shipped ground service via the carrier under contract with the Company.




Policies & Procedures — United States-English - effective on February 25, 2011                           Page 15 of 26
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 81 of 117




          7) Shipping charges are subject to market variables, so Distributors should consult their backoffice for
          freight updates.
           8) Distributors should report any order shortages or errors to the Company immediately upon receipt of
           the order. In the event a shipment is damaged in transit, the Distributor should refuse the package and
           immediately contact the Company.
          9) When concerned that an order is lost, the Distributor should wait a minimum of seven (7) business days
          before requesting assistance or replacement. Package tracking information is available through the
          Distributor's backoffice.
           10) All orders must be properly completed with appropriate payment attached. The Company is not
           responsible for orders that are delayed or not processed if order or payment information is illegible or
           incomplete, or insufficient payment was enclosed. The Company is not responsible for notifying
           Distributor of order delays caused due to incomplete information.
          11) The Company will not be responsible for shipping delays caused by circumstances beyond its control.
     G) OUT OF STOCK ITEMS:
          1) If any products are temporarily out of stock, the Distributor will receive notification of the back-order at
          the time of the order or on the invoice.
          2) Back-ordered product is paid for when ordered and commissionable volume is accrued for the
          corresponding commission period.
          3) Back-orders are always filled first and will be shipped at no additional charge.
          4) At its discretion, the Company may substitute contents of pre-set product packs with items of equal or
          greater commissionable value.
     H) PRODUCT EXCHANGES:
          1) Distributors or Retail Customers may exchange products within 45 days of the invoice date if the
          products are unopened, undamaged and in resalable condition. Components of product packs cannot be
          exchanged individually.
          2) Refer to section VII. L. for return procedures.
     I)   DISTRIBUTOR REPURCHASES(BUY BACK):
          1) Upon cancellation or termination of the Distributor Agreement, Distributors may return for refund
          Business Kits, products and sales aids that (a) he or she personally purchased from the Company;(b) are
          in resalable condition. Any items that have been clearly identified at the time of sale as non-returnable,
          discontinued, or as seasonal items shall not be considered resalable; and (c) were purchased within 1 year
          prior to the date of cancellation (no time limit in MA, GA, LA, and WY)at 90% of the Distributor's net cost,
          less appropriate setoffs and legal claims.
          2) To be eligible for refund, Business Kits or Product Packs must be returned complete; individual
          components will not be refunded.
          3) Upon acceptance of a resalable Business Kit and/or resalable products and sales aids, the Distributor
          will be reimbursed 90% of net cost of the original purchase price(s) in the same form as the original
          payment was submitted. Shipping charges incurred at the time of purchase will not be refunded. If a
          Distributor was paid a commission based on a product that was subsequently returned for a refund, the
          Company may (a) deduct from the amount of the refund any commission that was paid based on that
          product purchase or (b) deduct the applicable PV/GV from the commissionable month in which the return
          was processed.
          4) Distributors who voluntary cancel their Distributor Status will be ineligible to participate actively or
          passively in the Organo Gold Compensation Plan for a period of at least six months.



Policies & Procedures — United States-English - effective on February 25, 2011,                             Page 16 of 26
    Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 82 of 117




          5) Montana Residents Only: - Montana residents may cancel their Distributor Agreement and return their
          Business Kit for a full refund within 15 days from the date of enrollment.
     J)    RETAIL CUSTOMER REFUNDS:

          1) Please refer to section VII.0 Retail Customer Programs for returns by Retail Customers(customers who
          purchase products directly from the Company)
     K) PERSONAL CUSTOMER REFUNDS:
          1) Products are provided to Distributors at wholesale prices and may be retailed directly to customers at a
          competitive price.
          2) Distributors must provide all personal customers with a Retail Sales Receipt at the time of the sale that
          specifies the total amount the customer will be required to pay, the Customer's Right to Cancel policy,
          and the contact information for the Distributor.
          3) Distributors are required to offer personal retail customers a 30-day 100% money back guarantee and
          expected to honor it all times.
          4) If within 30 days of purchasing and using a product a personal customer is not satisfied with the results,
          the Personal Customer must notify the Distributor who sold them the product for a refund on the
          purchase amount and any applicable taxes upon return of the unused portion of the product to the
          Distributor.
          5)The Distributor may keep the returned product for their personal inventory or contact the Company
          within 45 days of the original purchase date to initiate a product exchange for any unopened products.
          Product exchanges will be subject to section VII.H above.
          6)The Company does not accept returns from a Distributor's Personal Customers.
     L)   PROCEDURES FOR RETURNS:
          1) To exchange or return a product, the Distributor, Retail Customer must:

                    a) Call Distributor Support,
                    b) provide them with the original invoice number
                    c) notify them of the product(s) being exchanged or returned,
                    d) receive a Return Merchandise Authorization (RMA) number, and
                    e) if exchanging, place and pay any difference for an order for exchange products; the total must
                    be equal to or greater than the products being returned, excluding shipping and taxes.
                    Appropriate shipping charges and taxes will also be charged. No credit will be allowed towards
                    future purchases.
                    f) Clearly print the RMA number in indelible ink on the outside of the box. Packages without
                    visible RMA numbers will not accepted by the Company.
                    g) The Distributor, Retail Customer is responsible for pre-paying all shipping costs related to the
                    returned or exchanged items to be sent. The Company does not accept shipping-collect
                    packages.
                   h) Distributors, Retail Customers are encouraged to add a pre-paid tracking or delivery
                   confirmation service to all return packages. If returned product is not received by the Company,
                   it is the responsibility of the Distributor to trace the shipment.
     M) PRODUCT LIABILITY AND BUSINESS INSURANCE:
          1) The Company has product liability insurance, which covers claims arising from the use of the products
          in accordance with the label.



Policies & Procedures — United States-English - effective on February 25, 2011                             Page 17 of 26
        Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 83 of 117




             2) Product tampering, is strictly forbidden by state, provincial, and federal laws, and completely nullifies
             the liability insurance.
             3) Distributors who tamper with products become personally liable and are subject to immediate
             termination, as well as criminal and/or civil legal consequences.
             4)The Company does not release copies of its insurance certificates or policies.
             5) Distributors may wish to contact their insurance agent to arrange insurance coverage for their business
             property. The protection of business property may be frequently accomplished with a simple "Business
             Pursuit" endorsement attached to your present home owner's policy.
VIII.   COMPENSATION
    The Organo Gold Compensation Plan is based on a Network Marketing system of person-to-person distribution
    and direct sales to end consumers. Distributors are compensated for the products sold and distributed through
    their sales and marketing organizations. By reference, the Organo Gold Compensation Plan is incorporated into
    this P&P.

        A) QUALIFICATIONS & PAYMENTS:
             1) To qualify for bonuses, commissions, rank advancements and incentives, Distributors must be Active
             and in compliance with the Agreement.
             2) As long as the Distributor complies with the terms of the Agreement, the Company shall pay
             commissions/bonuses to such Distributor in accordance with the Organo Gold Compensation Plan.
             3)The Company recommends that all Distributors service at least three to five retail customers each
             qualification period.
             4) Commissions/bonuses are not paid on the purchase of any promotional business material such as sales
             aids.
             5) Distributors receive bonuses and commissions based on the actual sales of products to end consumers.
             6) Monthly commission/bonus are paid via Company's established mode of payment on the 20th day of
             the month (or nearest succeeding business day)following every commission period.

             7) Weekly commission/bonus are paid via Company's established mode of payment.
             8) If a Distributor finds any commission/bonus discrepancies, these must be reported to the Commissions
             Department within 15 days of receipt of the commissions/bonus payments for adjustments to be made.
             9)In drawing down on any commission/bonus payments, or placing a wholesale order,the Distributor
             reaffirms his or her commitment to abide by this P&P, as may be amended from time to time.
             10) Payments will be processed for amounts equal to or exceeding $7.50. If a Distributor's net earnings do
             not equal or exceed this amount, the commissions/bonus will be accrued until they reach the minimum
             amount for payment to be made.
             11) Under no circumstances will the Company split commission and bonus payments between divorcing
             spouses or members of dissolving entities.
        B) COMMISSION/BONUS PAYMENT FEES:
             1) Monthly accounting fees covering currency conversions, general account and organizational tree
             maintenance may be deducted from the Distributor's commission/bonus payments.
             2) The Company may debit or place a hold on any commission/ bonus payments for any amount owed it
             by the Distributor.




   Policies & Procedures -- United States-English - effective on February 25, 2011                           Page 18 of 26
       Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 84 of 117




            3) When a product is returned to the Company for a refund, the Company, at its discretion may, in the
            month in which the product is returned, and continuing each pay period thereafter until the bonuses or
            commissions are recovered:
                      a) Deduct any bonuses and commissions attributable to the returned or repurchased products
                      from the Distributor(s) who received the bonuses and commissions on the sales of said products.
                      b) Deduct the corresponding points from the Personal or Group Volume of the Distributor who
                      earned commissions/bonuses based on the sale of the returned products.
IX.    RESTRICTIONS
  The Company has a fiduciary obligation to protect and safeguard Distributors who have placed their trust and
  confidence in the Company mission and management. In conducting their business, Distributors should endeavor
  to promote the reputation of the products and services of the Company, and refrain from all conduct that might be
  harmful and inconsistent with the greater public interest of Organo Gold. By reference, any compliance updates
  distributed by the Company are automatically incorporated into this Agreement.
       A) REPRESENTATIONS: DISTRIBUTORS...
            1) shall truthfully and fairly represent the Company, its products, and programs in discussions with current
            or prospective Distributors.
            2) may not enter into a contract or transaction on behalf of the Company or represent themselves as
            employees, Distributors, agents or preferred vendors of the Company.
            3) may not make any claims as to any therapeutic or curative properties of the Company's products. The
            Company's products are not intended to diagnose, treat, cure, mitigate, or prevent any disease and
            should never be offered as such.
            4)shall not suggest any diagnosis, prognosis, evaluation, treatment, description, management or remedy
            of illness, ailment or disease.
            5) may not make any false, unreasonable, misleading, or intentionally misrepresentative income
            projections to prospective or current Distributors. Any income projections must include a compensation
            summary, which is issued periodically by the Company. Said summary must be given out to each prospect
            at the time that such projections are made, and may be downloaded from the Distributor back office.
            6)shall stress that success in the Company's marketing program will vary from Distributor to Distributor
            and will depend on personal efforts, including, but not limited to skill and time invested in developing the
            business.
            7) may not claim that the Company's plan or product portfolio has been approved or endorsed by any
            governmental agency.
            8) are fully responsible for any verbal or written statements they make regarding the Company, its
            products, services, and opportunity, which are not in compliance with the current, official Company sales
            support material.
       B) ADVERTISING:

            1) Organo Gold compensates its Distributors for marketing products person to person. This may be done
            in a by-appointment environment where personal services are provided (e.g.: barbershops, salons, real
            estate offices, and health clubs) so long as the products are not displayed in areas where other similar
            products are displayed.

            2) Retail Establishments: Company products cannot be sold, marketed or distributed at any retail location,
            including but not limited to stores, markets, restaurants, bakeries, chain convenience stores, big box
            retailers, etc.




  Policies & Procedures — United States-English - effective on February 25, 2011                           Page 19 of 26
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 85 of 117




          3)Swapmeets, Flea Markets, Bazaars, Vending Carts: Company products cannot be sold, displayed, or
          distributed at swapmeets, flea markets, bazaars, vending carts, or similar venues.
          4) Fairs, Expos, Tradeshows: The booth displays, advertisement or promotion of Company products,
          services or business opportunity at fairs, trade shows, open-air markets or any similar events, requires
          prior written approval from the Company. Requests must be made a minimum of 30 days prior to the
          event and before any contracts are signed with the venue.
          5) To protect person to person marketing efforts, the Company retains the discretion to restrict its
          products from being sold at any location which it does not deem acceptable.
          6) Exterior Signs or Window Displays: Exterior signs or window displays advertising the Company or its
          products will not be permitted at any non-corporate location.
          7)Promotional Items: Except for pre-approved promotional items that may be available for sale by the
          Company, no Distributor or business entity may use Company trademarks, logos, or designs on any
          independently produced promotional items (e.g: vehicle decals/magnets/clings, key chains, hats, shirts,
          mugs, business cards, banners, stickers, stationary, etc.).
          8) Use of Company Trademarks: Distributors may not use, reproduce or disseminate the Company trade
          name, logo or any trademark or service mark except those found in literature published and made
          available by the Company. This includes, but is not limited to, using the term "Organo Gold"(or any
          derivative or confusingly similar variation thereof that may confuse someone into believing that they are
          dealing with the Company), the corporate logo, and all marks or slogans designating products or services
          offered by the Company.
          9) All Distributor material should display the phrase "Organo Gold Independent Distributor" in a
          prominent position, using the same (or larger)font size (min 14 point), color, and type as the surrounding
          text, and must be submitted for approval by the Company prior to production.
          10) Distributors agree to avoid any references or website links to any third party literature for the purpose
          of verifying or stressing any medicinal or therapeutic effects of any Company product or its components.
          By reference, these third party claims become direct claims without proper validation.
          11) Distributors must avoid any false appeals to authorities (e.g.: deities, doctors, nurses, therapists,
          scientists, officers of the company, etc.) when presenting the Company's products or opportunity.
          12) Distributors may not charge any for-profit fee for any services, trainings, literature, materials,
          websites, memberships, or other Company-related material.
          13)To avoid a conflict of interest, Distributors will not sell, display, or advertise the Company's products
          in conjunction with similar non-Company products in any physical or electronic retail sites, displays, or
          advertisements.
          14) The Company prohibits Distributors from promoting another company's products along with the
          Company's products on any physical or electronic retail sites, displays, or advertisements.(Competitor is
          defined as another ganoderma or coffee beverage company).

          15) It is strictly prohibited for Distributors to advertise or display Organo Gold's products below the
          suggested retail price published by the Company in any advertising material, whether in print,
          electronic, or other.
          16) All advertisement approval requests must be submitted along with a hardcopy copy of the proposed
          material, prior to the material being published or distributed. These advertisements include, but are not
          limited to: literature, audio or video tapes, emails, displays, vehicle signs, bulletin boards, websites,
          internet communications, telephone messages, print ads, merchandise, etc. Any approved material is for
          personal use and distribution within the Distributor's personal downline only.




Policies & Procedures — United States-English - effective on February 25, 2011                             Page 20 of 26
    Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 86 of 117




          17) Mass-media marketing is not authorized and any requests for such projects will be denied. Examples
          of this type of marketing include radio and television appearances or infomercials or commercials,
          billboards and/or online feeds.
          18) Distributors may not produce for sale or distribution any recorded Company events and/or speeches
          without written permission from Organo Gold. Nor may Distributors reproduce for sale or for personal
          use any recording of Company-produced audio or video tape presentations.
          19)The Company retains the right, at its sole discretion, to request the immediate removal of any and all
          non-compliant or offensive material used by Distributors to promote the Company's products or
          opportunity.
          20) Violation of any of the above restrictions may result in instant suspension and/or termination pending
          an investigation (See XI. Disciplinary Measures).
          21) Distributors must utilize only authorized distribution channels to build their marketing organizations.
     C) INTERNET ADVERTISING:
          1) All general advertising policies apply to internet/electronic advertising, including posts on any social
          media sites (e.g.: Facebook, Twitter, MySpace, Linkedin) or opinion sites (e.g: blogs, Yelp, etc.)
          2) Distributors will not promote or sell Company products in any electronic or physical auction or sale
          sites (including, but not limited to e.g.: eBay, Craigslist,Yahoo, etc.). To protect person to person
          marketing efforts, the Company retains the discretion to restrict its products from being promoted or sold
          on any electronic site which it does not deem acceptable.
          3) Domain names intended for use in marketing the Company's products or opportunity must be
          submitted for approval prior to purchase.
          4) Distributors are not allowed to use the trade name "Organo Gold" or any Company trademark (or any
          derivative or confusingly similar variation thereof that may confuse someone into believing that they are
          dealing with the Company) as part of their email address, domain name, online ads, business name,
          username(s) and/or contract details. At their own expense, Distributors agree to transfer to the Company
          any domain names that violate this policy.
          5) Under no circumstance can a Distributor claim to be an official site of the Company,
          6)The Company offers replicated retail websites on the Internet with pre-approved text and photos for
          Distributors to manage their retail customers and enroll new Distributors. Enrollment pages or shopping
          carts independent of those on the Company-issued replicated websites will not be authorized for
          promoting Company products or opportunity.
          7) Distributors may create their own websites independent of the websites available from the Company,
          provided these have been approved by the Company. To initiate the personal website approval process,
          please contact the Compliance Department for instructions and the current required legal fee
          requirements.
          a) Once the request for approval is received, the Distributor agrees that any changes to the site in the
          future must be submitted to and authorized in writing by the Company.

          b) Distributors are responsible for keeping their independent site current, including product, promotion,
          event and marketing information.
          c) Any approved websites are authorized for personal use only. Distributors cannot supply other
          Distributors with independently-created replicated websites.
         8) Violation of any of the above restrictions will result in instant suspension and/or termination pending
         the removal of the offending material and/or an investigation (See XI. Disciplinary Measures).




Policies & Procedures — United States-English - effective on February 25, 2011                            Page 21 of 26
     Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 87 of 117




      D) SPAMMING:

          1)The Company maintains a zero-tolerance policy regarding any spamming activity by Distributors.
          Spamming is the sending of electronic or other messages in an attempt to force information upon others
          who have not specifically expressed a desire or granted an approval to receive said information,
          regardless of whether or not a signature is included in the message.
          2) Unsolicited Email:

          Organo Gold does not permit Distributors to send unsolicited commercial emails unless such strictly
          comply with applicable laws and regulations including, without limitation, the federal CAN SPAM Act, and
          they have been approved by the Company prior to distribution. Any email sent by a Distributor that
          promotes Organo Gold, the Organo Gold opportunity, or Organo Gold products and services must comply
          with the following:

                    a) There must be a notice in the email that advises the recipient that he or she may reply to the
                    email, via the functioning return email address, to request that future email solicitations or
                    correspondence not be sent to him or her (a functioning "opt-out" notice). There must be a
                    functioning return email address to the sender.
                    b) The email must include the Distributor's physical mailing address.
                    c) The email must clearly and conspicuously disclose that the message is an advertisement or
                    solicitation.
                    d) The use of deceptive subject lines and/or false header information is prohibited.
                    e) All opt-out requests, whether received by email or regular mail, must be honored. If a
                    Distributor receives an opt-out request from a recipient of an email, the Distributor must forward
                    the opt-out request to the Company.
                    f) The Company may periodically send commercial emails on behalf of Distributors. By entering
                    into the Distributor Agreement, Distributor agrees that the Company may send such emails and
                    that the Distributor's physical and email addresses will be included in such emails as outlined
                    above. Distributors shall honor opt-out requests.
          3) Automatic Dialing and Unsolicited Faxes:

                    a) Except as provided in this section, Distributors may not use or transmit unsolicited faxes or use
                    an automatic telephone dialing system relative to the operation of their Organo Gold businesses.

                   b) The term "automatic telephone dialing system" means equipment, which has the capacity to:
                   (a)store or produce telephone numbers to be called, using a random or sequential number
                   generator; and (b) to dial such numbers.
                   c) The terms "unsolicited faxes" means the transmission via telephone facsimile of any material
                   or information advertising or promoting Organo Gold, its products, its compensation plan or any
                   other aspect of the Company which is transmitted to any person, except that these terms do not
                   include a fax:(a) to any person with that person's prior express invitation or permission; or (b) to
                   any person with whom the Distributor has an established business or personal relationship.
                   d)The term "established business or personal relationship" means a prior or existing relationship
                   formed by a voluntary two way communication between a Distributor and a person, on the basis
                   of:(a) an inquiry, application, purchase or transaction by the person regarding products offered
                   by such Distributor; or (b) a personal or familial relationship, which relationship has not been
                   previously terminated by either party.
          4) Telemarketing Techniques:

                   a) Distributors must not engage in telemarketing in the operation of their Organo Gold
                   businesses. The Federal Trade Commission and the Federal Communications Commission in the



Policies & Procedures — United States-English - effective on February 25, 2011                             Page 22 of 26
    Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 88 of 117




                    United States each have laws that restrict telemarketing practices and Distributors are
                    responsible for observing these laws. "Cold calls" made to prospective customers or Distributors
                    that promote either Company products or services or opportunity constitutes telemarketing and
                    is prohibited.
     E) MEDIA INQUIRIES:

          1) It is the Company's policy that spokespersons from the corporate office handle all media inquiries
          (whether radio, television or print).
          2) Distributors must not attempt to respond to media inquiries regarding the Company, its products, or
          their independent Organo Gold business, and agree to immediately refer all media inquiries to the
          Company at compliancenogold.Corn.
     F) TRADEMARK, PROPRIETARY INFORMATION, AND TRADE SECRETS:
The Company's trademark is an important and valuable business asset. The trademark helps identify the
Company's products worldwide and distinguish the productsfrom those of its competitors. The Company must
protect its trademarkfrom misuse and infringement, or it can be lost. Each time a trademark or symbol is used
improperly or is used by someone other than its owner, the value and importance of the trademark can be greatly
diminished. Therefore, the Company makes every effort to protect its trademark, its corporate logotype, and
designs, so that others cannot use them. The rules setforth below have been developed to maintain the integrity of
the Company Trademark and to ensure that the Company's name and marks will be available exclusivelyfor the
Company's business.
          1) Permission Prior to Use Required: The Company will not allow use of its trade name(company name),
          trademarks(product names), designs, or symbols by any person, including a Distributor, without its prior
          permission. The Company will issue cease-and-desist orders to any persons using its trade name,
          trademarks, designs, and symbols without its permission and will, if necessary, follow with appropriate
          legal action for failure to comply with a cease-and-desist order. If the Company did not do this,
          Distributors would soon find the market flooded with the Company's products not produced by the
          Company or sold by its Distributors. Obviously, the Distributors would be greatly harmed by such unfair
          competition.
          2) Distributors may not use or attempt to register any of the Company's current or after-acquired trade
          names, trademarks, service names, service marks, logotypes, product names, Company name (collectively
          referred to as Intellectual Property), or any derivative or confusingly similar variation thereof, in a manner
          that may possibly cause confusion, mistake, or deception as to the source of the products or services
          advertised.
          3) Distributors may not use Company's intellectual property or any confusingly similar variation of this
          property in a business name, e-mail address, internet domain name or sub-domain name, telephone
          number, online ads, username(s)or in any other address, contact details or title.
          4) Distributor agrees to immediately re-assign to Company any registration of the Company names, trade
          names, trademarks, or Internet domain names registered or reserved in violation of this policy. Failure to
          do so will result in immediate termination of the Distributor Status. These provisions will survive the
          termination of the Agreement.
         5) Distributor information including: names, addresses, email addresses and telephone numbers of other
         Distributors, are the Company's proprietary trade secret information.

         6) Proprietary information is transmitted to the Distributor in confidence and, but for this agreement of
         confidentiality and non-disclosure, the Company would not provide this information to the Distributor.
         7) Distributors agree not to disclose such information to any third party or use such information for non-
         Company purposes or to compete with the Company.




Policies & Procedures — United States-English - effective on February 25, 2011                            Page 23 of 26
       Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 89 of 117




            8) The Distributor acknowledges that such proprietary information is of such character as to render it
            unique and that disclosure or use thereof in violation of this provision will result in irreparable damage to
            the Company and to Independent Distributor businesses.

            9) Upon demand by the Company, any current or former Distributor will return the original and all copies
            of proprietary information to the Company.

            10) The Company and its Independent Distributors will be entitled to injunctive relief to prevent violation
            of this policy.
            11) The Company prohibits current and former Distributors, either directly or through a third party, from
            promoting another company's business, during Company-related or sponsored activities or any activity
            promoted as such.
            12) The Company prohibits Distributors from selling or promoting another company's products, along
            with the Company's products, on any physical or virtual sites, displays, or advertisements.

            13) Distributors are independent contractors, and the Company imposes no restrictions on any
            Distributor's participation or sales activities in other multi-level marketing or direct sales opportunities, so
            long as it is not a an opportunity that directly competes with Organo Gold in offering ganoderma-based
                                                                                                            .
                                                                                                     .„.,
            products and/or healthy   beverages.
            14) Should they elect to participate in another non-competing direct selling opportunity, Distributors
            agree to maintain separate organizations independent of one another. Distributors will not engage in
            cross sponsoring. This policy shall apply to all countries in which the Company officially operates and shall
            survive the cancellation of this Agreement.

            15) Violation of the letter and/or spirit of the P&P constitutes voluntary resignation and cancellation of
            the Independent Distributor Agreement, effective the date of the violation, and the forfeiture of all
            commissions/bonuses payable for and after the calendar month in which the violation occurred.
            16) Violations of this policy are especially detrimental to growth and sales, and the Company may seek
            and obtain damages for violations of this policy.
X.     NON COMPETITION AGREEMENT

  Any Distributor that is terminated and/or cancels his or her Distributor Status, shall not compete with the
  Company or any of its affiliates by soliciting existing customers of the Company to any ganoderma or healthy
  beverage buSiness similar to the Company in a multi level marketing setting or its equivalent, for a_period of twelve
  (12) months.
XI.    DISCIPLINARY MEASURES
  A) All of the policies in this P&P, which includes the Independent Distributor Application & Agreement, the Organo
  Gold Compensation Plan, and any other agreements incorporated by reference, and entered into by and between
  the Company and the Distributors, are material terms to the agreement between the Company and the
  Distributors. Any violation of the terms and conditions entered into by and between the Company and the
  Distributors or the P&P or any illegal, fraudulent, deceptive or unethical business conduct by a Distributor may
  result, at the Company's discretion, in one or more of the following corrective measures:

            1) Issuance of a written warning;
            2) Imposition of a fine to be withheld from future commission or bonus payments;
            3) Reassignment of all or part of their marketing organization;

           4) Suspension of their Independent Distributor agreement;

                      a) Suspension means that, pending investigation and/or final decision, the Distributor will not be
                      able to conduct any Company business until such time that the suspension has been lifted (No
                      commission/bonus payments and no communication with his/her downline or upline). Any



  Policies & Proceclures — United States-English - effective on February 25, 2011                            Page 24 of 26
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 90 of 117




                          Distributor found conducting Company business during a suspension will have their
                          distributorship immediately terminated with the Company.
                 5) Termination of their Independent Distributor Agreement (Distributor forfeits all outstanding
                 commission/bonus payments and rights to any downline organization); and
                 6) Any other measure expressly stated within the policies set forth in the P&P.
  XII.      FOREIGN TRANSLATIONS
        From time to time, the Company may make available foreign language translations of marketing, sales and policy
        materials. If discrepancies are found in wording, meaning, or interpretation between the English and foreign
        language translation, the English version will always prevail.
 XIII.      PRIVACY STATEMENT
        A) The Company maintains a firm commitment to privacy and does everything possible to protect the security of
        those Distributors and Retail Customers who choose to do business with Organo Gold. The Company has security
        measures in place to protect against loss, misuse, and alteration of the confidential Distributor or Customer
        information we collect and manage. The Company uses industry-recognized leaders in secure server and
        encryption technology to protect the transactions of Distributors and Retail Customers, and takes the necessary
        precautions to protect against identity theft or credit card fraud, including the verification of Distributor or
        Customer information with each transaction. The Company will never sell the information it collects or use it to
        promote non-Company-related products or services.
        B) Distributors acknowledge that they will receive or have access to Personal Information. Distributors will hold
        such information separate and apart from any other information used or held by Distributor and, undertakes to
        Company, that it will collect, use and/or disclose Personal Information only for the purposes authorized by
        Company with respect to the use and/or disclosure of Personal Information. Distributor shall comply at all times
        with applicable Privacy Legislation and Distributor shall promptly advise Company of any breach or suspect of
        breach of security protecting and Personal Information.
XIV.        INDEMNITY
     Each Distributor shall hold the Company harmless for any claims, damages, or liabilities arising from the
     Distributor's misrepresentation, negligence or failure to follow the P&P. This provision will survive the cancellation
     of the Agreement.
 XV.        STATUTORY PRECEDENCE
     The Company's P&P is subject to the prevailing territorial, provincial, or federal laws governing our industry. These
     laws take precedence over any item included herein.
XVI.        PROGRAM MODIFICATIONS
     In order to maintain a viable business and to comply with governing laws and economic conditions, the Company
     has the sole right and discretion to modify its compensation plan, product line, pricing, terms or P&P. Such
     modifications shall be immediately binding upon notice to Distributors. Updates shall be posted in the Distributor's
     backoffice. A hardcopy will be made available at the Distributor's written request. Distributors agree to abide by
     any such modifications.
XVII.       NON-WAIVER PROVISION
     Failure by the Company to exercise any rights to the provisions stated in this P&P, Organo Gold Compensation
     Plan, Distributor Application & Agreement, or any other document referenced herein, shall not constitute a waiver
     of the Company's right to demand exact compliance therewith. Waiver of this right by the Company can only be
     made effective by an authorized officer of the Company in writing.




     Policies & Procedures — United States-English - effective on February 25, 2011                           Page 25 of 26
         Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 91 of 117




XVIII.    POLICY ENFORCEMENT
     If any provision of the P&P is found to be invalid, illegal or unenforceable for any reason, the Company may amend
     or delete that provision. The amendment or deletion of any clause or provision, will not affect the remaining
     clauses and provisions, which will remain in full force and effect.

 XIX.     ARBITRATION

     A) Both the Distributor and the Company hereby agree that their relationship is governed by this P&P. Any claim,
     dispute or other difference shall be exclusively resolved by binding arbitration administered by the American
     Arbitration Association pursuant to its Commercial Arbitration Rules. Distributors waive their right to trial by jury
     or to any court. All arbitration proceedings shall be held in the city of Ferndale, state of Washington unless the
     laws of the state or territory in which the Distributor resides expressly require the application of its laws, in which
     case the arbitration shall be held in accordance with those laws.
     B) Each party to the arbitration shall be responsible for its own costs and expenses of arbitration, including legal
     and filing fees. The decision of the arbitrator shall be final and binding on the parties and, if necessary, be reduced
     to a judgment in any court of competent jurisdiction. Nothing in this Agreement shall prevent the Company from
     applying to and obtaining from any court having jurisdiction, a writ of attachment, an injunction, or other relief
     available to safeguard and protect the Company's interest prior to, during, or following the filing of any arbitration
     or other proceeding or pending the rendition of a decision or award in connection with any arbitration or other
     proceeding. This agreement to arbitration shall survive any termination or expiration of the Agreement.
  XX.     GOVERNING LAW,JURISDICTION & VENUE
     Jurisdiction and venue of any matter not subject to arbitration shall reside in the City of Ferndale, State of
     Washington unless the laws of the province or territory in which the Distributor resides expressly require the
     application of its laws, in which case that province or territory's laws shall govern with respect to jurisdiction and
     venue.
 XXI.     CONTACT INFORMATION


     Telephone:                                     1(604)638-6840
     Toll Free:                                     1(877)6742661
     Fax :                                          1(604)288-5488
     Website:                                       www.organogold.com
     Email:                                         support@organogold.com
     US Headquarters Mailing Address:               5505 Hovander Road Ferndale, WA 98248




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     Policies & Procedures — United States-English - effective on February 25, 2011   P&P-US-eng-20160122 Page 26 of 26
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 92 of 117




EXHIBIT 10
      Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 93 of 117




             IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON
                         IN AND FOR WHATCOM COUNTY


ORGAN()GOLD INT'L, INC., a Washington
corporation,

                      Plaintiff,
                                                          Civil Case No. 16 2 00384 9
       v.

LUIS VENTURA,an individual, LUZ
ANGELA VENTURA,and individual; and
L&A VENTURA MANAGEMENT,INC., a
Texas Corporation.

                      Defendants.


                        DECLARATION OF JOHN SACHTOURAS

   I, John Sachtouras, declare:

       1.     I am over the age of eighteen years, am competent to provide to testify, and make

the following statements based upon my personal, first-hand knowledge.

       2.     I am a currently authorized Distributor of Organo Gold ("Organo") in the United

States, having entered into an Independent Distributor Agreement on June 24, 2009.

       3.     Between February 18 and 21 February, 2016, I was in Las Vegas, Nevada, to

attend the Organo Project 50K event. During the event and shortly thereafter, I was informed by

fellow high ranking Distributors — among them, Mrs. Yubiris Chuorrio (from Peru), Mr. Juan

Ayala (from Texas), and Mrs. Claudia Rodriquez (from Mexico) — that Mr. Luis Ventura was
      Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 94 of 117




asking for other Distributors' phone numbers, and calling them, encouraging them to leave

Organo and join with him in his new venture with another MLM company, Total Life Changes,

LLC ("TLC").

        4.     On February 19, 2016, I received a message from Luis Ventura with a video

attachment promoting new "opportunity"        a screen-shot of that text message is attached hereto

as Exhibit A, and a transcription of the video is attached hereto as Exhibit B.

        5.     Since the Las Vegas event, fellow Organo Distributors have approached me

expressing concerns about solicitations they received from Luis Ventura and his associates,

encouraging them to abandon Organo in favor of TLC.

        6.     Attached hereto as Exhibit C is a list of individual Organo Distributors in my

personal downline who complained to me of being contacted by Mr. Ventura, along with the

date(s) of the complaint, and, manner(s) in which they were each solicited by Mr. Ventura or

those working with him -- Mr. Francisco Vazquez, Ms. Ana Cantera, and Ms. Stormy

Wellington.

       7.      The ongoing cross-recruiting of Organo Distributors by Mr. Ventura is having a

devastating effect on the morale of my organization, my downline and the company as a whole,

which has become a cause of significant concern.

       I declare under penalty of pet-jury under the laws of the state of Washington that the

foregoing is true and correct.


        DATED this         day of March, 2016, at




                                                     John Sachtouras
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 95 of 117




  asking: for other Distributors phone numbers, and calling them. encouraging them to leave

  Organo and join with him in his new venture with another MIA company, Total Lite Changes,

  LLC("TLC`,).

         4.      On February 19. 2016. I received a message from Luis Ventura with a video

  attachment promoting new "opportunity' - a screen-shot of that text message is attached hereto

  as Exhibit A.and a transcription of the video is attached hereto as Exhibit B.

         5,     'Since the Las Vegas event, fellow Organo Distributors have approached me

  expressing concerns aboitt solicitations they received from Luis Ventura and his associates,

  encouraging them to abandon Organo in favor of I'LC.

         6.      Attached hereto as. Exhibit C. is a list of individual.. Ontario Distributors in my

  personal downline who..complained to me of being. contacted • by Mr. Ventura, along with.the

  dateisj or the complaint, and, mannerio in which they - were each solicited by Mr. Ventura Or

  those working with him -- Mr. Francisco Vazquez. Ms. Ana 'Camera. and Ms. Stonily.

  Wellington,

         7.      The ongoing cross-recruiting of Organo Distributors by Mr. Ventura is having a

  devastating effect on the morale oftry organization, my downline and the company as .a whole.

        has become a cause of siguillQata concern.

         I declare under penalt       ueriur under the laws of the state of'Washington that the

 foregoing is true. and correct.


        DATED this           day of March. 2016. at




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 Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 96 of 117




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Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 97 of 117




                Exhibit A
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 98 of 117




                                    EXHIBIT "A"

  [Screen shot of Text Message received by John Sachtouras from Luis Ventura]



  eitor-x: Verizon       6:20 PM                  111111Eh

      Chats          Sr. Luis Ventura
                          c;nline




            Muchas gracias Mr. Luis, Feliz
            dia Del Amor y la Amistad.

                          Today

    Hola esta invitado a
    conectarse esta noche a una
    conferencia privada donde
    dare detalles de nuestro
    Nuevo Cambio.
    Hora 9 pm hora del Centro
    Esta invitacion es exclusiva y
    privada solo para usted.
     hltplielnuevocambio.corn

    10 de la noche en Sur America
       Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 99 of 117




                                          EXHIBIT "A"

                    [Translation of preceding Screen shot of Text Message]


•0000 Verizon ["symbol"]                       6:20 PM                                  [Icon of a battery"]

                                       Sr. Luis Ventura
 < Chats                                                                ['icon of a phone] ["circular photo"]
                                               online


 [FIRST MESSAGE BOX (white) —
  Photo of two fingers crossed on red background]
                                                    9:48 AM


                                               [SECOND MESSAGE BOX (Green) — Spanish text:]

                                                Thank you very much Mr. Luis, Happy
                                                Day of Friendship and Love.
                                                                                          10:03 AM IN


                            [THIRD MESSAGE BOX (Blue) — English text:]
                                            Today


 [FOURTH MESSAGE BOX (white) — Spanish text:]

 Hello[,] you are invited to join a
 private conference [call] tonight
 where I will give the details of our
 New Change.
 Time[:] 9ipm_Central time
 This private and exclusive invitation
 is only for you.
 http://elnuevocambio.com rhttp:fithenewchange.coml
                                                    6:11 PM


 [FIFTH MESSAGE BOX (white) — Spanish text:j

 10 at night in South America [...]
                                                    6:11 PM



 /]\                                                  ["Camera Icon"]          ["Microphone icon"]
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 100 of 117




                Exhibit B
              Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 101 of 117


                                          Transcribe
Transcription details:

      Date:                                  March-11-2016
      File name                              The new change - Luis Ventura and Francisco Vasquez


Transcription results:


      Si 00:09                Hello, how are you, my friends? It is a pleasure to greet you. We have Luis Ventura
                              with us from beautiful Houston, Texas. It is a real pleasure to greet you and today we
                              are super excited, super happy and we want to welcome all of you who are joining us
                              from different cities and countries of the world. Yes, ladies and gentlemen, you heard
                              me well: cause we have different people connecting from different countries of the
                              world. But I also want to be very specific, very clear with each of you who are
                              connecting. This is not a call in which thousands and thousands of people are
                              connecting, it isn't. This is a special call in which each person who invited you,
                              selected you to be part of this first call we are doing.

      S1 00:57                Hello, how are you, my friends? It is a pleasure to greet you! We have Luis Ventura
                              with us from beautiful Houston, Texas. It is a real pleasure to greet you

      Si 01:05                Ana, it is repeating what I said!

      Si 01:07                We are super excited, super happy and we want to welcome all of you

      52 01:09                Your screen is open, brother, you've got to close it.

      S1 01:13                 Cities and countries of the world. Yes, ladies and gentlemen, you heard me well:
                              cause we have different people connecting from different countries of the world.

      Si 01:19                It is repeating it...

      Si 01:20                different people from...

      S2 01:21                You have to keep the link open, close the link from the presentation.

     Si 01:27                 This is not a call in which thousands and thousands of people are connecting, it isn't.
                              This is a special call in which each--

     S101:33                  Excuse me, ladies and gentlemen, I am--Stop for a second. Anita, will you help me?

     S2 01:39                 Yes. You must close the presentation slide [?]. Ok. Sorry! We had some technical
                              difficulties. We will wait for mister Luis Ventura to connect again. Give us a sec.

                              [silence]

     S2 02:19                 Ok. We will wait, mister Luis will connect shortly. We had some technical problems,
                              right? But we are live, that's what's important. Please keep connecting more and
                              more people, to be able to see this information that we will share today exclusively
                              with you. He's back on.

     Si 02:42                 Ok, ladies and gentlemen. Apologies for the technical difficulties that we have had just
                              now.[inaudible] Excuse me,folks, we had some issues here. This is the first time we
                              are using Hangouts. But as I was saying, congratulations on having joined and one of
                              the things I was saying is that this call is special. It is not a call in which we invited
                              thousands and thousands of people, no. Simply, we selected a group of people
                              because we want to start with something huge. We have a vision to place fifty
                              thousand people in the next 90 days. And one of the things that I've always liked to do
TranscribeMel
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 102 of 117


                                     Transcribe
                           is to start off strong, start off strong and one of the things I liked about the new
                           project we're starting, for which you have been chosen to start with us, with Mister
                           Francisco Vazquez and myself, and other leaders that I'll introduce right now, are the
                           four "P's" I will talk to you about it.

     S1 03:33              Four "P's", which are very important for you to know about. The first "P" is the
                           product we will be commercializing. One of the things I noticed is that when you only
                           have one product you are limited to just one market, and right now we are facing
                           products that people who don't know about marketing, can make money off of it. We
                           have realized that there is either people who can recruit people or people who cannot
                           recruit people. But then, to people who cannot recruit, can generate good income
                           with this new project without having to have a marketing network and that is
                           fantastic.

     51 04:09              The second "P", which caught my attention a lot, are the people, we will be working
                           with. We've got people who have a professional work ethic. One of the things I've
                           notices is that in this industry, if you are not connected with the right people what will
                           happen is that in its due time you may have nothing left, so the people that we will
                           introduce and connect you with in the next few days, you'll see that these are people
                           who are having an impressive life style.

     Si 04:41              Now,the third "P" is the process. In this process we will begin today, you'll see the
                           change of what will take place. It will be incredible! It is a spectacular process that I do
                           not want you to miss. Some people here that among the- who knows- 15-day, 20-day,
                           a month, 60-clay processes have had impressive changes. So change is great.

     Si 05:07             And the fourth "P" I want to talk to you about is the payment plan. A payment plan
                          [foreign]. What does this mean? Fifty, fifty, and fifty. The truth is I had never before
                          seen a payment plan organized this way, so I want to congratulate you for being here.

                           Imagine, you and this plan, I won't go into details because what I will do is to
                           introduce you to a person who already has the fruits of his work in his hand. And I
                           want to introduce him to you since now you may be wondering: why did I choose this
                           company or why did I choose these people that I'll introduce, to work with them?

     Si 05:39              And to tell you the truth, what's interesting is that you may have the owner of a
                           company who sponsors you, but that person will never go with you to do any kind of
                           work. And now, I want to introduce you to Ana Cantera who I don't only know from
                           another company in which we work together, but I know the professional work ethics
                           she holds, along with her husband, Julio Lama.

    51 06:00               And now that we have decided, Mister Francisco Vazquez and myself, to be a part of
                           this team, along with other people who have practically joined the project as well.
                           Remember that the next 90 days we will have 50 thousand people and you may be
                           the person on the very highest part. And in order to talk about the payment plan and
                           the company we are partnering with, I want to introduce you to my great friend, Anita
                           Cantera,from the Dominican Republic, who will talk a little about what the company
                           is, what is the payment plan, a little bit of her testimony and why we are joining forces
                           in this team.

     Si 06:39              Remember! One, it may be powerful; but together, no one can separate you and
                           nobody can hold you down. That is, what we are doing right now is big, huge, huge,
                           huge. So if you want something grand, this is your opportunity and I want to
                           congratulate you since as I said, we haven't just called everybody. Tomorrow we will
                           have another hangout for everyone, but you have a chance of being the first one, so
                           this is something special. Congratulations for having connected! And here is Ana

TranscribeMe2
          Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 103 of 117

                                    Transmit)
                          Cantera, who is having an impressive result in just eight months. But I am not the one
                          to share this, but I'd rather have her tell you. Go ahead, Anita.

     S3 07:25             Thank you so much! Thank you so much, Luis. It really is an honor, it is a pleasure to
                          work with you, with ethical leaders, with leaders who really worry about people, who
                          work with the team. And it is something admirable from you, Luis and Francisco, that I
                          don't just see you working with the team- as we say- on the floor, on the field, but you
                          train people, you worry about their professional growth and personal within this
                          industry, and that is how we know about the results you've had thus far. Today I feel
                          very happy, very thankful to be able to share this information with all of you. Because
                          eight months ago, almost nine months, we began this great vision, this great project
                          with [foreign]. And from the moment we started, I want you to know that we were in
                          a very difficult situation in our lives, economically and in my case, physically.

     S3 08:23             Now, as you know, many of you may have seen me in that other company, and we
                          finished that race unfortunately, not in the best way. But thank God- and I always say
                          that God does not make mistakes and always has the best in store for us- I learned
                          about this opportunity with [foreign]. I met my sponsor, Miss Stormy Wellington, and
                          we will also have her with us sharing this experience. Cause we had worked together
                          in the other company. And I was surprised by her results, surprised about everything
                          she was doing in just six months with this project. When I spoke with her she'd had
                          impressive results. She'd also lost a lot of weight, and I noticed on social networks
                          that she looked super young, super beautiful and besides, she was having great
                          economic income. And well it caught my attention and I wanted to learn more about
                          this project.

     S3 09:17             As I said, eight months ago I had a complete life change thanks to this company! I lost
                          just on the first month, over 28 pounds with the product. Imagine that! Total, utter
                          change. We have started working and nowadays we have organizations in over 15
                          countries. We have over six thousand, seven thousand people in our staff and
                          counting; attracting more leaders as is the case with Luis, who in fact is joining us now
                          to make history in Latin American countries, the United States and anywhere in which
                          we have people willing to change their lives with this project.


     S3 09:57             I'm going to talk to you a little bit about what is a business plan and you will be
                          surprised because, us, in [foreign] have a project that's so easy to explain, which I can
                          explain to you even talking to you without any need to screen a Powerpoint
                          presentation necessarily, in spite of using it sometimes. But I want you to know, in
                          general, what is [foreign].[Foreign] is a company that has 15 years in the market,
                          we're not talking about a new business. It started with a visionary, Mr. Jack Fallon,
                          owner and CEO of the company, and the company in this moment is 5 years old —
                          since 2011— as a multilevel one, which was where they created the compensation
                          plan that we have nowadays. We can develop businesses in more than 190 countries
                          and we have in Latin America, offices along with management, in 14 countries,
                          between them I can mention: Ecuador, Colombia, Peru, Mexico, Costa Rica,
                          Guatemala, El Salvador, Dominican Republic—which is where I am — Bolivia, Curacao
                          and many more.

     S3 11:03             And in this moment, in fact, we are legalizing four to five countries more in which we
                          are going to open within the next 90 days. When I saw this, I was really excited,
                          because I knew that it was an opportunity that we'll be able to expand rapidly within
                          the entire Latin market, unlike other opportunities where only three, four or maybe
                          five countries work. We now have over 15 countries in which we work and potentially
                          more than 20 countries within the next 90 days. Now, what's interesting?, as Luis said,
TranscribeMe3
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 104 of 117

                                     Transcribe
                           we have an immense product portfolio. We work in different industries, among them
                           we work in the weight loss industry, in which we have a wide variety of products and
                           our start product is the laso [foreign]or the laso tea. This tea is a natural, organic, tea,
                           which contains nine herbs and will help you detoxify your organism in a natural
                           manner without any contraindications and without causing issues to your health. And,
                           in fact, our slogan is: "Lose five pounds within your first five days". Alright? This is
                           what we sell. You can lose up to five pounds during your first five days.

     S3 12:17              Then we have other products for weight loss. Other formulas are utterly aggressive,
                           such as the HCG, which many people have heard about, the [foreign]as well. We have
                           the NRG, which is an energy pill.

                           We have products for sexual endurance, such as [foreign]for women,[foreign]for
                           men, completely natural and helps increasing sexual and intimate performance with
                           your partner for up to three days. Well, yes, you are showing the product there as
                           well.

                           We also have a line of girdles, a line of essential oils. We have a line of coffee that not
                           only contains ganoderma, but it also has coriceps, that contains chaga and
                           ganoderma. We also carry Latin coffee, black coffee, chocolate, cappuccino and a very
                           special coffee, thin coffee, which will also help you to lose weight through its
                           consumption; thin coffee.

     S3 13:16              This coffee that you see that Stormy has there, has carnitine, cambogia, ganoderma,
                           green coffee and other ingredients. Anyway, we have an immense variety of products.
                           Beauty products, personal care products, anti-aging products, we even have mascara.
                           People, we have a little bit of everything in [foreign]. As Luis said, something that I
                           learned in the industry during these five years that I have been working, is that if you
                           have a wide variety of products, you really have to ensure residual income; because
                           whoever doesn't purchase a product, purchases another one, whoever doesn't sell a
                           product, sells another one. And this is the advantage of[foreign], that we have
                           products for everyone.

     S3 13:56              So, thanks to this wonderful enterprise, thanks to this wonderful product portfolio, we
                           are also capable to generate an impressive income with our business plan, our
                           compensation plan. This compensation plan encompasses five different bonuses, five
                           different bonuses. And you might ask: "Only five?"
                           Well, that's more than necessary, because each one of them pays better than the
                           previous one, believe me. These five bonuses are as follows: the first bonus, which is
                           the direct sale bonus. As I said, we have an enormous product portfolio, where the
                           company pays out the 50% of the commissionable volume of each one of these
                           products. I'll give you an example: for example, tea. The treatment of the tea within
                           an entire month in the United States costs 45 dollars. Its volume encompasses 40
                           points and the company is going to pay you 50% of those 40 points, which is 20
                           dollars. Just as you heard, 50% of the direct sales, something never seen before in the
                           industry, people! 50% of the direct sale. You don't have to have a big stock, you don't
                           have to get yourself full of products, no, because in [foreign], the company has the
                           stock for you, it gives you the website, the client will purchase it from you and the
                           company pays out 50%. Simply impressive!

     S3 15:25              Afterwards we have bonus number two, which is for builders, people that really see
                           this business as enormous. We have bonus number two, which is the bonus of a quick
                           beginning. Within the bonus of a quick beginning, we also generate 50% of the new
                           income of our team. What does this mean? If you sponsor a person, we currently have
                           — listen to this three promotional packages and you must obtain the highest benefit
TranscribeMe4
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 105 of 117

                                     Transcribe
                           from them, we have three promotion packages for 90 days, taking advantage of all
                           this growth that we have and we want you to leverage these packages as best a s
                           possible. We have three packages: the 200-point package, the 500-point package and
                           the 1000-point package. Later on, I will talk about these packages.
     S3 16:16              If you sponsor a person with the 200-point package, you will automatically get 100
                           dollars cash. If you sponsor a person with the 500-point package, you will immediately
                           receive 250 dollars cash. And if you sponsor a package with the 1000-point package,
                           you will get 500 dollars cash. This is in Latin America. In the United States, we're still
                           preparing new packages, but we have similar packages to 200, 250, 500, 1200 points,
                           which your leaders, further ahead, will inform you about, in regards of the packages
                           we have in the United States.

     S3 17:00              Now,the important thing I want you to understand it is that in this bonus number
                           two, you receive SO% of the package. Fellows, why did I fall in love with this company
                           since the first day I saw it? Because I understood that my people, regardless of their
                           rank, regardless of their network, no matter how many people it has; you can make
                           money on the base, since you start in this business. My experience in the past nine
                           months, eight months, has been that I have many people in my team generating good
                           income, generating impressive revenues by selling our products, working at the
                           beginning of the network, obtaining great results without being great networkers or
                           possessing great knowledge or bringing in large networks; simply because the plan is a
                           fair one,thanks to these two bonuses we have.

     S3 17:53              Afterwards, we have bonus number three, which is the binary bonus. We already
                           know a lot about the binary. We know that the binary comes from the word "bi": two
                           teams. We will win from 10% to 25% of the volume we have in our lower leg. This all
                           goes to the binary one, both sales and new packages, as well as reorders, they go
                           directly to the binary one. And from it we earn from 10% to 25% of the volume of our
                           lower leg. Something really impressive! In my case, acting as National Director, I
                           already generate 20% per week of the volume that I have on my team in my lower leg.
                           Can you imagine! Imagine the potential of growth with the business and at the same
                           time being able to grow the percentage of profits in a binary up to 25%. I repeat again
                           and again, something really impressive.

     S3 18:54              And then we have bonus number four, which Luis, this is my favorite bonus, I
                           wholeheartedly tell you. I love bonus number four!, because on it people are really
                           motivated to help you earn money. Here, they will be committed to make you earn
                           more and more money. In fact, Luis, please, become a millionaire, I want you to
                           surpass my ranks, to become an ambassador, I don't care; because in here, in the
                           equivalence bonus, the company recognizes your effort to help your team to generate
                           income. You can make up to 50% of the earnings of the binary on a weekly basis, from
                           all the people that you bring to the business, from all your first level. All of these
                           people that you're going to help by introducing this opportunity over to them, really,
                           you are going to —believe me- be the most interested in the fact that they make
                           money and grow within the business, because the company is going to pay you 50% of
                           the binary on a weekly basis. But not only that, you can also earn from a 10% up to
                           50% on your second level, friends. From all your second level! Which means,the
                           people that your immediate ones sponsored. From 10% up to a 50%. Can you imagine,
                           being able to help 10 people within the next twelve months in order to generate one
                           thousand dollars of binary, that is not a lot; 250, we are talking about 250 dollars per
                           week, 1000 dollars per month. And that you, from those 10 people, which would be a
                           total of 10 thousand dollars in earnings, can generate fifty percent: that would be fifty
                           thousand dollars automatically. Only from that bonus and only for the first level.

TranscribeMe5
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 106 of 117

                                                       114,43,
                                                         _       .
                           Impressive! There is nothing like this out there, people, I know what I'm telling you.

     S3 20:47              And then we have the bonus number five, which starts from the moment where you
                           act as National Director. And as National Director, the company will pay you $1,500
                           dollars each month for you to do whatever you want with that money: paying your
                           car, your house, buy clothes, go on a trip, help your team; really, whatever you want
                           to do, because it is a bonus that you earn automatically by reaching the position of
                           National Director. So this is the business plan, I can elaborate a lot, but we want to
                           make this call brief. I want to introduce you to a person who has really impacted my
                           life during these last few months, because, as I told them when I joined this company I
                           was devastated financially and emotionally, and this person told me,"Ana, your story
                           is similar to the mine ", she ended up the same, in the exact same way. That time, she
                           told me: "I feel uniquely connected to you. You have my support, I will help you, I
                           want to change your life." She traveled from Miami, where she is currently living, to
                           the Dominican Republic, even though I had already started-I had very little time,
                           around two weeks- and she helped me. We even went through several towns, lots of
                           driving hours and I tell you, she was someone who had impressive results. And that
                           gave me a lesson in humility, she gave me a lesson to really understand that this is a
                           different opportunity, where people do take off-like I say sometimes- their cape and
                           help you in the actual battlefield in order to reach your dreams and goals.

     S3 22:20              And for me, that's what Mrs. Stormy Wellington has been. She is a person who within
                           her first seven months generated a million dollars in [foreign] in profits, and within 14
                           months, this has been documented, has generated over two million dollars in this
                           company. But not only that, because you might say,"Oh well, yes, she has earned a
                           lot of money." No, not only that. She has already helped out more than 10 families to
                           this day-more than 10, no, I would say even more- she has helped them generate six-
                           figures in this company. People in the old company where we worked together, had
                           not even reached the first level of leadership in that company and to date, they have
                           generated over half a million dollars. Young people, such as Darrel Drake, of 26 years
                           of age, earned half a million dollars or even more than half a million dollars during his
                           first year. Pam McTray and Nathan McTray, these are the people I'm talking to you
                           about, had never ever been successful in the industry; they now earn over half a
                           million dollars only during their first year as well.

                           And just like this I can mention many different cases, including mine, which during my
                           first six months, thanks to [foreign], I was able to generate 200 thousand or even
                           more than 200 thousand dollars in commissions, and my life, my friends, changed
                           from tragic to magic. Now, I feel thinner, more beautiful, I'm happier. I am me,
                           because I recovered my identity, because I can be me and thank God I am help many
                           other individuals to generate income thanks to our dear Stormy Wellington, as well.
                           Stormy,[foreign].

     S4 24:05             [foreign] Hi! How are you?

     S3 24:09             [laughter][foreign]

     S4 24:11             [foreign]

     S3 24:15              I'm very excited to be here tonight.

     S4 24:19             [foreign]

     S3 24:27              I'm sitting here and I really see a lot of familiar faces, such as Ana's face, Francisco's
                           and Luis', and so many people's faces that are in Francisco's living room, that I also
                           know from my previous experience.

TranscribeMe6
          Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 107 of 117

                                      Transcribe 4
     S4 24:40             [foreign]

     S3 24:46             This has really warmed my heart, because I feel like I'm in a family gathering.

     S4 24:54             [foreign]

     S3 25:02             Many of you that are connected in this hangout tonight, you are in the same day in
                          the same place where I found myself a few years back.

     S4 25:11             [foreign]

     S3 25:17             I generated thousands of dollars in revenue, I did a lot for the Company I worked for; I
                          devoted myself to that company.

     S4 25:25             [foreign]

     S3 25:30             And when things were not going the way we wanted them to, the same company to
                          which I gave my all, well, it failed me.

     S4 25:42             [foreign]

     S3 25:48             And to be completely honest with you guys, 15 months ago when [foreign]came into
                          my life.

     S4 25:55             [foreign]

     S3 25:59             I had stopped believing in reserved income or in network marketing in general.

     S4 26:06             [foreign]

     S3 26:10             When I got the call or a call to join this company 15 months ago.

     S4 26:17             [foreign]

     S3 26:19             I was financially broke.

     S4 26:22             [foreign]

     S3 26:26             And I was 98% mentally broke.

     S4 26:31             [foreign]

     S3 26:34             But the 2% extra that was left

     S4 26:37             [foreign]

     S3 26:41             Was really there because of my family and because of the people that I know follow
                          me.

     54 26:46             [foreign]

     S3 26:49             When I started using the products.

     S4 26:52             [foreign]

     S3 26:55             I was truly amazed by the results I got.

     S4 26:59             [foreign]

     S3 27:03             Because, to begin with, in order to belong to a Company I have to know that the
                          product they have is going to work.

     54 27:09             [foreign]

     S3 27:12             I take this tea twice a day.

TranscribeMe7
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 108 of 117

                                       Transcribe
     S4 27:15              (foreign]

     S3 27:18              My sister takes this tea twice a day.

     S4 27:20              [foreign]

     S3 27:27              My best friend, who didn't have a home at that time, her and her husband, and her
                           children, they were sleeping in my home's floor, she drinks this tea.

     54 27:36              [foreign]

     S3 27:39              At the beginning, we drank everyone's tea, just waiting for something to happen.

     54 27:45              [foreign]

     S3 27:49              And to be quite honest, we didn't believe in anything at the time.

     S4 27:54              [foreign]

     S3 27:58              My sister, thanks to this tea, lost more than 20 pounds in two weeks and a half.

     S4 28:04              [foreign]

     S3 28:08              My best friend, Pat McCraig, lost 25 pounds in a month.

     S4 28:13              [foreign]

     S3 28:15              I lost 10 pounds during my first 10 days.

     S4 28:18             [foreign]

     S3 28:22              And the slogan: "Lose five pounds in your first five days."

     S4 28:25             [foreign]

     S3 28:29              Became a reality for me.

     S4 28:33             [foreign]

     S3 28:37              Something in my heart told me that this was real, I knew it.

     S4 28:43             [foreign]

     53 28:46              That we were going to take this chance and that we would restore our family.

     S4 28:51             [foreign]

     S3 28:55              At that moment,the only thing that I wanted to do was pay my rent and pay my car.

     S4 29:01             [foreign]

     S3 29:02              That was the only thing I thought about, the only thing I wanted.

     S4 29:05             [foreign]

     S3 29:08              My friend, as I said, was without a home, was living with me.

     S4 29:13             [foreign]

     S3 29:15              Her husband and also her three children.

     S4 29:17             [foreign]

     S3 29:20              I really wanted to help them so they could also get their own house.

     S4 29:24             [foreign]

TranscribeMe8
          Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 109 of 117

                                      Transcn
     S3 29:28             When I sat down to discuss with the owner of this company, Mr. Jack Fallon.

     S4 29:33             [foreign]

     S3 29:36             And I saw the compensation plan.

     S4 29:38             [foreign]

     S3 29:42             I fell in love with all these products that we have.

     S4 29:45             [foreign]

     S3 29:50             We sat down to launch a Project called "Vision 50 thousand"

     S4 29:55             [foreign]

     S3 29:58             Where I talked and told Mr. Jack Fallon.

     S4 30:01             [foreign]

     S3 30:07             That we would bring in 50 thousand people, among distributors and clients, in a 90-
                          day period.

     54 30:16             [foreign]

     S3 30:20             We told them that our goal was to help 1000 families to earn six digits with this
                          company.

     54 30:28             [foreign]

     S3 30:32             And all we started at the beginning were hangout conferences, like this one.

     S4 30:37             [foreign]

     S3 30:39             We made conference calls.

     S4 30:41             [foreign]

     S3 30:43             We hosted house parties.

     54 30:45             [foreign]

     S3 30:47             We used social networks: Facebook, Instagram.

     S4 30:51             [foreign]

     S3 30:55             I wrote myself in that moment a check to myself amounting to 1.5 million dollars.

     S4 31:01             [foreign]

     S3 31:07             And each day that 2% of belief that I had left, it started to grow little by little, 4%,8%
                          until it grew enormously.

     S4 31:16             [foreign]

    53 31:19              And to be honest with you, the only reason why it grew

    54 31:24              [foreign]

     S3 31:27             Was because I saw normal people obtaining results.

     S4 31:31             [foreign]

     S3 31:33             There were people losing weight.

    54 31:35              [foreign]
TranscribeMe9
          Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 110 of 117

                                      Transcnih
     S3 31:38             And, really, we do not make any type of income statements.

     S4 31:44             [foreign]

     S3 31:47             This is probably not much to you.

     S4 31:49             [foreign]

     S3 31:52             But my sister, who, never in her life had done multilevel marketing.

     S4 31:56             [foreign]

     S3 32:01             She gets really excited when she know she's not a leader, or she is not doing big stuff,
                          but she's earning a check of 156 dollars per week.

     S4 32:11             [foreign]

     S3 32:15             Normal people in the industry, people without experience, here they earn money
                          every day.

     S4 32:22             [foreign]

     53 32:25             And the stories have become simply impressive, unbelievable.

     S4 32:30             [foreign]

     53 32:36             I went from earning five thousand to 150 thousand in only 90 days.

     54 32:43             [foreign]

     S3 32:46             I was able to be in the magazine of the company, Momentum magazine.

     S4 32:53             [foreign]

     S3 32:55             In seven months.

     S4 32:57             [foreign]

     S3 33:00             I was able to go and pick up my ring of one million dollars.

     S4 33:04             [foreign]

     S3 33:09             [foreign]

     S4 33:10             [foreign]

     S3 33:12             Oh! And I started restoring all my—my[foreign]

     S4 33:18             [foreign]

     S3 33:20             Oh, oh! Cleaning out all of that in those 90 days.

     S4 33:23             [foreign]

     S3 33:32             And just three weeks ago, many people in my team — including me, Ana, and other
                          people of the team — were walking through the platforms of our convention, receiving
                          checks and very big rings.

     S4 33:46             [foreign]

     S3 33:51             You can earn and generate in this business two million dollars in just a year.

    54 33:58              [foreign]

    S3 34:03              In fact, last week I got really excited because it was my best week ever.

TranscribeMe10
          Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 111 of 117


     S4 34:09             [foreign]
                                      Transcribe
     S3 34:10             We do not make any type of income statements.

     S4 34:13             [foreign]

     S3 34:16             The results are not automatic, right? You have to work to get these numbers.

     S4 34:23             [foreign]

     S3 34:26             But I generated my weekly check just last week and it was over 60 thousand dollars in
                          commissions. Just last week.

     S4 34:34             [foreign]

     S3 34:38             And I am really going to say this just to wrap up.

     54 34:41             [foreign]

     S3 34:46             Seeing Julio and Ana generating a quarter of a million dollars already in less than a
                          year.

     S4 34:53             [foreign]

     S3 34:57             And seeing the eyes of Francisco, Adriana, Luis, Fernanda...

     S4 35:03             [foreign]

     S3 35:06             Just, even though they were dressing very beautifully on the day we met.

     S4 35:11             [foreign]

     S3 35:15             When they started talking about the subject in regards of wanting their team to
                          generate,their team to earn, their team to grow.

     S4 35:24             [foreign]

     S3 35:27             I told Jack before us leaving the corporate office of[foreign].

     S4 35:33             [foreign]

     S3 35:36             Because its heart is its people, having its team earn.

     S4 35:41             [foreign]

     S3 35:45             We pay out more than any other company in the world. We pay out 65%.

     S4 35:52             [foreign]

     S3 35:54             And it's because of that that this company.

     S4 35:56             [foreign]

    S3 35:59              Is drawing leaders that really want to help out other people.

    S4 36:04             [foreign]

    S3 36:07              And I'm really excited to let you know today that if you, at any moment, have ever
                          wanted to earn.

    S4 36:13             [foreign]

    53 36:16              If you're tired of being tired.

    S4 36:19             [foreign]

TranscribeMe11
          Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 112 of 117


     S3 36:21
                                      Transcribeh
                          Tonight is your chance.

     S4 36:24             [foreign]

     S3 36:26             To make history.

     54 36:27             [foreign]

     S3 36:30             There's no doubt in my mind.

     S4 36:33             [foreign]

     S3 36:36             That Luis and Francisco.

     54 36:38             [foreign]

     S3 36:42             That they will break the record that I have which is 50 thousand people.

     S4 36:47             [foreign]

     S3 36:52             I know that if I was able to earn two million dollars during my first year, I will be very
                          surprised if they don't generate three million in their first year.

     S4 37:01             [foreign]

     S3 37:02             But [laughter].

     54 37:03             [foreign]

     S3 37:08             It's not only about what they are going to do, it's about what you can do. Because you
                          can join us and create your own story.

     S4 37:19             [foreign]

     S3 37:22             Tonight is about the people that will be starting, the first ones that will leverage the
                          opportunity.

     S4 37:28             [foreign]

     S3 37:31             And I want you to know that you are very special because you have been invited to
                          this first hangout tonight.

     S4 37:38             [foreign]

     S3 37:41             If I was you, I would be, in this exact moment,sending messages out.

     S4 37:46             [foreign]

     S3 37:48             And I would be writing them, telling them:"Get me in the system first, me first!"
                          [laughter]

     S4 37:55             [foreign]

     53 37:59             Because when you know the compensation plan very well, you will realize why you
                          want to be first.

     S4 38:07             [foreign]

     S3 38:11             So, yes, I'm really excited, truly, congratulations and see you at the top.

    S4 38:18              [foreign]

    S3 38:19              Do not lose your moment[foreign] Stormy.[foreign]. [inaudible].

                          [claps]

TranscribeMel2
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 113 of 117

                                      Transcrib
                           [laughter]

     S3 38:33              This was the previous week's little check, not last week, the previous one. So [foreign]
                           Stormy [foreign]. Thank you everyone for being online and I want to leave you
                           with a person who is also really, really special. We have had a ton of fun these
                           last few days we've worked together, we're very happy because we're running
                           at a thousand miles per hour and this person has been incredible in regards of
                           the work that has been done this week. In fact, he has in his house a bunch of
                           people opening up information, working, and it's an energy that cannot be
                           compared to any other one out there. We're very happy to have Mr. Francisco
                           Vasquez in this conference [inaudible].

                           [claps]

     S5 39:32              Of course, for me, it's a big honor to join now this amazing group. I've met Stormy,
                           I've met Anita. And, well, for years I've worked with Mr. Luis Ventura and I've always
                           said that it's such a pleasure to work with him, but today we're starting to rewrite
                           history. To everyone out there who is online today, think about it: six years ago we
                           started a story. Thank God for the company that we have walked through, we've left
                           out mark. I mean, there is no single company where I think that Luis Ventura — I speak
                           for myself— hasn't left a mark. Today, I am making history today with a new company,
                           but the most important thing is being able to impact the lives of many people,
                           because this last company we also had in Mexican pesos, at least 15 millionaires
                           under our corporation; people who earned more than one,from three to six million
                           pesos in a year time only. So, everyone who's not seeing that only remembers how
                           people started arriving afterwards, and the only thing they would say to me was:
                           "Why didn't I meet you at the beginning?, I would've liked to have been signed up
                           when the project really started". They signed up any way, but now you can actually do
                           that.
     S5 40:52              Today we're starting a new story, and really, as I said, God makes no mistakes, there is
                           a reason why God brought us here. It took a lot of work to change mentality, to
                           change the company's shirt. Thank God they helped us taking away nothing, but now,
                           here we are really working as a team. It is a pleasure to know that all the emails, all
                           the messages that are arriving to me from people talking about what we're doing. I
                           knew we were a little famous, but not up to that point. I didn't know the avalanche
                           that was expecting us. This is like a snowball effect, so, enroll yourself quickly so you
                           can be one of the first ones, because we are really going to generate a big impact and
                           for all the people that are watching,just in case there is a spy there, I want to let you
                           know too, let him/her be taken over there to another company or any other and say
                           that we, in this company,[foreign], all of us are going with?

     S6 41:58              Power!

     S5 42:00              May God bless you all.

                           [claps]

     53 42:05              Thank you! Get in touch with them because you are definitely making history and
                           what is going to happen within the next 90 days will be unbelievable, historic.

    54 42:16              [foreign]
    S3 42:20               Tomorrow, listen to this, at this same time, get everyone online. We are going to
                           publicly launch this throughout the entire social networks, through Facebook, through
                           Instagram, through Twitter, through all social network platforms and we're going to
TranscribeMe13
           Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 114 of 117

                                      Transcribe:
                           fill out this hangout of--
     S4 42:36             [foreign]
     S3 42:38              Correct. Stormy says, thanks to her experience, not just texts. Pick up the phone and
                           call all your contacts so they can be a part of this big, big project.

     S5 42:49              And I invite you to share all the lines, all of our Facebooks, all of the videos we are
                           going to be launching. Tell your people that just like they send those funny jokes, and
                           those things, to now send the videos that Luis Ventura and myself and all of those
                           involved in [foreign]are going to have.

     53 43:09              That's right!
     S1 43:11             That's right, my friends. Congratulations on getting online! Remember that tomorrow
                           we are going to be here again at the same time. Make sure to get your people online,
                           because we are not calling anyone else because we wanted you to be the privileged
                          ones to get online first before calling everyone and make it public. Thousands and
                          thousands and thousands of people are about to arrive and you are about to be the
                          first ones. So, Anita, congratulations. Thank you very much for being with you. Tony
                          [foreign]. Francisco, I just want to tell you that you are an extraordinary person; not
                          only a fantastic friend, but also a person that does not hold back and have the pants
                          right on their place. Congratulations, I love you so much. And see you in the beaches
                          of the world!

     S5 44:03              And we're all leaving with...?
     S6 44:04              Power!

                          [claps]
     S5 44:10              Remember that we are going to be in Colombia with our amazing leader, Anita. So---
     S3 44:16              In Colombia, in Ecuador, in New York, in Chicago, in Miami, in California, in Dallas,
                           everywhere. Each and every Latin person in the United States and in Latin American
                           will know this type of power. Welcome everyone! And congratulations in this new
                           phase of your lives. Thank you.

     S1 44:37              You're welcome.




TranscribeMel4
Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 115 of 117




                 Exhibit C
  Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 116 of 117




                                  EXHIBIT "C"

             Complaints Received by John SACHTOURAS from Down-line



  Name of Complainant:        Date of Complaint:        Nature of Complaint:



Juan AYALA                 19 February, 2016       Met Luis Ventura and Francisco
                                                   Vasquez in person at Venetian
                                                   Hotel in Las Vegas, didn't expect
                                                   sales pitch for another company



Ana YENSI TALAVERA         19 February, 2016       Met Luis Ventura in person at
                                                   Venetian Hotel in Las Vegas,
                                                   given sales pitch for TLC



Claudia RODRIGUEZ          24 February, 2016       Luis Ventura contacted her team
                                                   members and recruited part of the
                                                   team



Victor APONTE              26 February, 2016       Phone call received from Luis
                                                   Ventura



Sandra PEQUERO             1 March, 2016           Luis Ventura contacted her team
                                                   members and recruited part of her
                                                   team



Hilda De GRANDES           8 March, 2016           Repeated phone calls received
                                                   from Luis Ventura



Rafael CABRERA            9 March, 2016            Phone call received from
                                                   Francisco Vasquez
  Case 2:16-cv-00487-RAJ Document 11 Filed 04/11/16 Page 117 of 117




Natalia TOUS           13 March, 2016       Luis Ventura contacted her team
                                            members




Paula RONDEROS         15 March,2016        Luis Ventura contacted her team
                                            members by phone




Sergio ANSALDO         15 March, 2016       Text message received from Luis
                                            Ventura




Fernando RODRIGUEZ     18 March, 2016       Luis Ventura contacted his team
                                            members




Gabby RODRIQUEZ        20 March, 2016       Repeated phone calls received
                                            from Luis Ventura




Dora BARAJAS           22 March, 2016       Luis Ventura contacted her team
                                            members and recruited part of the
                                            team (about 75%)



Erica ROJAS DUARTE     22 March, 2016       Repeated phone calls and text
                                            messages received from Luis
                                            Ventura
